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 8

 9
10                           UNITED STATES DISTRICT COUT
11                         CENTRAL DISTRICT OF CALIFORNIA
12    EMMA MARTIN, ELIZABETH                       Case No.
      GAGLIANO and KATHRYN
13    SESSINGHAUS, individually and as             [Removal from Superior Court California,
      heirs of VINCENT PAUL MARTIN,                County of Los Angeles, Case No.
14    deceased,                                    20STCV19545]
15                        Plaintiffs,              SERRANO POST ACUTE, LLC dba
                                                   HOLLYWOOD PREMIER
16    vs.                                          HEALTHCARE CENTER and
                                                   BENJAMIN LANDA’S NOTICE OF
17    Serrano Post Acute LLC d/b/a                 REMOVAL OF ACTION UNDER 28
      HOLLYWOOD PREMIER                            U.S.C. §§ 1331, 1441, 1442(a)(1) and 1446
18    HEALTHCARE CENTER, a/k/a
      Serrano Healthcare, a/k/a Serrano North      [Filed concurrently with Civil Cover Sheet,
19    Convalescent Hospital; BENJAMIN              Declaration of Kim Cruz, Corporate Disclosure
      LANDA, an individual; MARCEL                 Statement and Certificate of Interested Parties,
20    ADRIAN SOLERO FILART, an                     Notice of Joinder in Removal of Action by Marcel
      individual; and DOES 1-50,                   Filart, MD]
21
                          Defendants.
22

23          TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
24   THE CENTRAL DISTRICT OF CALIFORNIA:
25          PLEASE TAKE NOTICE AND NOTICE IS HEREBY GIVEN THAT
26   Defendants, Serrano Post Acute, LLC dba Hollywood Premier Healthcare Center
27   (hereinafter “Serrano Post Acute”) and Benjamin Landa hereby remove this action from
28   the Superior Court of the State of California, County of Los Angeles to the United States

       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1   District Court for the Central District of California. Removal is based on federal officer
 2   jurisdiction and federal question jurisdiction pursuant to 28 U.S.C. §§ 1331, 1441, 1442
 3   (a)(1), and 1446. Defendants, Serrano Post Acute and Benjamin Landa, reserve all
 4   defenses and objections to venue based on 42 U.S.C. §247d-6d(e)(1).
 5            In support of this Notice of Removal, Defendants, Serrano Post Acute and
 6   Benjamin Landa, state as follows:
 7   I.       PLEADINGS
 8            1.    On or about May 21, 2020, Plaintiffs commenced this action in the Superior
 9   Court of the State of California for the County of Los Angeles, entitled Emma Martin,
10   et al. v. Serrano Post Acute LLC dba Hollywood Premier Healthcare Center, et al., Case
11   No. 20STCV19545. Pursuant to 28 U.S.C. §1446(a), true and correct copies of all
12   process, pleadings and orders served on Serrano Post Acute and Benjamin Landa in the
13   Superior Court action are attached hereto as Exhibit 1.
14            2.    Plaintiffs, Emma Martin, Elizabeth Gagliano and Kathryn Sessinghaus,
15   wife and children of Decedent Vincent Martin, allege as his heirs and successors in
16   interest that Mr. Martin was a resident at skilled nursing facility, Serrano Post Acute
17   LLC dba Hollywood Premier Healthcare Center from January, 2014 to his death on
18   April 14, 2020. (See Ex. 1- Complaint, pg. 9, ¶ 27; pg.14, ¶s 43-44, pg. 18, ¶ 62.)
19   Plaintiffs allege that Benjamin Landa “owns and controls Serrano Post Acute.” They
20   allege Defendant, Marcel Adrian Solero Filart (“Dr. Filart”) is a physician affiliated with
21   Serrano Post Acute, and provided care to Mr. Martin during his admission to the facility.
22   (See Ex. 1- Complaint, pg. 9, ¶s 28-29.)
23            3.    Plaintiffs allege that during Mr. Martin’s residency at Serrano Post Acute,
24   due to the wrongful acts and omissions of defendants including deficiencies with respect
25   to infection control, the use of personal protective equipment (“PPE”) and COVID-19
26   testing, Mr. Martin became infected with the COVID-19 virus and died due to the virus
27   on April 4, 2020. (See Ex. 1- Complaint, pg. 1, ¶ 1; pg. 4, ¶9; Pg. 4, ¶ 10; pg. 5, ¶ 11,
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          SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1   pg. 6; ¶ 15, pg. 14; ¶s 45-48; pg. 15, ¶s 56-57; and pg. 18, ¶ 64.) Plaintiffs allege
 2   causes of action for Violations of the Elder and Dependent Adult Civil Protection Act
 3   (California Welfare & Institutions Code §15600, Negligence, and Wrongful Death
 4   against all Defendants. Causes of action for Fraudulent Concealment and Fraudulent
 5   Misrepresentation are alleged against Serrano Post Acute and Dr. Filart. (See Ex. 1-
 6   Complaint, pg. 1, ¶ 1; pg. 4, ¶9; Pg. 4, ¶ 10; pg. 5, ¶ 11; pg. 6, ¶ 15; pg. 14; ¶s 45-48;
 7   pg. 15, ¶s 56-57 ; pg. 18, ¶ 64; pgs. 19-20, ¶s 70-75; pgs. 20-22, ¶s 76-82; pgs. 22-24, ¶s
 8   83-95; pgs. 25-26, ¶s 96-103; and pgs. 26-27, ¶s 104-113).
 9   II.   THE PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN
10         MET
11         4.     Defendant, Serrano Post Acute was served via substitute service on May
12   29, 2020. Defendant, Dr. Filart was served via substitute service on May 29, 2020.
13   Under California law, this substitute service was effective ten days later on June 8, 2020.
14   Defendant, Benjamin Landa, was personally served on June 1, 2020. (See Exhibit 2-
15   Proofs of Service.)
16         5.     Defendants, Serrano Post Acute and Benjamin Landa’s Notice of Removal
17   is timely under 28 U.S.C. §1446(b) as this Notice has been filed within thirty (30) days
18   of the service of a copy of the initial pleading setting forth the claims for relief.
19         6.     Defendants, Serrano Post Acute and Benjamin Landa, file this Notice with
20   the explicit consent of Defendant, Dr. Filart. Dr. Filart’s Notice of Joinder in Removal
21   is concurrently filed with this Notice.
22         7.     Removal to the United States District Court for the Central District
23   California, Western Division, is proper because the Complaint was filed in the Superior
24   Court of the State of California for the County of Los Angeles, which is located within
25   the jurisdiction of this District. See 28 U.S.C. § 1441(a); and 28 U.S.C. § 84(c)(2).
26         8.     Pursuant to 28 U.S.C. §1446(d), a copy of this Notice of Removal is being
27   served on Plaintiffs, and Defendant, Dr. Filart, and a copy is being filed with the Clerk
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       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1   of the Court for the Superior Court of the State of California for the County of Los
 2   Angeles.
 3   III.   REMOVAL IS PROPER BECAUSE THIS COURT HAS JURISDICTION
 4          UNDER THE FEDERAL OFFICER STATUTE
 5          9.    Removal is proper under 28 U.S.C. §1442(a)(1), which provides for
 6   removal when a Defendant is sued for acts undertaken at the direction of a federal
 7   officer. Removal is appropriate under §1442(a)(1), when the removing defendant
 8   establishes that:
 9                (a)    Defendants are persons;
10                (b)    Defendants were acting under the direction of a federal officer when
11          it engaged in the allegedly tortious conduct;
12                (c)    There is causal nexus between the plaintiff’s claims and the
13          defendant’s actions under federal direction; and
14                (d) Defendants have raised a colorable defense based upon federal law.
15   See Goncalves v. Rady Children’s Hospital San Diego 865 F.3d 1237, 1244 (9th Cir.
16   2017). Courts have a duty to broadly interpret § 1442 in favor of removal, which
17   “should not be frustrated by a narrow, grudging interpretation” of the statute. Id. at pg.
18   1244 [quotations and citations omitted.] Here, Serrano Post Acute and Benjamin Landa
19   satisfy all elements for removal under §1442(a)(1).
20          10.   Defendants are persons for the purpose of the federal officer. The term
21   “person” includes “corporations, companies, associations, firms, partnerships, societies,
22   and joint stock companies, as well as individuals.” 1 U.S.C. § 1; See also Goncalves,
23   865 F.3d at 1244.
24          11.   The United States Supreme Court has held that the phrase “acting under”
25   involves “an effort to assist, or help carry out, the duties or tasks of the federal
26   superior.” Watson v. Philip Morris Cos., 551 US 142, 152 (2007); see also In re
27   Commonwealth’s Motion to Appoint Counsel Against or Directed to Defender
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 1   Association of Philadelphia, 790 F.3d 457 (3rd. Cir. 2015)            The “acting under”
 2   requirement is broad and is to be liberally construed. Watson, 551 US at pg. 147.
 3         12.   “[R]emoval by a ‘person acting under’ a federal officer must be predicated
 4   upon a showing that the acts that form the basis for the state civil or criminal suit were
 5   performed pursuant to an officer's direct orders or to comprehensive and detailed
 6   regulations. Cf. Bakalis v. Crossland Savings Bank, 781 F.Supp. 140, 144-145
 7   (E.D.N.Y. 1991)     (‘The rule that appears to emerge from the case law is one of
 8   ‘regulation plus ...’.”).” Ryan v. Dow Chemical Co., 781 F. Supp. 934, 947 (E.D.N.Y.
 9   1992) "This control requirement can be satisfied by strong government intervention and
10   the threat that a defendant will be sued in state court 'based upon actions taken pursuant
11   to federal direction.'" See Fung v. Abex, Corp., 816 F. Supp. 569, 572 (N.D. Cal. 1992).
12         13. Defendants meet the “acting under” prong for removal based on the federal
13   officer statute. Here, Plaintiffs contend that the acts and omissions of Defendants with
14   respect to their response to the COVID-19 pandemic caused decedent, Vincent Martin,
15   to contract the virus and led to his death therefrom. In the response to the pandemic and
16   the national state of emergency declared by President Trump, Defendants were
17   following detailed directives and regulations issued by the Centers for Medicare and
18   Medicaid Services (“CMS”) and the Centers for Disease Control and Prevention
19   (“CDC”), which were coordinating the national effort to respond to and contain the
20   COVID-19 pandemic. State surveyors, contracted with CMS, were supervising skilled
21   nursing facilities with respect to all aspects of infection control and the pandemic
22   response and ensuring strict compliance with the CMS directives.
23         14. These directives included the following:
24               A.     As early as February 1, 2020, the CDC issued the “Update and
25   Interim Guidance on the Outbreak of 2019 Novel Coronavirus” to provide guidance to
26   state and local health departments and healthcare providers regarding 2019-nCoV 2019
27   (the 2019 Novel Coronavirus, now known as COVID-19). The guidance was part of
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 1   the “ongoing US public health response . . . to identify and contain [the] outbreak and
 2   prevent sustained spread of 2019-nCoV in the United States” and addressed infection
 3   prevention and control specific to 2019-nCoV. [Emphasis added.] This document
 4   provided directives related to screening of patients in healthcare facilities, and
 5   coordination with local health departments for testing and reporting of results.
 6                B.     On February 6, 2020, CMS took direct action to prepare healthcare
 7   facilities for the national response to the emerging 2019 Novel Coronavirus by issuing a
 8   Memorandum to State Survey Agency Directors.             The memo stated that “[e]very
 9   Medicare participating facility in the Nation’s healthcare system must adhere to standard
10   for infection prevention and control.” CMS directed healthcare staff to “comply with
11   basic infection control practices” including standard, contact and airborne precautions,
12   and “adhere to CDC recommendations on standard hand hygiene practices.” It provided
13   very specific instructions with respect to hand hygiene and instructed facilities to have
14   “PPE measures and protocols” in place.
15                C.     On March 4, 2020, CMS issued a Memorandum to State Survey
16   Agency Directors regarding Infection Control and Prevention of Coronavirus Disease
17   2019 (COVID-19) in nursing homes.           The Memorandum included instructions for
18   limiting the transmission of COVID-19 in nursing homes by monitoring and limiting
19   visitors and monitoring and restricting health care facility staff with respiratory
20   symptoms, as well as instructions regarding when to transfer a resident with a suspected
21   or confirmed COVID-19 infection to a hospital, and under what conditions a nursing
22   home may accept patients diagnosed with COVID-19. Defendants followed these
23   directives and the directives issued prior to this, in an effort to assist and help carry out
24   the CDC and CMS’ goal of containing and responding to the pandemic.
25                D.     On March 10, 2020, CMS issued a Memorandum to State Survey
26   Agency Directors updating their instructions for health care workers involved in the care
27   of patient with known or suspected COVID-19.             With the release of the Memo,
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       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1   healthcare workers and providers would have a “more expansive range of options to
 2   protect themselves and those receiving their care.” CMS noted it would “continue to
 3   explore flexibilities and innovative approaches within our regulations to allow health
 4   care entities to meet the critical health needs of the country.” The Memo addressed the
 5   supply, allocation and use of PPE utilized to prevent the spread of the virus including
 6   facemasks, respirators, eye protection, medical gowns, gloves and airborne infection
 7   isolation rooms.
 8                E.    Then on March 13, 2020, CMS issued revised infection control and
 9   prevention directives for nursing homes to prevent the transmission of COVID-19. In
10   the Memo, facilities were ordered to restrict visitation of all visitors and non-essential
11   health care personnel, cancel communal dining and all group activities, implement
12   active screening of residents and staff for fever and respiratory symptoms, screen all
13   staff at the beginning of their shift for fever and respiratory symptoms, and identify staff
14   that work at multiple facilities and actively screen and restrict them to ensure they do not
15   place individuals in the facility at risk for COVID-19.          Additional direction was
16   provided regarding patient transfers and acceptance of patients with COVID-19. With
17   respect to patients being admitted from a hospital where COVID-19 was present,
18   nursing homes were advised to “dedicate a unit/wing exclusively for any residents
19   coming or returning from a hospital” to “serve as a step-down unit where they remain
20   for 14 days with no symptoms. . .”
21                F.    On March 13, 2020, President Trump declared the COVID-19
22   outbreak a national emergency. Following this proclamation, the CDC and CMS took
23   swift action to waive restrictions and expand capacity for healthcare providers and
24   suppliers to coordinate the national response to the nationally declared state of
25   emergency.
26                G.    On April 2, 2020, CMS issued new guidelines aimed at long-term
27   care facilities to “mitigate the spread” of COVID-19. In doing so, CMS noted that
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       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1   “[l]ong-term care facilities are a critical component of America’s healthcare system.”
 2   And that “[i]n recent weeks, CMS and CDC, at President Trump’s direction have
 3   worked together to swiftly issue unprecedented targeted direction to the long-term care
 4   facility industry, including a general prohibition of visitors implemented on March 13,
 5   2020, as well as strict infection control and other screening recommendations.” CMS
 6   further noted that the CDC and CMS were providing “critical, needed leadership for the
 7   Nation’s long-term care facilities to prevent further spread of COVID-19” and that long
 8   term care facilities were to immediately implement symptom screening for all persons
 9   (residents, staff, visitors, outside healthcare workers, vendors, etc.) entering a long term
10   care facilities. Facilities were ordered to specifically ask about COVID-19 symptoms
11   and to check the temperature of all visitors, as well as limit access points and ensure that
12   all accessible entrances have a screening station. Every resident was also to be assessed
13   for symptoms and have their temperature checked every day, and patients and residents
14   entering facilities screened for COVID-19 through testing, if available. CMS further
15   directed long term care facility staff to wear a facemask while in the facility for the
16   duration of the state of emergency, to wear full PPE for the care of any resident with
17   known or suspected COVID-19, and if COVID-19 transmission occurs in the facility,
18   healthcare personnel were to wear full PPE in the care of all residents irrespective of
19   COVID-19 diagnosis and symptoms. Further, to avoid transmission within long-term
20   care facilities, the facilities were advised to use separate staffing teams for COVID-19
21   positive residents, and to work with State and local leaders to designate separate
22   facilities or units within a facility to separate COVID-19 negative residents from
23   COVID-19 positive residents and individuals with unknown COVID-19 status.
24         15.    At all relevant times, Serrano Post Acute and Benjamin Landa were acting
25   at the specific direction and oversight of the federal government, including but not
26   limited to, the direction of the CDC, and CMS, as well as by representatives of the State
27   Survey Agency, acting under contract with CMS, to address the on-going federal effort
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       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1   and national state of emergency to contain the COVID-19 pandemic, and prevent the
 2   spread of the virus.   All actions taken by Serrano Post Acute and Benjamin Landa in
 3   preparation for and response to the COVID-19 pandemic, were taken “in an effort to
 4   assist, or help carry out, the duties or tasks” as ordered by the CDC and CMS, and were
 5   performed pursuant to the direct orders and comprehensive and detailed regulations
 6   issued by CMS. Serrano Post Acute and Benjamin Landa were acting at the direction of
 7   the federal government to prevent, treat and contain COVID-19 at the facility.
 8         16.     Next to establish removal under the federal officer statute, Defendants must
 9   show “a causal nexus between the plaintiff’s claims and the defendant’s actions under
10   federal direction.” Winters v. Diamond Shamrock Chemical Co., 149 F.3d 387, 398 (5th
11   Cir. 1998).
12         17.     Here, Defendants, Serrano Post Acute and Benjamin Landa’s response to
13   the COVID-19 pandemic as it relates to the claims of Plaintiffs (i.e., the care and
14   treatment of Vincent Martin) was directly related to what Defendants were ordered and
15   directed to do by the federal government, including but not limited to, the direction of
16   the CDC, and CMS, as well as by representatives of the State Survey Agency, acting
17   under contract with CMS. There is a clear causal nexus between the claims against
18   Defendants and the actions taken by Defendants at the direction of the federal
19   government including, but not limited to, the direction of CDC, CMS, as well as by
20   representatives of the State Survey Agency, acting under contract with CMS, with
21   respect to the response to the pandemic at the facility and the administration of care to
22   Vincent Martin. Plaintiffs’ Complaint alleges deficiencies in infection control, the use
23   of PPE by facility staff and COVID-19 testing. (See Ex. 1- Complaint, pg. 1, ¶ 1; pg. 4,
24   ¶9; Pg. 4, ¶ 10; pg. 5, ¶ 11, pg. 6; ¶ 15, pg. 14; ¶s 45-48; pg. 15, ¶s 56-57; and pg. 18,
25   ¶ 64.) The nexus element is met as Defendants were following the orders/directives of
26   CMS with regard to infection control, COVID-19 testing and the use of PPE.
27

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       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1            18.   Lastly, Serrano Post Acute and Benjamin Landa meet the final requirement
 2   as they intend to assert colorable federal defenses.          For purposes of removal, the
 3   defense must be “colorable” and need not be “clearly sustainable” as the purpose for the
 4   removal statue is to secure the validity of the defense may be tried in federal court.
 5   Willingham v. Morgan, 395 U.S. 402, 407 (1969). The colorable federal defense element
 6   is     met where a defendant alleges its actions were justified as the defendant was
 7   complying with federal directives with respect to the alleged wrongful acts. See Venezia
 8   v. Robinson, 16 F.3d 209, 212 (7th Cir. 1994); and Mesa v. California, 489 U.S. 121,
 9   126-127. See also Rural Community Workers Alliance v. Smithfield, No. 5:20-CV-
10   06063-DGK, --- F.Supp.3d ---- (W.D. Missouri, 2020) finding that compliance with
11   federal guidelines aimed to protect employees from COVID-19 exposure served as a
12   defense to civil liability.) (See Ex. 3 hereto) Here, Defendants, Serrano Post Acute and
13   Benjamin Landa were complying with Federal directives and regulations issued by CMS
14   and the CDC in responding to all aspects of the COVID-19 pandemic.
15            19.   As a colorable defense, Defendants, Serrano Post Acute and Benjamin
16   Landa, also assert immunity under the Public Readiness and Emergency Preparedness
17   Act (“PREP Act”) as set forth at 42 U.S.C. 247d-6d(a)(1).              This Act provides for
18   immunity of “covered persons” from “suit and liability under Federal and State law with
19   respect to all claims for loss caused by, arising out of, relating to, or resulting from the
20   administration to or the use by an individual of covered countermeasure” provided there
21   has been a declaration issued by the Secretary of Health and Human Services with
22   respect to such countermeasure. On March 10, 2020, United States Health and Human
23   Services Secretary Alex M. Azar issued a Declaration invoking the PREP Act for the
24   COVID-19 pandemic.           The Declaration was effective as of February 4, 2020. (See
25   Exhibit 4 hereto). Defendants are “covered persons” under the act.
26            20.   Under the PREP Act and Secretary Azar’s initial Declaration, the “covered
27   countermeasures” include any qualified pandemic or epidemic product; and any drug,
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          SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1   biologic product or device. A “qualified pandemic or epidemic product” is defined as a
 2   drug, biologic product or device, which is a product manufactured, used, designed,
 3   developed, modified, licensed or procured to diagnose, mitigate, prevent, treat or cure a
 4   pandemic or epidemic; or to limit the harm such pandemic or epidemic might otherwise
 5   cause. Secretary Azar’s Declaration also included as covered countermeasures “any
 6   antiviral drug, any biologic, any diagnostic, any other device or any vaccine used to
 7   treat, diagnose, cure, prevent, or mitigate COVID-19, or the transmission of SARS-
 8   CoV-2 or a virus mutating therefrom, or any device used in the administration of any
 9   such product. . .”
10         21.    In the initial Declaration, Secretary Azar declared that “Administration of
11   Covered Countermeasures means physical provision of the countermeasures to
12   recipients, or activities and decisions directly relating to public and private delivery,
13   distribution, and dispensing of the countermeasures to recipients; management and
14   operation of countermeasure programs; or management and operation of locations for
15   purpose of distributing and dispensing countermeasures.”
16         22.    Secretary Azar subsequently issued an Amended Declaration under the
17   PREP Act, which was effective as of March 27, 2020. (See Exhibit 5 hereto) The
18   Amendment added respiratory protective devices approved by NIOSH (National
19   Institute for Occupational Safety and Health) as a covered countermeasure under the
20   PREP Act. In the Amendment, the Secretary stated that “any respiratory protective
21   devices approved by NIOSH . . . is a priority for use during the public health emergency
22   that [the Secretary] declared on January 31, 2020 . . . for the entire United States to aid
23   in response of the nation’s health care community to the COVID-19 outbreak.”
24         23.    Plaintiffs’ Complaint alleges deficiencies with respect to infection control
25   and in the use of PPE by facility staff. (See Ex. 1- Complaint, pg. 1, ¶ 1; pg. 4, ¶9; Pg.
26   4, ¶ 10; pg. 5, ¶ 11, pg. 6; ¶ 15, pg. 14; ¶s 45-48; pg. 15, ¶s 56-57; and pg. 18, ¶ 64.)
27   The allegations in this action relate to Defendants’ administration or use of “qualified
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 1   pandemic products” used to diagnose, mitigate, prevent, treat or cure COVID-19, or to
 2   limit the harm COVID-19 might otherwise cause including “NIOSH approved
 3   respiratory protective devices” and COVID-19 testing kits. Thus, Defendants’ actions
 4   as it relates to Plaintiffs’ Complaint are “covered countermeasures” under the PREP Act,
 5   which qualify for and trigger immunity from liability for the claims in this action.
 6         24.    Removal to federal court is proper in this case, as Defendants, Serrano Post
 7   Acute and Benjamin Landa, have established that all elements for removal under the
 8   federal officer statute have been met.
 9   IV.   JURISDICTION EXITS UNDER 28 U.S.C. §1331 (FEDERAL QUESTION)
10         25.    Plaintiffs Complaint alleges that Defendants failed to protect decedent,
11   Vincent Martin, from the COVID-19 virus.           The Complaint alleges that this case
12   involves “one of the worst outbreaks of COVID-19 in any nursing home in the United
13   States” with an “incredible number of sixteen (16) elderly residents” now dead and
14   seventy-two (72) residents and thirty-seven (37) staff infected. Plaintiffs state that they
15   “intend to uncover how COVID-19 was allowed to rage uncontrolled through
16   Hollywood Premier Healthcare Center. . .” The Complaint alleges deficiencies with
17   respect to infection control and in the use of PPE by facility staff.          (See Ex. 1-
18   Complaint, pg. 1, ¶ 1; pg. 4, ¶9; Pg. 4, ¶ 10; pg. 5, ¶ 11, pg. 6; ¶ 15, pg. 14; ¶s 45-48;
19   pg. 15, ¶s 56-57; and pg. 18, ¶ 64.) The allegations in this action relate to Defendants’
20   administration or use of qualified pandemic products used to diagnose, mitigate, prevent,
21   treat or cure COVID-19, or to limit the harm COVID-19 might otherwise cause
22   including NIOSH approved respiratory protective devices (facemasks) and COVID-19
23   testing kits. Defendants’ actions as it relates to Plaintiffs’ Complaint are “covered
24   countermeasures” under the PREP Act and therefore the Complaint presents a Federal
25   Question.
26         26.    The Public Readiness and Emergency Preparedness Act, 42 U.S.C. §§
27   247d-6d and 247d-6e (2006) (the “PREP Act”) along with the Declarations of United
28
                                                 -12-
       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
         LANDA’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1331, 1441, 1442(a)(1) and 1446
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 1   States Health and Human Services Secretary Alex M. Azar, are federal statutes that
 2   apply to healthcare providers and skilled nursing facilities, such as Defendants, with
 3   respect to the administration of countermeasures to diagnose, treat, prevent and mitigate
 4   the spread of COVID-19.
 5         27.    As Plaintiffs have alleged a claim which is preempted under a federal
 6   statute, this Court has original jurisdiction pursuant to 28 U.S.C. §1331, which provides
 7   that “[t]he district courts shall have original jurisdiction of all civil actions arising under
 8   the Constitution, laws, or treaties of the United States.” “A case ‘aris[es] under’ federal
 9   law for §1331 purposes if ‘a well-pleaded complaint establishes either that federal law
10   creates the cause of action or that the plaintiff’s right to relief necessarily depends on
11   resolution of a substantial question of federal law.’ [Citations omitted.]”            Empire
12   Healthchoice Assurance, Inc. v. McVeigh, 547 U.S. 677, 678 (2006). “[A] state claim
13   may be removed to federal court in only two circumstances—when Congress expressly
14   so provides . . . or when a federal statute wholly displaces the state-law cause of action
15   through complete pre-emption. When the federal statute completely pre-empts the state-
16   law cause of action, a claim which comes within the scope of the scope of that cause of
17   action, even if pleaded in terms of state law, is in reality based on federal law.”
18   Beneficial National Bank v. Anderson, 539 U.S. 1, 8 (2003).
19         28.    Here, Plaintiffs’ claims are preempted by the PREP Act. Under the PREP
20   Act, Congress has provided an exclusive remedy for the substance of the allegations and
21   relief sought in the Complaint thereby preempting State law with respect to the claims
22   raised in the Complaint. Moreover, Defendants, Serrano Post Acute and Benjamin
23   Landa’s administration of countermeasures, such as the use of facemasks and other PPE,
24   and COVID-19 testing, to diagnose, treat, prevent or mitigate the spread of COVID-19,
25   which forms the basis of this action, presents a federal question under the PREP Act
26   giving this Court original jurisdiction preempting the state claims asserted by Plaintiffs
27   in the Complaint.
28
                                                   -13-
       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
         LANDA’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1331, 1441, 1442(a)(1) and 1446
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 1         29.    The PREP Act provides liability protections for pandemic and epidemic
 2   products. The legislation empowers the Secretary of Health and Human Services to
 3   issue a declaration providing immunity for “covered persons” to suits and liability under
 4   federal and state law with respect to claims relating to the administration of a “covered
 5   countermeasure” during a health emergency. 42 U.S.C. §§ 247d-6d(a)(1). Specifically,
 6   42 U.S.C. 247d-6d(a)(1) provides as follows: “Subject to the other provisions of this
 7   section, a covered person shall be immune from suit and liability under Federal and
 8   State law with respect to all claims for loss caused by, arising out of, relating to, or
 9   resulting from the administration to or the use by an individual of a covered
10   countermeasure if a declaration under subsection (b) has been issued with respect to
11   such countermeasure.”
12         30.    A “covered person” under the PREP Act includes a person or entity that “is
13   qualified person who prescribed, administered, or dispensed such countermeasure. . .”
14   Under the Act, “person” includes “an individual, partnership, corporation, association,
15   entity, or public or private corporation.” 42 U.S.C. §247d-6d (i)(2) and (4). Defendants
16   qualify as “covered persons” under the PREP Act as they are licensed healthcare
17   providers, or owners/officers of licensed healthcare facilities authorized to administer
18   “covered countermeasures” including COVID-19 tests and respiratory protective devices
19   and other PPE.
20         31.    Here, the PREP Act has been invoked with respect to the COVID-19
21   pandemic. United States Health and Human Services Secretary Alex M. Azar issued a
22   Declaration, effective as of February 4, 2020, to provide liability immunity for activities
23   related to medical countermeasures against COVID-19.            Secretary Azar issued an
24   Amendment to this Declaration to specifically include “respiratory protective devices
25   proved by NIOSH” to aid the nation’s care community’s response to the COVID-19
26   outbreak. This Amendment was effective as of March 27, 2020. (See Exhibits 4 and 5).
27

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       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
         LANDA’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1331, 1441, 1442(a)(1) and 1446
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 1         32.    The PREP Act further provides: “During the effective period of a
 2   declaration . . . or at any time with respect to conduct undertaken in accordance with
 3   such declaration, no State or political subdivision of a State may establish, enforce, or
 4   continue in effect with respect to a covered countermeasure any provision of law or legal
 5   requirement that – (A) is different from, or is in conflict with, any requirement
 6   applicable under this section; and (B) relates to . . . use, any aspect of safety or efficacy,
 7   or the prescribing, dispensing, or administration by qualified persons of the covered
 8   countermeasure, or to any matter included in a requirement applicable to the covered
 9   countermeasure under this section . . .” 42 U.S.C. 247d-6d (b)(8).
10         33.     PREP Act immunity applies to “any claim for loss that has a causal
11   relationship with the administration to or use by an individual of a covered
12   countermeasure, including a causal relationship with the purchase, . . . dispensing,
13   prescribing, administration, licensing or use of such countermeasure.” 42 U.S.C. 247d-
14   6d(a)(2)(B). The sole exception to this immunity from suit and liability (other than
15   actions by and against the United States), “shall be for an exclusive Federal cause of
16   action against a covered person for death or serious injury proximately caused by willful
17   misconduct.” 42 U.S.C. 247d-6d(d)(1). “Willful misconduct” under the PREP Act, is
18   defined as “an act or omission that is taken—(i) intentionally to achieve a wrongful
19   purpose; (ii) knowingly without legal or factual justification; and (iii) in disregard of a
20   known or obvious risk that is so great as to make it highly probable that the harm will
21   outweigh the benefit.” 42 U.S.C. 247d-6d (c)(1)(A). Plaintiffs have the burden of
22   proving by clear and convincing evidence, “willful misconduct” by each covered person
23   sued and that such “willful misconduct” caused death or serious injury. 42 U.S.C. 247d-
24   6d (c)(3).
25         34.    A “program planner or qualified person shall not have engaged in ‘willful
26   misconduct’ as a matter of law where such program planner or qualified person acted
27   consistent with applicable directions, guidelines, or recommendations by the Secretary
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                                                  -15-
       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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 1   regarding the administration or use of a covered countermeasure that is specified in the
 2   declaration . . . provided either the Secretary or a State or local health authority, was
 3   provided with notice of information regarding serious physical injury or death from the
 4   administration or use of a covered countermeasure that is material to the plaintiff’s
 5   alleged loss within 7 days of the actual discovery of such information by such . . .
 6   qualified person.” 42 U.S.C. 247d-6d(c)(4).
 7         35.   At the time of the allegations set forth in the Complaint, Defendants,
 8   Serrano Post Acute and Benjamin Landa, were acting as “program planners” that
 9   supervised and/or administered the infection control and COVID-19 specific programs
10   in the treatment of COVID-19 patients, under which countermeasures, including, but not
11   limited to, the use of NIOSH approved respiratory protective devices (facemasks), and
12   other personal protective equipment and the administration of COVID-19 testing to
13   prevent the spread of COVID-19 while Vincent Martin was admitted to Serrano Post
14   Acute.
15         36.   At the time of the allegation set forth in the Complaint, Defendants, Serrano
16   Post Acute and Benjamin Landa (an owner of the facility), were also acting as “qualified
17   persons.” Serrano Post Acute is a skilled nursing facility licensed by the California
18   Department of Public Health. Serrano Post Acute employs licensed nursing personnel,
19   including Registered Nurses and Licensed Vocational Nurses, who are authorized to
20   prescribe, administer, or dispense the covered countermeasures set forth herein (i.e.,
21   NIOSH approved respiratory protective devices (facemasks), other personal protective
22   equipment, COVID-19 testing) under the laws of the State of California.
23         37.   For claims barred pursuant to the immunity under 42 U.S.C. §247d-6d that
24   do not assert “willful misconduct,” the exclusive remedy for relief is established under
25   §247d-6e, which permits an individual to make a claim for a “covered injury directly
26   caused by the administration or use of a covered countermeasure.” Even a claimant
27   alleging “willful misconduct” must first apply for benefits under §247d-6e before filing
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                                                 -16-
       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
         LANDA’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1331, 1441, 1442(a)(1) and 1446
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 1   an action under §247d-6d (d) relating to the “willful misconduct” thus further illustrating
 2   Congress’ intent for the Act to cover all claims related to a “covered countermeasure.”
 3         38.    Congress has clearly manifested the intent to preempt state law with respect
 4   to claims that invoke PREP Act immunity, and has created an exclusive federal remedy
 5   for such preempted claims. Thus, state law has been completely preempted for purposes
 6   of federal question jurisdiction.
 7         39.    Plaintiffs’ claims for loss were caused by, arise out of, relate to, or resulted
 8   from Defendants’ administration of covered countermeasures/qualified pandemic
 9   products used to diagnose, mitigate, prevent, treat or cure COVID-19, or to limit the
10   harm COVID-19 might otherwise cause including NIOSH approved respiratory
11   protective devices and COVID-19 testing kits. Thus, Defendants’ actions as it relates to
12   Plaintiffs’ Complaint are “covered countermeasures” under the PREP Act, which qualify
13   for and trigger immunity from liability for the claims in this action.            Plaintiffs’
14   Complaint therefore invokes a federal question and Plaintiffs state law claims are
15   completely preempted under the PREP Act. Removal is therefore proper under 28
16   U.S.C. §§ 1331, and 1441(a).
17         40.    Federal jurisdiction is further appropriate as this state action “arises under”
18   federal law and raises a substantial federal issue. See Grable & Sons Metal Products. v.
19   Darue Enginerring & Manufacturing, 545 U.S. 308 (2005). The applicability of the
20   PREP Act poses a substantial federal issue which would serve to clarify and determine
21   vital issues of federal law.
22         WHEREFORE, Defendants, Serrano Post Acute and Benjamin Landa, having
23   established that this case is properly removed to Federal Court, Defendants provide
24   notice pursuant to 28 U.S.C. §1446, that the action pending in the Superior Court of the
25   State of California County of Los Angeles, Case No. 20STCV19545, is properly
26   removed to the United States District Court for the Central District of California, and
27   respectfully requests that this Court exercise jurisdiction over this case.          Should
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                                                  -17-
       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
         LANDA’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §§ 1331, 1441, 1442(a)(1) and 1446
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 1   Plaintiffs file a Motion to Reman this action, Defendants, Serrano Post Acute and
 2   Benjamin Landa request an opportunity to oppose the Motion and more fully respond in
 3   a supplemental memorandum.
 4

 5   Dated: July 1, 2020                           WILSON GETTY LLP
 6

 7
                                            By: _/s/ Kim S. Cruz______________________
 8                                               William C. Wilson
                                                 Kim S. Cruz
 9                                               Ryan Canavan
10                                          Attorneys for Defendant SERRANO POST
                                            ACUTE, LLC dba HOLLYWOOD PREMIER
11                                          HEALTHCARE CENTER
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       SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE CENTER and BENJAMIN
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                              EXHIBIT 1
Electronically FILED by Superior Court of California, County of Los Angeles on 05/21/2020 12:25 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
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                                                   20STCV19545
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Gregory Alarcon




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                   12
                                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                   13                                     IN AND FOR THE COUNTY OF LOS ANGELES
                   14

                   15
                              EMMA MARTIN,                                                               Case No.
                   16         ELIZABETH GAGLIANO and
                              KATHRYN SESSINGHAUS, individually                                          COMPLAINT:
                   17         and as heirs of VINCENT PAUL MARTIN,
                              deceased,                                                                      1. VIOLATIONS OF THE ELDER AND
                   18                                                                                           DEPENDENT ADULT CIVIL
                                                     Plaintiffs,                                                PROTECTION ACT (Welfare &
                   19
                                                                                                                Institutions Code §15600 et seq.)
                   20                    v.
                                                                                                             2. NEGLIGENCE
                   21         Serrano Post Acute LLC d/b/a
                              HOLLYWOOD PREMIER                                                              3. WRONGFUL DEATH
                   22         HEALTHCARE CENTER,
                   23         a/k/a Serrano Healthcare,                                                      4. FRAUDULENT CONCEALMENT
                              a/k/a Serrano North Convalescent Hospital;
                   24         BENJAMIN LANDA, an individual;                                                 5. FRAUDULENT
                              MARCEL ADRIAN SOLERO FILART,                                                      MISREPRESENTATION
                   25         and individual; and,
                   26                                                                                    JURY TRIAL DEMANDED
                              DOES 1-50.
                   27
                                                     Defendants.
                   28

                               COMPLAINT
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     COMPLAINT                                                                                                                ii
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 1           Plaintiffs Emma Martin, Elizabeth Gagliano and Kathryn Sessinghaus, individually

 2   and as heirs, and successors in interest of Vincent Paul Martin, deceased, bring this action for

 3   damages against defendants Serrano Post Acute LLC d/b/a Hollywood Premier Healthcare

 4   Center a/k/a Serrano Healthcare, a/k/a Serrano North Convalescent Hospital (“Defendant”)

 5   or (“HPHC”); Benjamin Landa; and Dr. Marcel Filart.

 6   I.     INTRODUCTION

 7           1.     This case is one of the worst outbreaks of COVID-19 in any nursing home in the

 8   United States, the incredible number of sixteen (16) elderly residents are now dead and seventy-

 9   two (72) residents have been infected, along with thirty-seven (37) staff (109 infections), hidden

10   from the public are others. This case involves just one of the individuals that has died—eighty-

11   four-year-old Vincent Paul Martin (“Mr. Martin” or “Vince”). Mr. Martin’s wife and daughters

12   intend to uncover how COVID-19 was allowed to rage uncontrolled through Hollywood Premier

13   Healthcare Center (“HPHC”).

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27        (Source: Family picture of Mr. Martin celebrating his birthday at HPHC in August 2015)

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     COMPLAINT                                                                                        1
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 1           2.    Several of the individuals involved with the nursing home have had past brushes

 2   with the law – Defendant Landa was found liable for human trafficking of Filipino nursing staff

 3   – Defendant Filart was named as having received kickbacks in an illegal Medicare-Medi-Cal

 4   scam that resulted in a $42 million dollar settlement with the U.S. Government.

 5           3.    Mr. Martin did not lose his life because of an unavoidable act-of-God, rather he

 6   lost his life because HPHC’s owners and managers had a long-standing practice of keeping the

 7   nursing home understaffed and skirting safety and infection controls as set forth below.

 8           4.    Mr. Martin died in the early hours of Saturday April 4, 2020. HPHC knew that Mr.

 9   Martin was COVID-19-suspected but delayed testing him. HPHC only tested Mr. Martin after

10   his family plead for the test. Even then, staff told the family that they could not order the COVID-

11   19 test right away because a doctor had to approve it. When HPHC finally tested Mr. Martin, it

12   was too late. Mr. Martin’s positive test result came back the day after he died.

13           5.    HPHC, individually and through its staff and employees, admitted to the family

14   that the 99-bed nursing home had only two nurses working, just days before Mr. Martin’s death.

15   Shortly after Mr. Martin’s death, HPHS made national news due to the severity of the COVID-

16   19 outbreak at the facility. The fraudulent concealment of the conditions was overwhelming.

17           6.    This situation at the HPHC nursing home became so serious and deadly that HPHS

18   was one of a handful of facilities in LA County where the National Guard was deployed. This

19   help came too late for Mr. Martin and many of the other residents to prevent their deaths.

20           7.    The National Guard was deployed to HPHC in late April, however, Defendants

21   knew that there was a serious outbreak at the facility by mid-March 2020 when HPHC’s

22   Administrator Juhn Cayabyab, NHA, contracted COVID-19, yet HPHC did not test its residents

23   and staff for COVID-19.

24   /././

25   /./.

26   /././

27   /././

28   /././

     COMPLAINT                                                                                          2
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11           Natfonal G uard Sgt. Joseph Schlitz enters the H'olJyv,•ood Premier Healthcare Center,
             w hfclh has seen 25 corol'il3virus cases among staff and 29 among resident s. (Brian van
12           der Brug,/1...os Ang   " Times)

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     COMPLAINT                                                                                          3
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12          8.     There have been at least eighty-one (81) COVID-19 infections at HPHC as of May

13   14, 2020. (See, Exhibit 1 (May 14 and 19, 2020 letters posted on HPHC website). There have

14   been at least sixteen (16) deaths. Prior to May 14, 2020, HPHC purposely underreported COVID-

15   19 infection rates to the State of California and to residents and their families. As reflected in

16   Exhibit 1 HPHC is now only accepting COVID-19 positive residents.

17          9.     In Mr. Martin’s case the nursing home’s doctor, Dr. Marcel Filart, failed to put

18   COVID-19 on Mr. Martin’s death certificate, despite Mr. Martin’s positive COVID-19 test

19   result. (Exhibit 2). In addition, HPHC intentionally did not inform the funeral home that Mr.

20   Martin was COVID-19 positive or COVID-19 suspected, which put the funeral home staff in

21   grave danger. Undisputedly, HPHC knew that it was experiencing an outbreak at this point –

22   even its own Administrator was out sick with COVID-19 since March.

23          10.    Mr. Martin’s wife, Plaintiff Emma Martin is a pediatric nurse practitioner and was

24   deeply troubled when she last visited the facility in March to drop off items for her husband and

25   observed the lack of personal protective equipment (“PPE”) being used at HPHC despite the

26   emerging pandemic. What she did not know at the time was that HPHC had been cited by the

27   State of California in June 2019 for deficient PPE practices, as discussed in greater detail in

28

     COMPLAINT                                                                                        4
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 1   Exhibit 3, pages 4-5. Again, this is not a situation where a well-run nursing home was caught

 2   off guard by the pandemic—HPHC’s deficient and dangerous practices predate the pandemic.

 3          11.   Just three days after Mr. Martin’s death, one of the HPHC nursing staff posted the

 4   following picture on Facebook – which is notable both for the claim that this staff member had

 5   been working 20 hour shifts – and because she was at a nursing station with no PPE:

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     COMPLAINT                                                                                     5
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 1          12.    Mr. Martin’s family has been requesting HPHC’s nursing records pertaining to Mr.

 2   Martin’s care since April 10, 2020. As of the date of this Complaint, HPHC has refused to

 3   provide them, saying that medical records requests must go through “corporate offices” per

 4   facility policies. The records department staff told Lisa that “corporate” needs to approve the

 5   disclosure of records before they are provided to family members. HPHC’s delay is illegal under

 6   state and federal law. See, 42 CFR § 483.10; Cal. Health and Safety Code § 123110.

 7          13.    There are many heroes among our Country’s nurses, however, the owners and

 8   operators of HPHC are not heroes. They have profited on the backs of senior citizens, their

 9   families, as well as Medicare and Medi-Cal – and on the backs of their overworked staff.

10   According to court records, one of the owners of HPHC, Benjamin Landa, was found liable for

11   human trafficking of Filipino nursing staff last year. (See, Exhibit 4)1

12          14.    Mr. Martin’s death was preventable, as was much of his pain and suffering. His

13   last days were spent in horrific circumstances, in a room with at least two other residents and

14   without his wife and daughters by his side.

15          15.    It was entirely foreseeable that COVID-19 would rage like a wildfire through the

16   rooms of Hollywood Premier Healthcare Center, given that there were not enough staff to isolate

17   and care for positive residents. When staff are forced to travel between COVID-19 positive and

18   COVID-19 negative seniors, they spread highly infectious disease in their wake. Also

19   contributing to the fire-storm was HPHC’s practice of cramming small resident rooms with

20   multiple elderly residents. Mr. Martin was housed in a small room with two other residents.

21          16.    As a nursing home, HPHC was charged with providing much needed care and

22   rehabilitation services to dependent and elderly adults in Los Angeles County. Like other skilled

23   nursing facilities (“SNFs”), HPHC was entrusted with highly vulnerable individuals who often

24

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26     See, Exhibit 4, which includes the cover sheets of the relevant court rulings: Paguirigan v.
     Prompt Nursing Emp't Agency LLC, No. 17-cv-1302 (NG) (JO), 2019 U.S. Dist. LEXIS 165587
27   (E.D.N.Y. Sep. 23, 2019), Paguirigan v. Prompt Nursing Emp't Agency LLC, No. 17-cv-1302
     (NG) (JO), 2020 U.S. Dist. LEXIS 4837 (E.D.N.Y. Jan. 9, 2020). Only discovery will tell
28   whether such human rights abuses extended to HPHC’s nursing staff.

     COMPLAINT                                                                                       6
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 1   had multiple physical and cognitive impairments that required extensive assistance in the basic

 2   activities of daily living such as dressing, feeding, and bathing.

 3            17.   Like the other residents housed at HPHC, Mr. Martin was entirely dependent on

 4   HPHC. HPHC’s most important duty was to protect its residents from health and safety hazards.

 5   HPHC failed to provide adequate care and Mr. Martin contracted COVID-19, succumbed to the

 6   disease, and died without family by his side. HPHC must be held accountable.

 7            18.   The California Legislature has recognized the important role of civil litigation in

 8   remedying abuse and neglect of elders and dependent adults. As stated in the “Elder Abuse and

 9   Dependent Adult Civil Protection Act” (“EADCPA”):

10           The Legislature … finds and declares that infirm elderly persons and dependent adults are

11           a disadvantaged class, that cases of abuse of these persons are seldom prosecuted as

12           criminal matters, and few civil cases are brought in connection with this abuse due to

13           problems of proof, court delays, and the lack of incentives to prosecute these suits.

14            19.   California Welfare & Institutions Code Section 15600. Plaintiffs want to ensure

15   that Mr. Martin’s death is not just another sad statistic.

16   II.     JURISDICTION AND VENUE

17            20.   Venue is proper in this County because Defendant is located and/or performs

18   business in this County, and a substantial part of the events, acts, omissions and transactions

19   complained of herein occurred in this County. Defendant operates the SNF at issue in this case

20   at 5401 Fountain Avenue Los Angeles, CA 90029.

21            21.   Each Defendant has sufficient minimum contacts with California, and has

22   purposely availed itself of benefits and protections of California, and does business in California

23   so as to render the exercise of jurisdiction over it by the California courts consistent with

24   traditional notions of fair play and substantial justice.

25            22.   The amount in controversy exceeds the jurisdictional minimum of this Court.

26   /././

27   /././

28   /././

     COMPLAINT                                                                                         7
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 1   III.    PARTIES

 2           A.    Plaintiffs

 3           23.   Plaintiff Emma Martin (“Emma”) is, and at all times herein mentioned was, the

 4   wife and successor in interest and heir of the decedent, Vince Martin. Emma Martin was actively

 5   involved in her husband’s care and visited Mr. Martin frequently. Emma Martin is 82-years old

 6   and is a retired pediatric nurse practitioner. Plaintiff Emma Martin is lawfully entitled to pursue

 7   all claims and causes of actions for damages pursuant to Code of Civil Procedure sections 377.32,

 8   377.60, 377.61, Welfare and Institution Code section 15657.3(d), and Probate Code section 48.

 9           24.   Plaintiff Elizabeth Gagliano (“Lisa”) is, and at all times herein mentioned was, the

10   daughter and successor in interest and heir of the decedent, Vince Martin. Elizabeth Gagliano

11   was involved in her father’s care and visited Mr. Martin when in town. Plaintiff Elizabeth

12   Gagliano is lawfully entitled to pursue all claims and causes of actions for damages pursuant to

13   Code of Civil Procedure sections 377.32, 377.60, 377.61, Welfare and Institution Code section

14   15657.3(d), and Probate Code section 48.

15           25.   Plaintiff Kathryn Sessinghaus (“Kathy”) is, and at all times herein mentioned was,

16   the daughter and successor in interest and heir of the decedent, Vince Martin. Kathy was actively

17   involved in her father’s care and visited Mr. Martin frequently. Plaintiff Kathy Sessinghaus is

18   lawfully entitled to pursue all claims and causes of actions for damages pursuant to Code of Civil

19   Procedure sections 377.32, 377.60, 377.61, Welfare and Institution Code section 15657.3(d), and

20   Probate Code section 48.

21           26.   Plaintiffs Elizabeth Gagliano and Kathy Sessinghaus are the only surviving

22   children of Vince Martin.

23   /././

24   /././

25   /././

26   /././

27   /././

28   /././

     COMPLAINT                                                                                         8
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 1         B.      Defendant HPHC

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            27.    Serrano Post Acute LLC d/b/a Hollywood Premier Healthcare Center was, at all
13
     times relevant herein, a skilled nursing facility which provides services at 5401 Fountain Avenue
14
     Los Angeles, CA 90029, which is also its principal place of business.
15
           C.      Defendant Benjamin Landa
16
            28.    Mr. Landa owns and/or controls HPHC. Mr. Landa is a resident of Brooklyn,
17
     New York.
18
           D.      Defendant Marcel Adrian Solero Filart
19
             29. Defendant Marcel Adrian Solero Filart ("Filart") is, and at all times relevant hereto
20
     was, a resident of Los Angeles County, California; a physician licensed to practice medicine in
21
     the State of California; and affiliated with HPHC. As reflected in Exhibit 5, Filart was named in
22
     a 2016 False Claims Act case as having received kickbacks—the case was later settled by the
23
     Department of Justice for $42 million dollars.
24
           E.      DOE Defendants
25
            30.    Plaintiffs are ignorant of the names of those Defendants sued as DOES 1 through
26
     50 and for that reason has sued DOE Defendants by fictitious names. Plaintiffs further allege
27
     that each of said fictitious DOE Defendants is in some manner responsible for the acts and
28

     COMPLAINT                                                                                       9
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 1   occurrences hereinafter set forth. Plaintiffs will seek leave of the court to amend this

 2   Complaint to show their true names and capacities when the DOE Defendants are ascertained,

 3   as well as the manner in which each fictitious Defendant is responsible for the damages

 4   sustained by Plaintiffs.

 5   IV.   AGENCY/JOINT VENTURE/AIDING AND ABETTING/CONSPIRACY

 6          31.       Plaintiffs are informed and believe, and upon such basis allege, that at all times

 7   herein mentioned, each of the Defendants, including those named as DOE defendants, herein

 8   was an agent, servant, employee and/or joint venturer of each of the remaining Defendants, and

 9   was at all times acting within the course and scope of said agency, service, employment, and/or

10   joint venture.

11          32.       Defendants, and each of them, aided and abetted, encouraged and rendered

12   substantial assistance in accomplishing the wrongful conduct and their wrongful goals and other

13   wrongdoing complained of herein. In taking action, as particularized herein, to aid and abet and

14   substantially assist the commission of these wrongful acts and other wrongdoings complained

15   of, each of the Defendants acted with an awareness of his/her primary wrongdoing and realized

16   that his/her conduct would substantially assist the accomplishment of the wrongful conduct,

17   wrongful goals, and wrongdoing.

18          33.       Defendants, and each of them, conspired with each other and with others, to

19   perpetrate the unlawful scheme on Plaintiffs, as alleged in this Complaint. In so doing, each of

20   the Defendants have performed acts and/or made statements in furtherance of the said conspiracy,

21   while at all times acting within the scope of and in furtherance of the conspiracy alleged in this

22   Complaint, and with full knowledge of the goals of that conspiracy.

23   V.    STANDING TO BRING THIS SURVIVAL ACTION

24          34.       Pursuant to the provisions of Code of Civil Procedure section 377.32 and Welfare

25   Institutions Code section 15657.3(d), Plaintiffs Emma Martin, Lisa Gagliano and Kathy

26   Sessinghaus (“Plaintiffs”), as successors-in-interest to decedent Vince Martin, are lawfully

27   entitled to pursue all survival claims and causes of action for damages on behalf of decedent

28   Vince Martin.

     COMPLAINT                                                                                       10
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 1             35.      Additionally, pursuant to the provisions of Welfare and Institutions Code section

 2   15657.3(d) and section 48 of the Probate Code, Plaintiffs are interested persons, as defined by

 3   section 48 of the Probate Code, and are thus each lawfully entitled to pursue all claims and causes

 4   of action in a survival action on behalf of decedent Vince Martin.

 5   VI.       FACTUAL BACKGROUND

 6             36.      84-year old, Vince Paul Martin died of COVID-19 on Saturday April 4, 2020. He

 7   was a resident of HPHC, which is located in Hollywood (5401 Fountain Avenue Los Angeles,

 8   CA 90029). Vince born in Brooklyn, New York. He served in both the U.S. Army and the

 9   Army Reserve, having served in the 1950s and 1960s. After getting out of the Army he

10   attended the Pratt Institute in New York to become a graphic designer. He then worked in

11   advertising in the entertainment industry, including time on the Jack Parr Show, and worked at

12   advertising agencies in New York and Los Angeles. In the 1960s he moved to Los Angeles

13   where he worked as a graphic artist for the City of Los Angeles, both with the Los Angeles

14   Public Libraries and the Department of Water and Power. He retired in the mid-90s.

15             37.      Vince was married to Emma from 1964 until his death at HPHC. He and Emma

16   had two daughters (Plaintiffs Lisa and Kathy) and five grandchildren.

17             A.       The Background of Elder Abuse and Neglect In California and at HPHC

18             38.      While SNFs are expected to keep their residents safe from harm, the truth is that

19   abuse and neglect in such facilities has become a problem throughout the nation and the State

20   of California. HPHC has a history of providing sub-standard care. In 2019 alone, the United

21   States Department of Health and Social Services cited HPHC for the following deficiencies:

22            Nursing staff failed to don a gown and mask when caring for an infected resident who

23             was in isolation, instead the staff member touched the resident and then did not wash their

24             hands;

25            Failed to ensure proper infection controls due to failure to remove and clean equipment

26             with the “potential to spread infection and transmission of communicable disease”;

27            Failed to label oxygen tubing with a resident’s name, a “deficient practice” that “had the

28             potential to result in infection to the resident”;

     COMPLAINT                                                                                          11
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 1              Putting four residents in a 420 square foot room (HPHC actually had a fifth unoccupied

 2               bed in this small space);

 3              Not reporting an injury of unknown source to the State;

 4              Failed to protect from fall hazards;

 5              Illegally implementing advance care directives (end of life plans) without needed consent,

 6               with the potential of denying residents necessary treatments;

 7              Keeping call lights out of reach of residents;

 8              Improper use of physical restraints;

 9              Failing to put care plans in place for residents;

10              Failing to provide needed eyewear, and instead allowing a resident to use glasses that

11               were taped together with packaging tape and duct tape;

12              Failing to properly angle a resident’s bed to prevent the development of pneumonia;

13              Failing to post daily staffing information for review by residents and visitors.

14   Again, HPHC was cited for all the above deficiencies in 2019 (plus additional deficiencies that

15   are not listed). The situation was equally bleak in 2018. Under the circumstances that prevailed

16   at HPHC pre-COVID-19, it was inevitable that the nursing home would be ravaged by COVID-

17   19. This is supported by a GAO study dated May 20, 2020, which described the prevalence of

18   infection prevention and control deficiencies in nursing homes prior to the COVID-19 pandemic

19   and drew a correlation between facilities with deficiencies in 2018-2019 and current COVID-19

20   outbreaks. Infection Control Deficiencies Were Widespread and Persistent in Nursing Homes

21   Prior to COVID-19 Pandemic, GAO-20-576R: Published: May 20, 2020 (accessible at

22   https://www.gao.gov/assets/710/707069.pdf).

23               B.    Understaffing at HPHC

24               39.    HPHC has been chronically understaffed for years. This set up the perfect storm

25   when the COVID-19 pandemic hit.

26   /././

27   /././

28   /././

     COMPLAINT                                                                                          12
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 1                      40.               According to a 2016 UCSF study, HPHC (f/k/a Serrano North Convalescent

 2   Hospital), had 95.80% turnover—among the worst in the State of California.2 That same report

 3   noted that the facility had below average staffing of supervisors, Registered Nurses (“RNs”),

 4   Licensed Vocational Nurses (“LVNs”) and Licensed Practical Nurse (“LPN”), instead relying

 5   on Nursing Assistants with minimal qualifications. HPHC chose to staff the nursing home with

 6   underqualified staff in order to save money and increase profits for the owners.

 7                      41.               In keeping with the earlier UCSF study, Medicare.gov currently rates HPHC as

 8   “below average”:

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13                                 Also, per Medicare.gov, HPHC has overall below average staffing levels:

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25                      42.            As noted by a leading UCSF study, “[m]any California studies have demonstrated

26   that serious quality of care problems have been associated inadequate staffing levels, and most

27
     2
      “California Nursing Home Chains by Ownership Type Facility and Resident Characteristics,
28   Staffing, and Quality Outcomes in 2015” UCSF, Dr. Charlene Harrington and Dr. Leslie Ross.

     COMPLAINT                                                                                                                                                                                                         13
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 1   importantly, low RN staffing (Kim, et al., 2009a 2009b; Schnelle, et al., 2004).” “California

 2   Nursing Home Chains by Ownership Type Facility and Resident Characteristics, Staffing, and

 3   Quality Outcomes in 2015” UCSF, Dr. Charlene Harrington and Dr. Leslie Ross.

 4         C.        Mr. Martin Entered HPHC for Post-Surgery Care

 5           43.     Vince Martin went to HPHC in January 2014 due to spinal stenosis after

 6   undergoing surgery. At the time, Mr. Martin’s family were presented with few options for where

 7   Mr. Martin could go. The monthly fees quickly drained Emma and Vince Martin’s retirement

 8   funds. Plaintiffs wished they could afford different care, but like many families needing nursing

 9   home care for a loved one, their options are limited by their insurer, spots available, and family

10   finances.

11           44.     Prior to the outbreak, Plaintiffs visited Mr. Martin frequently. However, as the

12   pandemic hit California in February Plaintiffs noted that it seemed like there were no protocols

13   in place at HPHC to deal with the outbreak.

14         D.        The Family’s Final Visits to Mr. Martin in February 2020

15           45.     Because of the COVID-19 pandemic, the last time the family was able to visit in

16   person with Vince was in February. More specifically, Emma visited her husband either February

17   27 or 28. Emma did not observe PPE on the staff.

18           46.     On February 29, 2020, Kathy visited her father – she also noticed the lack of PPE

19   on the staff.

20           47.     Subsequently in March 2020, Emma went to drop off items for Vince and was met

21   by a staff member at the door. Emma was distressed when she observed that the staff member

22   did not have PPE on—that HPHC was not taking basic precautions—especially given that the

23   facility was in lock-down.

24         E.        COVID-19 Takes Hold at HPHC and HPHC Goes Into Lockdown

25           48.     By the first week of March the family was told that visitors were no longer allowed.

26   Family could still bring supplies and presents to the door of the facility. During the week of

27   March 2, Kathy brought a book and snacks to HPHC – she was met by a staff member at the

28   door who took the items – this staff member was not wearing a mask.

     COMPLAINT                                                                                        14
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 1          49.     During March, Emma would call to check in and sometimes the staff picked up

 2   and sometimes they did not. It was a frustrating and scary time for the Martin family since they

 3   had no way of really knowing how Mr. Martin was doing day to day.

 4          50.     On March 19, 2020, Lisa called HPHC and asked if she could mail Vince a care

 5   package of historical magazines (Mr. Martin took immense pleasure in reading) but was told that

 6   it was best not to mail anything.

 7          51.     On April 1, 2020 Kathy asked nurse “Elizabeth” if there were any active COVID-

 8   19 cases at HPHC – Elizabeth reluctantly told her that there was at least one case. Later in the

 9   conversation Elizabeth (nursing staff) admitted to Kathy that there were actually four active cases

10   in the facility. The family was very concerned in part because it is not a large facility – there is

11   not a lot of space and the residents were packed into tight quarters. The staff member told Kathy

12   that the facility was managing the situation by keeping all the COVID-19 cases on the other side

13   of the facility from Vince. Unbeknownst to Mr. Martin’s family, the Administrator of HPHC was

14   out battling COVID-19 since March 2020. Even after its own Administrator became infected

15   with COVID-19, HPHC failed to take steps to protect residents and staff and failed to test its

16   residents and staff for COVID-19.

17         F.       Staff Admits to Mr. Martin’s Family That There Is a Staffing Crisis: Two
                    Nurses Were Caring for Eighty-Three Residents
18

19          52.     During one call on April 1, 2020 “Elizabeth” (nursing staff) admitted to Lisa that
20   the situation was dire and that there were only two nurses for eighty-three residents. Lisa was
21   alarmed, she knew that there was no way that two nurses could care for eighty-three patients
22   without transmitting COVID-19 between the residents.
23          53.     Lisa could hear that “Elizabeth” was exhausted when she told Lisa that “more staff
24   are coming.”
25         G.       Timeline of Vince Martin’s Last Days
26          54.     On or about Wednesday April 1, 2020, HPHC’s staff called Emma Martin and said
27   that Vince had a fever, was not eating or drinking and was confused. This was the first time that
28   Vince’s family was informed that he was sick. Emma Martin called her daughters.

     COMPLAINT                                                                                        15
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 1          55.    In the early evening of April 1, daughter Kathy called HPHC to see how her father

 2   was doing. Nurse Elizabeth said Vince had a fever, was confused, had trouble breathing and was

 3   not eating or drinking. Kathy asked if tests had been ordered and Elizabeth said they had not

 4   been ordered yet. Kathy insisted that the facility conduct a urine test and a COVID-19 test.

 5   “Elizabeth” (nursing staff) said that they needed a doctor’s approval for the COVID-19 test,

 6   which they would request the next day. Elizabeth admitted to Kathy that there were four COVID-

 7   19 positive residents at HPHC. Kathy asked where the COVID-19 positive residents were in the

 8   building. Elizabeth responded that they were in the other side of the facility. Elizabeth also

 9   mentioned how she was exhausted and cried in the shower before coming to work due to the

10   situation at HPHC with staff not coming to work.

11          56.    Later that same evening, just after 10 p.m. Lisa called and spoke to nurse Elizabeth

12   to see how her father was doing. Elizabeth said that Vince seemed to be doing better than earlier

13   and that he was responsive when spoken to. Lisa confirmed with Elizabeth that a COVID-19 and

14   urinalysis were going to be done per the phone conversation Elizabeth had with Kathy earlier

15   that evening. Lisa asked if other typical blood drawn labs could be done, especially ones that

16   would check white blood cell count and red blood cell count and to see how Vince’s kidneys and

17   liver were doing. Elizabeth confirmed she would ask to get approval for these tests too. Lisa

18   asked about the COVID-19 positive residents and if they were separated from patients that did

19   not have COVID-19. Elizabeth said they were separated. Lisa asked if her father was awake and

20   Elizabeth said probably not. Lisa mentioned that if he was awake, she wanted to be put on speaker

21   phone to talk to him. Elizabeth mentioned another day would be best because there were just two

22   nurses there for 83 patients.

23          57.    Only recently did the family learn that HPHS had done a chest x-ray on Wednesday

24   April 1, 2020. HPHS did not notify the family that this was being done. This fact strongly

25   suggests that the facility understood that Mr. Martin was likely COVID-19 positive. Recently

26   Mr. Martin’s family learned that HPHC did not tell the mobile imaging company that there was

27   an active COVID-19 infection in the building.

28

     COMPLAINT                                                                                      16
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 1          58.    Kathy called the facility on Thursday April 2, 2020 to find out if her father’s test

 2   results were available. During an early evening call, a staff member told her father’s test results

 3   were not in/reported. Kathy asked if the COVID-19 test was done and if the urinalysis were taken

 4   too and the staff member said “yes, but no results yet.” Emma had also corresponded with HPHC

 5   on Vince’s status at some point during the day. According to lab reports that were texted to Lisa

 6   on April 3, 2020, those lab results were received earlier on April 2, 2020 for Vince’s blood work

 7   (except COVID-19 and Troponin I), but this information was not disclosed to the family.

 8          59.    On Friday April 3, 2020 Lisa called in the late afternoon to see how her father was

 9   doing and to find out about his test results. A member of the nursing staff “Joanne” mentioned

10   that Vince was doing worse than when she saw him the previous day. Joanne mentioned Vince

11   was given hydration/saline earlier in the day and reported that Vince was still not eating and

12   drinking, was confused, had trouble talking and was congested. Lisa asked if blood test results,

13   results from the COVID-19 test and the urinalysis were in/reported. Joanne said a urinalysis was

14   never done and the COVID-19 result was not in yet. Lisa asked why the urinalysis was not done.

15   Joanne did not have an answer. Lisa asked Joanne to take a picture of Vince’s labs and text them

16   to her. After the call, “Joanne” texted Lisa pictures of her father’s lab results. The lab results

17   show that the labs were done on Thursday, April 2, 2020 at 11:30 a.m., and were reported only

18   a half an hour later at 12:01 p.m. and then faxed to HPHC at 1:20 p.m. the same day. It appears

19   that one lab test lagged with results on April 3, 2020 at 10:03 a.m. (As of the date of this

20   Complaint, the family still has not received the Troponin I test results.)

21          60.    Later that evening Lisa called HPHC to check and see if the antibiotics were given,

22   see if urinalysis was done and to see if she could talk to Vince on the speaker phone. Joanne had

23   left for the day. Elizabeth said that a urinalysis still had to be done. Elizabeth put Lisa on speaker

24   phone with her father. Lisa heard her father try to speak, but it was hard to understand him, and

25   he was unable to carry on a conversation. This was the last time that anyone in the family spoke

26   to Vince.

27          61.    After Vince’s death, his family learned that the COVID-19 testing kit was received

28   by the lab in the early afternoon of April 3, 2020.

     COMPLAINT                                                                                          17
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 1          62.    Vince died in the early hours of Saturday April 4, 2020. Vince was one of three

 2   residents housed in a single room.

 3          63.    The funeral home picked up Vince’s body two hours after Vince died. The funeral

 4   home was not told by the facility that Vince was COVID-19-positive or COVID-19-suspected,

 5   thus their staff did not know to don PPE. Upon information and belief, HPHC had a practice of

 6   bringing in outside vendors and not informing them that there was a COVID-19 outbreak.

 7          64.    On Sunday April 5, 2020, after Vince had died, the COVID-19 positive test result

 8   came back, although HPHC did not tell the family until Emma specifically called to ask on April

 9   7, 2020.

10          65.    The death certificate, issued on April 9, 2020, and certified by Dr. Marcel Filart,

11   lists cardiac arrest, hypertension and coronary artery disease as the cause of death. (Exhibit 2).

12   Mr. Martin’s COVID-19 test result was reported on April 5 before Dr. Filart signed off on the

13   causes of death on April 9. Further, it was Dr. Filart who authorized the COVID-19 test (after

14   Mr. Martin’s family insisted on the test), so there is no doubt that he was aware that Mr. Martin

15   had been tested and that the results would be available when he fraudulently prepared the death

16   certificate. It was only at the insistence of Mr. Martin’s family that Dr. Filart sought to amend

17   Mr. Martin’s death certificate. (Exhibit 6). More specifically, Dr. Filart had no intention of

18   correcting Mr. Martin’s death certificate until Lisa Gagliano insisted that it was fraudulent to

19   leave COVID-19 off Mr. Martin’s death certificate. Defendants intended to hide COVID-19

20   results in order to keep vital information from residents, families, staff and the government.

21         H.      HPHC Refuses Requests by Mr. Martin’s Family for Information

22          66.    Plaintiff Lisa Gagliano has been trying to get her father’s records from HPHS

23   since April 10, 2020 (by phone and e-mail). She has been told that “corporate needs to review

24   the records request before records are released.” “Elizabeth” (in records) was originally the

25   person Lisa was interacting with in HPHC’s records department, however, over the past couple

26   of weeks, Lisa has been told that “Elizabeth” in records has “not been in.” It has sense been

27   confirmed that she is out due to COVID-19.

28

     COMPLAINT                                                                                        18
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 1          67.    To this day, Mr. Martin’s urinalysis results still have been withheld. This calls

 2   into question whether the urinalysis was ever done in the first place.

 3          68.    On April 10, 2020, Lisa spoke to Elizabeth (nursing staff), and in response to

 4   Lisa asking if she was going to get tested, Elizabeth said “I don’t want a test, no test for me.”

 5          69.    Any applicable statute of limitations have been tolled by virtue of HPHC’s failure

 6   to provide records to Plaintiffs.

 7   VII. CAUSES OF ACTION

 8                                       FIRST CAUSE OF ACTION

 9             ELDER ABUSE AND NEGLECT UNDER THE ELDER ABUSE AND

10                        DEPENDENT ADULT CIVIL PROTECTION ACT

11                                         (Against All Defendants)

12          70.    Plaintiffs incorporate by reference and re-allege all of the allegations contained in

13   the preceding paragraphs of this Complaint as though fully set forth herein.

14          71.    At all relevant times, Vincent Paul Martin was an elder as defined by Welfare &

15   Institutions Code section 15610.27. He was 84 years old at the time of Defendants’ conduct.

16          72.    The actions described above constitute abuse of an elder as defined by the Welfare

17   and Institutions Code section 15610.07. Defendants HPHC and Dr. Marcel Filart neglected Mr.

18   Martin, abandoned their obligations to Mr. Martin and engaged in other mistreatment that

19   resulted in physical harm, pain and mental suffering. Defendants HPHC and Dr. Filart, as Mr.

20   Martin’s care custodians, deprived Mr. Martin of services that were necessary to avoid physical

21   harm and mental suffering. Defendants HPHC and Benjamin Landa failed to provide adequate

22   funding and staffing to ensure that HPHC provided necessary care to Mr. Martin.

23          73.    The actions described above constitute neglect as defined by the Welfare and

24   Institutions Code section 15610.57 in that the Defendants negligently failed to exercise a degree

25   of care that a reasonable person in a like position would exercise. Among other things,

26   Defendants failed to: (1) exercise the degree of care that a reasonable person in a like position

27   would exercise; (2) protect Mr. Martin from health and safety hazards; (3) provide necessary care

28   and protection; (4) provide medical care for physical and mental health needs; (5) prevent

     COMPLAINT                                                                                           19
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 1   malnutrition and dehydration; (6) create and update an adequate plan of care to protect Mr.

 2   Martin given the COVID-19 outbreak at HPHC; (7) provide adequate staffing levels to provide

 3   Mr. Martin with the assistance that he needed; and (8) adequately train staff to assess and respond

 4   to infectious outbreaks. As described in this Complaint, Defendants’ conduct constitutes neglect

 5   of an elder under Welfare and Institutions Code section 15610.57 (a)(1) and (b)(1)-(4).

 6            74.   Mr. Martin has been harmed by Defendants’ conduct as described herein. The

 7   pattern of substandard care and neglect to Mr. Martin put him at extremely high risk for infections

 8   and resulting complications, including injury and death. Defendants’ conduct was a substantial

 9   factor in causing Mr. Martin to suffer physical, emotional, and economic harm, as well as other

10   damages in an amount to be determined according to proof.

11            75.   Defendants acted with recklessness, malice, oppression, and/or fraud. Among

12   other things, Defendants neglected to take the necessary precautions to prevent Mr. Martin’s

13   injuries. Plaintiffs, individually and as successors-in interest to Mr. Martin are entitled to

14   compensatory damages, as well as punitive damages in an amount to be determined according to

15   proof, as well as attorney’s fees and costs pursuant to Welfare and Institutions Code section

16   15657.

17         WHEREFORE, Plaintiffs pray for relief as set forth below.

18                                   SECOND CAUSE OF ACTION

19                                            NEGLIGENCE

20                                        (Against All Defendants)

21            76.   Plaintiffs incorporate by reference and re-allege all of the allegations contained in

22   the preceding paragraphs of this Complaint as though fully set forth herein.

23            77.   By virtue of their roles as caretakers and by virtue of the fact that Mr. Martin was

24   a dependent adult residing at the HPHC, Defendants had a duty to exercise a degree of care that

25   a reasonable person in a like position would exercise. Defendants failed to do so. Among other

26   things Defendants had a duty to:

27                     a. Adequately staff HPHC;

28

     COMPLAINT                                                                                        20
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 1                       b. Ensure that each worker received adequate training before working with

 2                             Mr. Martin;

 3                       c. Provide services that meet professional standards of quality;

 4                       d. Ensure that an adequate patient care plan was developed, reviewed, revised

 5                             and carried out, including specifically, because Mr. Martin was exposed to

 6                             COVID-19 at HPHC;

 7                       e. Take all reasonable and necessary precautions to ensure that Mr. Martin did

 8                             not contract COVID-19;

 9                       f. Provide Mr. Martin with necessary tests promptly and report those results

10                             promptly;

11                       g. Protect Mr. Martin from health and safety hazards;

12                       h. Treat Mr. Martin with respect, dignity, and without abuse.

13           78.     During the period of his residency at HPHC, Defendants breached their duty to Mr.

14   Martin. Among other things, and without limiting the generality of the foregoing, Defendants

15   failed to:

16                a. Adequately staff HPHC;

17                b. Ensure that each worker received adequate training before working with Mr.

18                   Martin;

19                c. Provide services that meet professional standards of quality;

20                d. Ensure that an adequate patient care plan was developed, reviewed, revised and

21                   carried out, including specifically, because Mr. Martin was exposed to COVID-19

22                   at HPHC;

23                e. Take all reasonable and necessary precautions to ensure that Mr. Martin did not

24                   contract COVID-19;

25                f. Protect Mr. Martin from health and safety hazards;

26                g. Provide Mr. Martin with necessary tests promptly and report those results to his

27                   promptly;

28                h. Treat Mr. Martin with respect, dignity, and without abuse.

     COMPLAINT                                                                                        21
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 1          79.    Defendants’ negligence, carelessness, recklessness, and unlawfulness was a

 2   substantial factor in causing Mr. Martin to suffer tremendous physical, emotional, economic, and

 3   fatal harm as well as other damages to be proven at the time of the trial.

 4          80.    As a direct and legal result of the wrongful acts and omissions of Defendant and

 5   DOES 1-50, Mr. Martin was harmed.

 6          81.    By reason of the wrongful death of Mr. Martin that resulted from the wrongful acts

 7   and omissions of Defendants, Plaintiffs suffered and continue to suffer loss of love,

 8   companionship, comfort, affection, solace, and moral support of Mr. Martin in the amount to be

 9   determined at trial.

10          82.    By reason of the wrongful death of Mr. Martin, resulting from the wrongful acts

11   and/or omissions of Defendants and DOES 1-50, and each of them, Plaintiffs hereby seek

12   recovery of other such relief as may be just, including as provided for under the Civil Code

13   section 377.61.

14          WHEREFORE, Plaintiffs pray for relief as set forth below.

15                                   THIRD CAUSE OF ACTION

16                                       WRONGFUL DEATH

17                                       (Against All Defendants)

18          83.    Plaintiffs incorporate by reference and re-allege all of the allegations contained in

19   the preceding paragraphs of this Complaint as though fully set forth herein.

20          84.    Defendants and DOES 1-50, and each of them, negligently, carelessly, recklessly,

21   and/or unlawfully operated HPHC so as to cause the death of Vince Martin.

22          85.    Defendants HPHC, Dr. Marcel Filart, Benjamin Landa and DOES 1-50 were

23   agents, servants, employees, successors in interest, and/or joint venturers of one another, and

24   were, as such, acting within the course, scope, and authority of said agency, employment and/or

25   venture when they negligently, carelessly, recklessly, and/or unlawfully withheld necessary care

26   from Vince Martin so as to cause the death of Vince Martin.

27          86.    As a direct and legal result of the wrongful acts and omissions of Defendants,

28   Vince Martin died.

     COMPLAINT                                                                                       22
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 1          87.    By reason of the wrongful death of Vince Martin resulting from the wrongful acts

 2   and omissions of Defendants, and DOES 1 through 50, Plaintiffs have incurred funeral and burial

 3   expenses, and related medical expenses, in an amount to be determined at trial.

 4          88.    By reason of the wrongful death of Vince Martin, resulting from the wrongful acts

 5   and omissions of Defendants, and DOES 1 through 50, and each of them, Plaintiffs suffered, and

 6   continue to suffer, loss of love, companionship, comfort, affection, solace and the moral and

 7   economic support of their husband and father.

 8          89.    As a direct and legal result of the aforementioned acts of Defendants HPHC, Dr.

 9   Filart, Mr. Landa and DOES 1 through 50, inclusive, Plaintiffs, by reason of the wrongful death

10   of Vince Martin, resulting from the wrongful acts and/or omissions of Defendants, hereby seek

11   recovery of other such relief as may be just and provided for under Code of Civ. Proc. § 377.61.

12          90.    Plaintiffs are informed and believe, and thereon allege, that in the days leading up

13   to Vince Martin’s death, and continuing through his death, Defendants HPHC, Dr. Filart, Mr.

14   Landa and DOES 1 through 50, and each of them, at all times mentioned, were under a statutory

15   duty to comply with all applicable federal and state laws and regulations governing nursing

16   homes in California, including but not limited to the following:

17        42 CFR§483.10(a) & (e) (respect, dignity, & without abuse);

18        42 CFR §483.21 (care plan);

19        42 CFR §483.25 (quality care must be provided; protecting for health and safety hazards);

20        42 CFR §483.30 (adequate physician oversight);

21        Cal Health & Safety Code § 1279.6 (safety plan);

22        Cal Health & Safety Code § 1337.1 (adequate training);

23        Cal Health & Safety Code §1599.1(a) (adequate and qualified staff);

24        Title 22 CCR §72311 (care plan and prompt reporting);

25        Title 22 CCR §72315 (required services);

26        Title 22 CCR §§72329(a) & 72501(e) (adequate staffing);

27        Title 22 CCR § 72517 (adequate training);

28        Title 22 CCR §72523(adequate policies and procedures);

     COMPLAINT                                                                                      23
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 1          Title 22 CCR § 72527(a)(11) (respect, dignity, & without abuse);

 2          Title 22 CCR § 72537 (reporting of communicable diseases);

 3          Title 22 CCR § 72539 (reporting of outbreaks);

 4          Title 22 CCR § 72541 (reporting of unusual occurrences);

 5          42 USC §1396r(b)(2) (adequate plan of care);

 6   Defendants’ violations of these laws and regulations were a contributing factor to the death of

 7   Vince Martin.

 8            91.   Vince Martin was one of the class of persons whose protection the aforementioned

 9   laws and regulations, as well as Welfare and Institutions Code §§ 15600 et seq. was afforded.

10            92.   As a direct and legal result of the wrongful acts and omissions of Defendants,

11   including DOES 1 through 50, and each of them, Vince Martin died.

12            93.   By reason of the wrongful death of Vince Martin resulting from the wrongful acts

13   and omissions of Defendants, and DOES 1 through 50, Plaintiffs have incurred funeral and burial

14   expenses, and related medical expenses, in an amount to be determined at trial.

15            94.   By reason of the wrongful death of Vince Martin, resulting from the wrongful acts

16   and omissions of Defendants, and DOES 1 through 50, and each of them, Plaintiffs suffered, and

17   continue to suffer, loss of love, companionship, comfort, affection, solace and the moral and

18   economic support of their husband and father.

19            95.   As a direct and legal result of the aforementioned acts of Defendants HPHC. Dr.

20   Marcel Filbart, Benjamin Landa, and DOES 1 through 50, inclusive, Plaintiffs, by reason of the

21   wrongful death of Vince Martin, resulting from the wrongful acts and/or omissions of

22   Defendants, hereby seek recovery of other such relief as may be just and provided for under Code

23   of Civ. Proc. § 377.61.

24   /././

25   /././

26   /././

27   /././

28   /././

     COMPLAINT                                                                                       24
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 1           WHEREFORE, Plaintiffs pray for relief as set forth below.

 2                                   FOURTH CAUSE OF ACTION

 3                                 FRAUDULENT CONCEALMENT

 4                             (Against Defendants HPHC and Marcel Filart)

 5           96.    Plaintiffs incorporate by reference and re-allege all of the allegations contained in

 6   the preceding paragraphs of this Complaint as though fully set forth herein.

 7           97.    Mr. Martin was an elderly resident of the nursing home run by HPHC. Mr.

 8   Martin relied upon Defendants HPHC and Dr. Filart for his care needs.

 9           98.    Prior to Vince Martin’s death, HPHC and Dr. Filart became aware that they could

10   not provide adequate care to Mr. Martin and knew of their duty to disclose these matters. In

11   fact, Plaintiffs were repeatedly told that Mr. Martin was “doing ok” or words to that effect prior

12   to April 1, 2020. Further, Plaintiffs were told that Mr. Martin would be cared for. This was

13   untrue. By March 2020, Defendants HPHC and Dr. Filart knew that there was an outbreak of

14   COVID-19 at HPHC, yet they kept the fact of the outbreak and the severity of the outbreak

15   concealed.

16           99.    When a member of HPHC’s staff eventually told Plaintiffs that there were one or

17   more COVID-19 cases at HPHC, they intentionally failed to disclose the full extent of the

18   outbreak, making the disclosure deceptive.

19           100. Defendants intentionally failed to disclose, first the fact that there was COVID-19

20   in the facility, then that there was a serious outbreak of COVID-19, and then that Mr. Martin

21   had been exposed to COVID-19, then that Mr. Martin was likely COVID-19 positive. These

22   facts were known only to Defendants and are not facts that Plaintiffs could have discovered.

23   Plaintiffs did not learn that Mr. Martin was COVID-19 positive until after his death. Even after

24   the COVID-19 positive test, Defendants HPHC and Dr. Filart concealed that Mr. Martin’s

25   death was caused by COVID-19—instead, COVID-19 was left off of Mr. Martin’s death

26   certificate.

27

28

     COMPLAINT                                                                                         25
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 1            101. Defendants HPHC and Dr. Filart breached their duties to disclose these facts to

 2   Plaintiffs and engaged in the above-listed concealments and misrepresentations with the

 3   intention of deceiving and misleading Plaintiffs.

 4            102. Had the omitted information been disclosed, Plaintiffs would have behaved

 5   differently, including that they would have insisted that Mr. Martin receive a COVID-19 test

 6   earlier and that he be treated for COVID-19.

 7            103. Mr. Martin was injured and died as a result of Defendants HPHC’s and Dr.

 8   Filart’s acts of misrepresentation and concealment. Plaintiffs also sustained damages and

 9   injuries, including emotional distress.

10            WHEREFORE, Plaintiffs pray for relief as set forth below.

11                                     FIFTH CAUSE OF ACTION

12                             FRAUDULENT MISREPRESENTATION

13                             (Against Defendants HPHC and Marcel Filart)

14            104. Plaintiffs incorporate by reference and re-allege all of the allegations contained in

15   the preceding paragraphs of this Complaint as though fully set forth herein.

16            105. Mr. Martin was an elderly resident of the nursing home run by HPHC. Mr.

17   Martin relied upon Defendant HPHC and its staff for his care needs.

18            106. HPHC and its staff repeatedly represented to Plaintiffs that Mr. Martin was

19   “doing ok” or words to that effect during the lockdown prior to April 1, 2020. Further, HPHC

20   and its staff represented to Plaintiffs that Mr. Martin would be cared for. This was untrue.

21            107. HPHC and its staff told Plaintiffs that there were less COVID-19 case in the

22   facility than there really were. HPHC and its staff further assured Plaintiffs that all COVID-19

23   positive residents were placed in a separate part of the nursing home from Mr. Martin, which

24   was not correct.

25            108. Dr. Marcel Filart misrepresented the cause of Mr. Martin’s death on Mr. Martin’s

26   death certificate dated April 9, 2020, as cardiorespiratory arrest, essential hypertension and

27   coronary artery disease, hiding Mr. Martin’s COVID-19 positive result and the real cause of

28   death.

     COMPLAINT                                                                                        26
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 1           109. HPHC and its staff falsely claimed that labs were completed when they were not

 2   in fact done.

 3           110. HPHC and its staff falsely claimed that Mr. Martin could not be transferred to a

 4   hospital for care in the days leading up to his death, he was unlikely be accepted, and would be

 5   harmed.

 6           111. Defendants HPHC and Dr. Filart breached their duties to disclose true facts to

 7   Plaintiffs and engaged in the above-listed misrepresentations with the intention of deceiving

 8   and defrauding Plaintiffs. Defendants HPHC and Dr. Filart knew that these representations

 9   were false when they made them, or made the representations recklessly and without regard for

10   its truth. Defendants intended that Plaintiffs rely on these representations to hide what harm

11   Mr. Martin was suffering. Plaintiffs reasonably relied on Defendants’ representations, and Mr.

12   Martin was thus injured and harmed. Plaintiffs’ reliance on HPHC and Dr. Filart’s

13   representations was a substantial factor in causing Mr. Martin’s death.

14           112. Had the omitted information been disclosed, Plaintiffs would have behaved

15   differently, including that they would have insisted that Mr. Martin receive a COVID-19 test

16   earlier and that he be treated for COVID-19.

17           113. Mr. Martin was harmed and died as a result of Defendants HPHC’s and Dr.

18   Filart’s acts of misrepresentation. Plaintiffs also sustained damages and injuries, including

19   emotional distress.

20                   WHEREFORE, Plaintiffs pray for relief as set forth below.

21   VIII. PRAYER FOR RELIEF

22           WHEREFORE, Plaintiffs Emma Martin, Elizabeth Gagliano and Kathy Sessinghaus pray

23   for relief as follows:

24         1.        General and special compensatory damages according to proof;

25         2.        Punitive damages according to proof, including treble punitive damages per Civil

26                   Code section 3345;

27         3.        For prejudgment and post-judgment interest upon such judgment at the maximum

28                   rate provided by law;

     COMPLAINT                                                                                        27
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 1        4.     Reasonable costs of suit;

 2        5.     Attorney’s fees and costs per Welfare and Institutions Code section 15657; and

 3        6.     Such other further relief as the Court may deem proper.

 4

 5   Dated: May 21, 2020                     COTCHETT, PITRE & McCARTHY, LLP

 6
                                             By:
 7                                                   ANNE MARIE MURPHY
 8                                                   Attorneys for Plaintiffs

 9

10                                  DEMAND FOR JURY TRIAL

11         Plaintiffs demand trial by jury on all issues so triable.

12
     Dated: May 21, 2020                     COTCHETT, PITRE & McCARTHY, LLP
13

14                                           By:
                                                     ANNE MARIE MURPHY
15                                                   Attorneys for Plaintiffs
16

17

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     COMPLAINT                                                                                    28
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                    Exhibit 1
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                                                                                            Hollywood Premier
                                                                                            Healthcare Center

HOLLYWOOD
 PREMIER HEALTHCARE CENTER
                                                                                            5401 Fountain Ave,
                                                                                            Los Angeles, CA 90029
                                                                                            323.465.2106




May 19, 2020


To Our Residents and Family Members:

We want to inform yo​u that at ​Hollywood Premier Healthcare Center​, ​we have​ 87 c​onfirmed cases of COVID-19.
(Please note that Hollywood Premier has been designated as a Dedicated Covid-19 Facility by the Los Angeles County
Dept. of Public Health and is currently only accepting confirmed Covid-19 patients).

The safety and wellbeing of our residents is our top priority. We are doing what we can to limit the spread of COVID-19
with​in ​Hollywood Premier Healthcare Center​, including stayi​ng in very close communication with local and state
health officials to ensure we are taking all the appropriate steps under current circumstances.

We are taking steps based on guidance from the Centers for Disease Control and Prevention (CDC) and the Center for
Medicare and Medicaid Services (CMS) to reduce the spread and impact of COVID-19, such as:

    ●   Enhanced infection control precautions
    ●   Screening residents, staff, and essential visitors for an expanded list of symptoms
    ●   Restricting visitation and entry of people to the building
    ●   Testing staff and residents for COVID-19 based on current protocols and availability of tests
    ●   Postponing communal activities

Due to government privacy requirements, we cannot divulge specific information about the individuals who have
confirmed or suspected COVID-19, unless they are your family member and you have the necessary permissions to
receive such information.

We know you are concerned about your loved one, but it is crucial that we restrict visitation to reduce the spread of this
virus to others. We will contact you directly if your loved one is suspected or diagnosed with COVID-19.

We also understand that connecting with family members is incredibly important to our residents. Family members are
encouraged to connect with their loved ones through video chat, calling, texting, or on social media. Hollywood Premier
has implemented a Zoom Video Conferencing System that is available for our residents and their loved ones.

We need your help in battling COVID-19. Please visit the CDC website (​www.cdc.gov/coronavirus​) to learn how you can
help prevent the spread in our community, since continued spread in the larger community increases the chance the
virus will work its way into our building.

This is a difficult time for everyone. We will continue to provide you with updates. Please know that we are adhering to
guidelines from the local and state health departments, which continue to evolve as we learn more about this virus.

We know that yo​u may have questions and we encourage you to contact our center. Please call us at ​323-465-2106​,
em​ail us at​ ​socialservices@serranopostacute.com​,​ ​or visit our website​ ​for updates on the status of your loved one.


Sincerely, ​Hollywood Premier Healthcare Center




Distributed 05.19.20                                         1
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                                                                                            Hollywood Premier
                                                                                            Healthcare Center

HOLLYWOOD
 PREMIER HEALTHCARE CENTER
                                                                                            5401 Fountain Ave,
                                                                                            Los Angeles, CA 90029
                                                                                            323.465.2106




May 14, 2020


To Our Residents and Family Members:

We want to inform yo​u that at ​Hollywood Premier Healthcare Center​, ​we have​ 81 c​onfirmed cases of COVID-19.
(Please note that Hollywood Premier has been designated as a Dedicated Covid-19 Facility by the Los Angeles County
Dept. of Public Health and is currently only accepting confirmed Covid-19 patients).

The safety and wellbeing of our residents is our top priority. We are doing what we can to limit the spread of COVID-19
with​in ​Hollywood Premier Healthcare Center​, including stayi​ng in very close communication with local and state
health officials to ensure we are taking all the appropriate steps under current circumstances.

We are taking steps based on guidance from the Centers for Disease Control and Prevention (CDC) and the Center for
Medicare and Medicaid Services (CMS) to reduce the spread and impact of COVID-19, such as:

    ●   Enhanced infection control precautions
    ●   Screening residents, staff, and essential visitors for an expanded list of symptoms
    ●   Restricting visitation and entry of people to the building
    ●   Testing staff and residents for COVID-19 based on current protocols and availability of tests
    ●   Postponing communal activities

Due to government privacy requirements, we cannot divulge specific information about the individuals who have
confirmed or suspected COVID-19, unless they are your family member and you have the necessary permissions to
receive such information.

We know you are concerned about your loved one, but it is crucial that we restrict visitation to reduce the spread of this
virus to others. We will contact you directly if your loved one is suspected or diagnosed with COVID-19.

We also understand that connecting with family members is incredibly important to our residents. Family members are
encouraged to connect with their loved ones through video chat, calling, texting, or on social media. Hollywood Premier
has implemented a Zoom Video Conferencing System that is available for our residents and their loved ones.

We need your help in battling COVID-19. Please visit the CDC website (​www.cdc.gov/coronavirus​) to learn how you can
help prevent the spread in our community, since continued spread in the larger community increases the chance the
virus will work its way into our building.

This is a difficult time for everyone. We will continue to provide you with updates. Please know that we are adhering to
guidelines from the local and state health departments, which continue to evolve as we learn more about this virus.

We know that yo​u may have questions and we encourage you to contact our center. Please call us at ​323-465-2106​,
em​ail us at​ ​socialservices@serranopostacute.com​,​ ​or visit our website​ ​for updates on the status of your loved one.


Sincerely, ​Hollywood Premier Healthcare Center




Distributed 05.14.20                                         1
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                    Exhibit 2
Case 2:20-cv-05937-DSF-SK Document
                          ;.
                                   1 Filed 07/01/20 Page 55 of 116 Page ID #:55
                                       j




                   Registered Envelope Service                                                  e    V




  Death Certificate amendment

                   Glen Arnold <gamold@vitalhealthmed.com>
    GA             05/06/2020 08:06:43 PM GMT
                   To: coviddeath@ph.lacounte.gov
                   CC: garnold@vitalheaithmed.com

    i;: :': :.                         (                                                             ff
    Dear Madam. It was brought to our attention the need for a medical amendment to the death certiflca
    te Qf Mr. Vincent Martin ( DOB 08/31/1935 ). After receiving and reviewing laboratory results reporte
    d·:on·.O4/05/2020 it is pertinent to amend and add COVID-19 as a cause of death. Please feel free t
    6:teach out to me at any time if _you need any further assistance. Thank you.
    Regards;                          ··

    Glen Arnold
    Administrator
    Ma·rcel Filart MD
    V:~al Health Medical Group
    1t1 1 W. Tempe St.
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    Mobile (323)794-4383
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                    Exhibit 3
Case DEPARTMENT
     2:20-cv-05937-DSF-SK              Document 1 Filed 07/01/20 Page 57 of
                OF HEALTH AND HUMAN SERVICES                                116 Page ID #:57
                                                                         PRINTED:0S/18/2020
     CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                                FORM APPROVED
                                                                                                                                             0MB NO 0938-0391
     STATEMENT OF                      (Xl) PROVIDER/ SUPPLIER (X2) MULTIPLE CONSTRUCTION                                                   ~) DATE SURVEY
     DEFICIENCIES                      / CLIA                  A BUILDING                                                                   ,.,OMPLETED
     ANDPLANOF                         IDENNTIFICATION                   B. WING        --                                                  D2/lS/1019
     CORRECTION                        NUMBER
                                       056489
     NAME OF PROVIDER OF SUPPLIER                                                                          TREET ADDRESS, CITY, STATE, ZIP
     aoLLYWOOD PREMIER HEALTHCARE CENTER                                                                           01 FOUNTAIN AVE.
                                                                                                                ~ OS ANGELES CA 90029
     For infonnation on the nursin11: home's olan to correct this dcficiencv, oleasc contact the nursin11 home or the state survev al!encv.
      (X4) ID PREFIX TAG               SUMMARY STATEMENT OF DEFICIENCIES (EACH DEFICIENCY MUST BE PRECEDED BY FULL REGULATORY
                                       OR LSC IDENTIFYING INFORMATION'I



      =
       F0SS8                           Reasonably accommodate the needs and preferences of each resident.
                                       ••NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY..
       Level or harm - Minimal         Based on observation. interview, and record review, the facility failed to accommodate the needs of two of 18 sampled
             or potential for actual residents (Resident 24 and 19).
                                       a. For Resident 24, the facility failed to ensure the resident's wheelchair was able to fit through the activities room
                                        doors for the resident to attend the group activities in the activities room. This deficient practice resulted in the
       Residents Affected - Few         resident feeling bored not being able to participate in the activities and socialize with other residents.
                                       b. For Resident 19, the facility failed to place the resident's call light within the resident's reach. As a result, the
                                        resident was not able to reach the call light when the resident required assistance from the staff.
                                       Findings:
                                       a. A review of Resident 24's Admission Record indicated the resident was admitted to the facility on [DATE] and was
                                        readmitted on [DATE]. Resident 24's [DIAGNOSES REDACTED].
                                       A review of the Minimum Data Set (MDS- a standardized assessment and care planning tool) dated 12/12/18, indicated that
                                        Resident 24 had no cognitive impairment (the mental action or process of acqwring knowledge and understanding through
                                        thought, experience, and the senses) nnd required extensive 11551stance with one-person assist from staff for bed mobility,
                                        toilet use, personal hygiene and dressing.
                                       On 2/19/19, at 3:31 p.m., during an observation and a concurrent interview, Resident 24 was in a wheelchair, outside the
                                        activities room. Resident 24 was looking into the activities room through the open door. Resident 24 stated, she would like to
                                       participate in the uctivities with the other residents. She would like to play bingo, participate in bible study, and
                                        socialize with the other residents in the activity room. Resident 24 stated, unfortunately, her wheel chair was too wide
                                        and docs not fit through the activities room door. Resident 24 stated, the only activities she does was in her room. She
                                        attends bible study by sitting in her wheel chair out in the hallway. Resident 24 complained of being bored and usually
                                        spends her time in the wheelchair in the hallway.
                                       On 2/2S/19, at 9:30 a.m., during an interview, the Activities Director (AD) stated, Resident 24 used to attend the
                                        activities in the activities room every day. However, the resident was provided with a new wheelchair more appropriate to
                                        the resident and now the wheelchair is too wide to fit through the door of the activity room. The AD stated, if the
                                        resident likes the activities going on in the activities room, she would sit outside by the door. The AD stated, it would
                                        be better for the resident to be inside the activities room and be able to actively participate in the activities. TI1e AD
                                        stated, Resident 24 liked to socialize with the other residents in the, activity room but was unable to now because her
                                        wheelchair will not fit through the doors.
                                       A review oftl1c facility policy and procedures titled, Quality of Life- Accommodation of Needs, revised 8/2009, indicated in order to
                                       accommodate individual needs and preferences, adaptations may be made to the physical environment, including the
                                        resident's bedroom and bathroom, as well as the common areas in the facility.
                                       b. A review of Resident 19's Admission Records indicated the resident was admilled to the facility on [DATE] and was
                                        readmitted on [DATE]. Resident 19's [DIAGNOSES REDACTED).
                                       A review of the MOS dated [DATE], indicated the Resident 19 had mild memory and cognitive impairment and required extensive
                                        assistance with one-person assistance for bed mobility, dressing, and eating. The MDS indicated Resident 19 was total
                                        dependent on the staff with one-person assistance with transfers, locomotion on the unit- how the resident moves to and
                                        returns from off unit locations, toilet use, and personal hygiene.
                                       A review of Resident l 9's Care Plan, dated I0/23/18, indicated the resident was at high risk for falls. Proposed
                                        interventions included to be sure the resident's call light was within reach and to encourage the resident to use it for
                                        11SSistanee as needed.
                                       On 2/19/19, at 3:20 p.m., during an observation and concurrent interview, Resident 19 was heard yelling help, help me, from
                                        his room. There was no staff present in the area Ill the time. Upon entering the resident's room, Resident 19 was observed
                                        lying in bed with bilateral side rails up. Resident I9's call light cord was observed wrap around the right side mil.
                                        Resident 19 was unable to reach the call light. Resident 19 stated, he was unable to reach the call light control.
                                       On 2/19/19, at 3:2S p.m., during an observation and concurrent interview, Registered Nurse 3 (RN 3) stated, the call light
                                        was too far away from the resident and the resident could not reach iL RN 3 stated, the call light should be within the
                                        resident's reach. It was important that the resident could reach it in case of an emergency or when lhe resident needed
                                        help.
                                       A review of the facility policy and procedures titled, Answering the Call Light, revised 10/2010, indicated that when a
                                        resident is in bed or confined to a chair, to be sure the call light was within easy reach of the resident.

       F0604                         Ensure that each resident is free from the use or physical restraints, unless needed ror
                                      medical treatment.
      Level or harm - Minimal        ••NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY••
      bann or potential for actual   Based on observation, interview, and record review, for one of three sampled residents (Resident 61) with physical restraint (any
      bann                           manual method, physical or mechanical device, equipment, or material that is attached or adjacent to the resident's
                                      body, cannot be removed easily by the resident and restricts the resident's freedom of movement or nonnal access to his/her body) in
       Residents Affected - Few      a total resident samelc of 18, the facility failed to ensure the resident attained and maintained his highest
                                      practicable well-being in an environment that prohibits the use of physical restraints to unnecessarily inhibit a
                                      resident's freedom of movement or activity.
                                     This deficient practice has the potential for the resident declining in physical functioning, injmy from attempts to free
                                      himself from the restrain and accidents such as falls, strangulation or entrapment.
                                     Findings:
                                     A review of Resident 61 's Admis.,;ion Record indicated Resident 61 was admitted on [DATE]. Resident 61 's (DIAGNOSES
                                     REDACTED]. to perform everyday activities) without behavioral disturbance.
                                     A review of Resident 61 's Minimum Data Set (a standardized, primary screening and assessment tool of health status which
                                      forms the foundation of the comprehensive assessment for all residents oflong term care facilities) dated 1/31/19,
                                      indicated Resident 61 was moderately cognitively impaired (the mental action or process of acquiring knowledge and
                                      understanding through thought, experience, and the senses) and used a trunk restraint daily.
                                     A review ofResident 61's physician's orders [REDACTED].
                                     A review of Resident 61 's care plan dated did not include any care plan regarding the alternative methods used before put


     LADORATORY DIRECTOR'S OR PROVIDER/SUPPLIER                                          TITLE                                      (X6)DATE
     REPRESENTATIVE'S SIONATURE




     Any deficiency statement ending with an asterisk (•) denotes II deficiency which the institution may be excused from correcting providing it is determined that other
     safeguards provide sufficient protection to the patients. (See instructions.) Except for nursing homes, the findings stated above are disclosablc 90 days following the
     date of survey wbether or not a plan of correct10n is provided. For nursing homes, the above findings and plans of correction are disclosable 14 days following the date
     these documents arc made available to the facility. If deficiencies are cited an approved plan of correction is requisite to continued promm participation.
     FORM CMS-2567(02-99)                       Event ID: YLIOl l                        Facility ID: 0S6489                        If continuation sheet
     Previous Versions Obsolete                                                                                                     Page 1 of S
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     DEPARTMENT OF HEALTH AND HUMAN SERVICES                                 116 Page ID #:58
                                                                          PRINTED:05/18/2020
      CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                                 FORM APPROVED
                                                                                                                                               0MB NO 0938-0391
      STATEMENT OF                     (XI) PROVIDER/ SUPPLIER (X2) MULTIPLE CONSTRUCTION                                                     XJ) DATE SURVEY
      DEFICIENCIES                     / CUA                   A. BUILDING _ _                                                                ::OMPLETED
      ANDPLANOF                        IDENNTIFICATION         B. WING _ _                                                                    02/15/1019
      CORRECTION                       NUMBER
                                       056489
     NAME OF PROVIDER OF SUPPLIER                                                                            TREET ADDRESS, CITY, STATE, ZIP
     hOLLYWOOD PREMIER HEALTHCARE CENTER                                                                     01 FOUNTAIN AVE.
                                                                                                           ~.OS ANm".LFJ,L CA 90029
      For information on the nursin2 home's plan to correct this deficiencv, nlcase contact the nursin2 home or the state survey agency.
       (X4) ID PREFIX TAG             SUMMARY STATEMENT OF DEFICIENCIES (EACH DEFICIENCY MUST BE PRECEDED BY FULL REGULATORY
                                      OR LSC IDENTIFYJNG INFORMATION)
        F0604                         (continued. .. from page I)
                                       the resident on physical restraint.
       Level or harm - Minimal        On 2/2S/19, at I :02 p.m., during an observation and concurrent interview, Resident 61 was sitting in a wheelchair with a
       harm or potential for actual    family member (FAM 1) next to him. FAM I stated, Resident 61 used the Posey belt restraint whenever up in a chair, when FAM I
       harm                           was not present. FAM 1 stated, the resident sometimes slipped to ground even with the Posey belt was on him.
                                      A review of Resident 61 's progress notes dated from 7/13/18 to 8/17/18, no documentation was found that indicated the
        Residents Affected - Few       facility tried to use less restrictive methods before using the Posey belt restraint.
                                      During an interview on 2/25/18, at I :02 p.m., Registered Nurse I (RN I) stated, the Posey belt restraint was applied to
                                       Resident 61 when he was up 'in the chair or out of bed. RN I confarmcd, there was no documentation in progress notes that
                                       less restrictive alternative methods were attempted before the Posey belt restraint was ordered.

       F0641                          Ensure each resident receives an accurate assessment.
                                      **NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY••
       Level or harm - Potential      Based on observation, interview, and record review, the facility failed to ensure the accuracy of the Minimum Data Set
       for minimal bann                (MOS), a comprehensive health status assessment tool, for one of 18 sampled residents (Resident 73).
                                      This deficient practice had the potential to result in inappropriate billing and quality of care deficiencies.
       Residents Affected - Some      Findings:
                                      A review of Resident 73's Admission Record indicated the resident was admitted on [DATE], with [DIAGNOSES REDACTED].
                                      A review of Resident 73's physician's orders [REDACTED].
                                      On 2/21/19, at 9:46 a.m., during an observation and concum:nt interview, Resident 73 was in bed and had an open hole at the front of
                                      the nt-'Ck covered with a loose gauze. Resident 73 stated, it was a (MEDICAL CONDffiON].
                                      A review of Resident 73's MOS dated [DATE], did not indicate that the resident had a [MEDICAL CONDffiON].
                                      During an interview, on 2/25/19, at I :38 p.m., Registered Nurse 2/MDS Nurse stated, she did not accurately code Resident
                                       73's [MEDICAL CONDffiON] status on the MOS.

       F0656                          Develop and implement a complete care plan that mceh all the resident's needs, lVith
                                       timetables and actions that can be measured.
       Level or harm - Minimal        **NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY..
       harm or potential for actual   Based on observation, interview, and record review, the facility failed to ensure a specific care plan was developed and
       harm                            implemented for two (Resident 34 and 67) of 18 sampled residents.               ·
                                      a. For Resident 34, facility failed to develop a care plan specific for the risk of cntrnpment related to the use of bed
       Residents Affected - Few        side rails. This deficient practice had the potential risk for the resident to get caught between the mattress and side
                                       rails or in the side rail itself.
                                      b. For Resident 67, facility failed to develop a care plan for the resident's behavior of constantly worrying about his
                                       personal items being taken away from him and getting lost. This deficient practice had the potential risk for resident's
                                       health and well being to decline.
                                      Findings:
                                      a. A review of Resident 34's Admission Record indicated the resident was originally admitted to the facility on (DATE] and
                                       readmitted on [DATE], with [DIAGNOSES REDACTED). enough blood) affecting the right dominant side.
                                      A review of Resident 34's Minimum Data Set (MDS, a standardized assessment and care screening tool), dated 1/1/18, indicated
                                      Resident 34 had the ability to make self understood and understand others. The MOS further indicated, Resident 34 was
                                       totally dependent on staff for transfer to and from bed, eating, toilet use, personal hygiene, and bathing, and required
                                       extensive assistance fonn staff for dressing and bed mobility.
                                      A review of the summary of Resident 34's physician's orders indicated an order, dated 2/24/18, to apply on the right side
                                       full side rail and the left side 1/2 side rail on resident's bed the for mobility and poor safety awareness.
                                      During an observation, on 2/25/19, at 11 :35 a.m., Resident 34 was observed laying in bed with 1/2 side rail up on the the
                                       left side of his bed.                           ,
                                      A review ofa care plan for Resident 34, dated 6/30/17, for complications related to the use of the side rails, indicated
                                       goal was for resident to remain free or injury, falls, or accidents, and for resident to remain free of complications
                                       related to the use oflhe side rails. The list of interventions, however, did not include assessment of the resident for
                                       the risk of entrnpment related to the use of the side rails.
                                      A review of another care plan for the use of side rails for Resident 34, dated 2/24/18, indicated goal was to prevent
                                       decrease functioning and immobility, and reduce risk for development of skin alteration. The interventions listed, however, did not
                                      include assessment of the resident for the risk of entrnpment.
                                      During an interview and concurrent record review, on 2/2S/I 9, at 2:09 p.m., the Director of Nurses (DON) confinncd, the side rail
                                      assessment docs not include assessment for the risk of entrapment and that the care plans does not address the risk
                                       for entrapment. The DON stated, the facility docs not have an assessment specifically for the risk of entrapment for the
                                       use of the side rail.
                                      A review of the facility policy and procedure, revised I0/2010, titled, Proper Use of Side Rails, indicated: The purpose of
                                       the guideline was to ensure the safe use of side rails. The policy indicated that an assessment will be made to determine
                                       the resident's symptoms and reason for using the side rails. The policy, however, did not indicate that the risk for
                                       entrapment will be include in the assessment and a care plan will be developed as a result of this assessment.
                                      b. A review of the Admission Record indicated Resident 67 was admitted to the facility on [DATE], with (DIAGNOSES
                                      REDACTED].
                                      A review of Resident 67's MOS dated (DATE], indicated resident had the ability to make self understood and understand
                                       others. The MOS further indicated that Resident 67 required limited assistance fonn staff for most of his activities for
                                       daily living (bed mobility; transfer to and from bed; locomotion on and off the unit; and personal hygiene), and extensive
                                       staff assistance for dressing, toilet use, and bathinJ.
                                      During an interview, OD 2/21/19, at I :24 p.m., Resident 67 stated, he felt the staff are taking his stuff, his paperwork,
                                       and sometimes clothing. He stated, sometimes he docs not want to leave the room and keeps telling the staff that he is
                                       missing items. But110 one pays attention to him. He further stated, be docs not like it because his things are important to him.
                                      During an interview, oD 2/21/19, at 2:11 p.m., the Social Services Dcsignce (SSD) stated, Resident 67 was afraid about
                                       someone taking his belongings. She stated Resident 67 does not want to leave his room and sometimes refuses to be washed
                                       due to his fear. She stated be claimed he was missing items but nothing specific, he just said that someone took his
                                       things. The SSD further stated, the issue with missing items was not care planned. The SSD stated, it should have been care planned
                                      that he was fabricating that he was missing clothes. The SSD stated, it was important so staff will know what to
                                       do, just in case something like this happens again.
                                      During an interview, on 2/21/19, at 2:SS p.m., the Registered Nursing SupCtVisor (RN I) stated, Resident 67 was paranoid of
                                       them touching his clothes. RN 1 stated, the resident does not want them to touch anything because he was paranoid of his
                                       belongings being lost. RN I stated, Resident 67 gets upset and thinks everyone was taking his items/things from him. RN 1
                                       further stated, the paranoid behavior should have been addressed and care planned in order for the staff to address the
                                       issue with possible interventions and monitor him and other interventions to address his issues, like nCH>nc will touch his belongings.
                                      A review of the documented care plans for Resident 67, no care plan had been developed for the resident's behavior of
                                       constantly worrying about his personal items being taken away from him and getting lost.

       F067S                          Honor each resident's preferences, choices, values and beliefs.
                                      ..NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY••
       Level or harm - Minimal        Based on observation, interview, and record review, the facility failed to provide the nccessmy care and services for one
       hann or potential for actual   of 18 sampled resident (Resident 67). Resident 67 was wearing a pair of eyeglasses that was broken and not in good repair.
       harm                           This had the potential for resident's physical and psychosocial well being to decline.
                                      Findings:
       Residents Affected - Few

     FORM CMS-2S67(02-99)                       Event ID: YLJ 011                         Facility ID: 056489                        If continuation sheet
     Previous Versions Obsolete                                                                                                      Page 2 ofS
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     DEPARTMENT OF HEALTH AND HUMAN SERVICES                                116 Page ID #:59
                                                                         PRINTED:0S/18/2020
     CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                                   FORM APPROVED
                                                                                                                                                0MB NO 0938-0391
     STATEMENT OF                      (XI) PROVIDER/ SUPPLIER (X2) MULTIPLE CONSTRUCTION                                                      (XJ) DATE SURVEY
     DEFICIENCIES                      / CLIA                  A BUILDING _ _                                                                  COMPLETED
     ANDPLANOF                         IDENNTIFICATION         B. WING _ _                                                                     b211mo19
     CORRECTION                        NUMBER
                                       056489
     NAME OF PROVIDER OF SUPPLIER

                                                                                                            h
                                                                                                             TREET ADDRESS, CITY, STATE, ZIP
     llOLLYWOOD PREMIER HEALmCARE CENTER                                                                        01 FOUNTAIN AVE.
                                                                                                                OS -' ""GELES. CA 90029
     For infonnation on lhc nursinl! home's olan to correct Ibis dcficicncv. olcasc contact !he nursin2 home or the state survey al!cncy.
      (X4) ID PREFIX TAG              SUMMARY STATEMENT OF DEFICIENCIES (EACH DEFICIENCY MUST BE PRECEDED BY FULL REGULATORY
                                      OR LSC IDENTIFYING INFORMATIONl
       F067S                          (continued. .. from page 2)
                                      A review oflhe Admission Record indicated Resident 67 was admitted to the facility on [DATE), with [DIAGNOSES REDACTED).
       Level of harm - Minimal        A review of Resident 67's Minimum Data Set (MDS, a standardized ossessment and care screening tool), dated 1/24/19,
       harm or potential for actual indicated resident bad !he ability to make self understood and understand ochers. The MOS further indicated that Resident
       hann                            67 required limited assistance form staff for most of his activities for daily living (bed mobility; transfer to and from
                                       bed; locomotion on and off !he unit; and personal hygiene), and extensive staff assistance for dressing, toilet use, and
       Residents Affected - Few        balhing.
                                      During an observation and concurrent interview, on 2/21/19, at I :24 p.m., Resident 67 was observed wearing eyeglasses that
                                       were broken. The frame of the eyeglasses had a transparent tape on the right side and a duct tape (gray industrial tape) on the left side.
                                      The eyeglass len.,;es were angled towards the resident's eyes. Resident 67 stated, My eyeglasses had been like this for a while. They
                                      gave me some eyeglasses, but they are not mine. I have to walk around with tape on my broken
                                       eyeglasses. I don't like it and makes me feel shy, you know.
                                      During an interview, on 2/21/19, at 2:11 p.m., the Social Services Designcc (SSD) stated, the resident has an appointment
                                       with an optometrist but did not docwncnt it.
                                      A review of the facility policy and procedure, revised 8/2009, titled, Quality of Life-Accommodation of Needs, indicated,
                                       the staff shall help to keep bearing aids, glasses and ocher adaptive devices clean and in working order for the resident.

       F0692                          Provide enough food/Ouids to maintain a resident's health,
                                      ••NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY••
      Level of harm - Minimal         Based on observation. interview, and record review, the facility failed to follow the resident's food preference and did not follow the
      harm or potential for actual    facility policy to place a diet card on each tray for one of 18 sampled residents (Resident 71 ).
      harm                            This deficient practice bad !he potential for !he resident not to maintain sufficient intake for proper hydration.
                                      Findings:
       Residents Affected - Few       A review ofRcsident 71's Admission Record indicated the resident was admitted on [DATE), with [DIAGNOSES REDACTED).
                                      A review ofRcsidcnt 7l's Minimum Data Set (MDS, a standardized assessment and care screening tool), dated 12/14/18,
                                       indicated the resident had clear speech, can make herself understood and understood others, and was cognitively intact (the mental
                                      action or process of acquiring knowledge and undcrstanding through thought, experience, and the senses).
                                      During an observation and concurrent interview, on 2/20/19, at 10:03 a.m., a breakfast tray was observed in Resident 71's
                                       room. The tray had no diet card and the tray had scrambled eggs, two pieces of bread. a glass ofjuice and a gloss of milk. The food
                                      on !he tray was untouched. Resident 71 stated, she docs not like the breakfast food, especially eggs. She bad
                                       asked for a fruit plate for breakfast but never received it. Resident 71 stated, she had talked to the nurse a few times
                                       but nobody took care of it. Licensed Vocationnl Nurse 2 (LVN) 2 stated, normally lhc certified nurse assistants (CNAs)
                                       passes the trays and collects !he trays after meals. LVN 2 confirmed, that there was no diet card on Resident 71 's
                                       breakfast tray. LVN 2 stated, !here should be a diet card on every tray.
                                      During an observation and a concurrent interview on 2/20/19, at 12:45 p.m., Resident 71's lunch tray included a chicken
                                       sandwich with cheese, cottage cheese, and a green salad. Resident 71 stated, she does not like cheese. Resident 7l''s diet
                                       card on !he tray indicated, no pork, beef, rice, potatoes and cheese. LVN 1 conlinned Resident 71 's lunch tray had cottage
                                       cheese and slices of cheese inside !he sandwich.
                                      During an interview, on 2/2S/19, at 12:16 p.m., the Dietary Supervisor (OS) stated, the facility uses a diet communicate
                                       fonn. When !he resident requested a diet preference change, then we prepared !he meal according to the request fonn and
                                       reOect !he preference on the diet card. The OS stated, every tray should have a diet card.
                                      A review of the facility policy and procedure titled, Tray Identification. dated 1/10/19, indicated, use !he diet card to
                                       assist in setting up and serving correct food trays/diets to residents, the food service manager or supervisor will check
                                       trays for correct diets before the food carts arc transported to their designated area and nursing staff shall check each
                                       tray for !he correct diet before serving !he residents.

      F0693                           Ensure that feeding tubes are not used unless there Is a medical reason and the resident
                                       agrees; and provide appropriate care for a resident with a feeding tube.
      Level of harm - Minimal         ••NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY..
      hann or potential for actual    Based on observation, interview, and record review, the facility failed to ensure one of two sampled residents (Resident SO) with a
      harm                            gastrostomy tube (G tube-tube surgically inserted into the stomach for administration of nutrients and medications)
                                       in a total resident sample of 18, received appropriate treatment and services to ensure adequate intake and aspiration
      Residents Affected - Few         pneumonia (a condition in which food, liqwds, saliva, or vomit is breathed into !he airway causing an infection in !he
                                       lungs). Resident 50 bead oflhe bed was not properly elevated to prevent !he development of aspiration pneumonia. The staffWllS
                                      unable to detcnnine how long the tube feeding had been running the amount of tube feeding the resident had.
                                      These deficient practice~ had !he potential for !he Resident SO not receiving the ordered amount of nutrients and the
                                       potential for developing aspiration pneumonia.
                                      Findings:
                                      A review of Resident S0's Admission Record indicated chat the resident was readmitted on [DATE], with [DIAGNOSES
                                      REDACTED].
                                      A review of Resident S0's physician order dated S/16/18, indicated:
                                      a. Entcral (refers to any method of feeding chat uses the gastrointestinal (GI) tract to deliver pan or all of a person's
                                       caloric requirements) feed order: Fibcrsourcc HN (type offceding formula) at 65 milliliters (ml)/hour (hr) for 20 hrs to
                                       provide 1300 ml/1S60 kilocalorics via feeding pump.
                                      b. Entcral feed order: Every shift elevate bead of the bed (HOB) 30-4S degrees at all times.
                                      A review of Resident S0's care plan dated S/16/18, indicated: elevate bead of bed 30-4S degrees.
                                      During an observation and a concurrent interview on 2/22/19, at 9:02 a.m., Resident 50 was observed lying flat in bed. The
                                       cntcral feeding pump was running at 65 ml/hr wilh Fibcrsouree HN, which was dated 2/22/19, at S a.m. Licensed Vocational
                                       Nurse 3 (LVN 3) stated, the pwnp showed total volume administered was S19 ml. LVN 3 stated. she did not know what th11t
                                       number meant and did not know when the feeding slllrted. LVN 3 stated. whoever set up the pump will set the total amount of
                                       feeding according to physician order and when the pum{l hits the set up limit, it will stop. LVN 3 stated there was no
                                       docwncntation oflhe start time for the S19 ml began to infuse or how much was administered during each shift. LVN 3
                                       elevated !he bead of bed for Resident SO. LVN 3 stated, the head of bed should be elevated all the time when tube feeding
                                       was on for aspiration precaution. RN I stated that the person changing feeding bag should be the one document the amount of cnteml
                                      feeding given to the resident.
                                      During an interview on 2/22/19, at 2:07 p.m., Registered Nurse I (RN l) confmned nothing was documented in Resident S0's
                                       progress notes or Medication Administration Record [REDACTED]. RN l stated, the person changing feeding bag should document
                                      !he amount of entcral feeding given to the resident.
                                      RN 1 stated, !he head of bed should always be elevated when the resident feeding is on.
                                      A review oflhe facility policy and procedure titled, Enteml Tube Feeding via Continuous Pump, dated l/10/19, indicated:
                                       Position the head oflhc bed at 30-4S degrees for feeding and !he person pcrfonning the tube feeding should record
                                       information in lhe resident's medical record amount and types of enteral feeding.

      F0700                           Try difTerent approaches before using II bed raU. Ir a bed rail ls needed, the facility
                                      must (1) assess a resident for safety risk; (2) review these risks and benefits with the
      Level of harm - Minimal         resident/reprCJeatadve; (3) get Informed consent; and (4) Correcdy install and
      bann or potential for actual     maintain the bed raiL
      harm                            ••NOTE- TERMS IN BRACKETS HA VE BEEN EDITED TO PROTECT CONFIDENTIALITY••
                                      Based on observation, interview, and record review, the facility failed to ensure one of two sampled residents (Resident 34)
      Residents Affected - Few

     FORM CMS-2S67(02-99)                       Event ID: YLIOl l                          Facility ID: 0S6489                         If continuation sheet
     Previous Versions Obsolete                                                                                                        Pagel ofS
Case 2:20-cv-05937-DSF-SK              Document 1 Filed 07/01/20 Page 60 of
     DEPARTMENT OF HEALTH AND HUMAN SERVICES                                116 Page ID #:60
                                                                         PRINTED:05/1812020
     CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                                   FORM APPROVED
                                                                                                                                                0MB NO 0938-0391
     STATEMENT OF                     (XI) PROVIDER/ SUPPLIER (X2) MULTIPLE CONSTRUCTION                                                        ~)DATE SURVEY
     DEFICIENCIES                     / CLIA                  A. BUILDING                                                                       COMPLETED
     ANDPLANOF                        IDENNTIFICA TION                    B. WING         --                                                    02/15/2019
     CORRECTION                       NUMBER
                             0S6489
     NAME OF PROVIDER OF SUPPLIER                                                                            TREET ADDRESS, CITY, STATE, ZIP
     IIOLLYWOOD PREMIER HEALTHCARE CENTER                                                                          01 FOUNTAIN AVE.
                                                                                                                 ~ OS ANGELES. CA 90029
     For information on the nursinl! home's nlan to correct this dcficicnev. nlcasc contact the nursinl! home or the state survcv al!encv.
      (X4) ID PREFIX TAG              SUMMARY STATEMENT OF DEFICIENCIES (EACH DEFICIENCY MUST BE PRECEDED BY FULL REGULATORY
                                      OR LSC IDENTIFYING INFORMATION)
       F0700                          (continued. •• from page 3)
                                       reviewed for the use of bed rails (side rails) in a total resident sample of 18, were assessed for the risk of entrapment
       Level or harm - Minimal         Residents 34 was not assessed for the risk of entrapment before using the side rails. This deficient practice had the
      : : : or potential for actual potential risk for these residents to get caught between the mattress and side rails or in the side rail itself.
                                      Findings:
                                      A review of Resident 34's Admission Record indicated the resident was originally admitted to the facility on [DATE] and
       Residents Affected - Few        readmitted on [DATE], with [DIAGNOSES REDACTED). enough blood) affecting the right dominant side.
                                      A review of Resident 34's Minimum Data Set (MDS, a standardized assessment and care screening tool), dated 1/1/18, indicated
                                      resident had the ability to make self understood and understand others. The MDS further indicated that Resident 34 was
                                       totally dependent on staff for lransfer lo and from bed. eating, toilet use, personal hygiene, and bathing. and required
                                       extensive assistance form staff for dressing and bed mobility.
                                      A review of the summary of Resident 34's physician's orders indicated an order, dated 2/24/18, to apply on the right side
                                       full side rail and the left side 1/2 side rail on resident's bed the for mobility and poor safety awareness.
                                      During an observation, on 2/15/19, at 11 :JS a.m., Resident 34 was observed laying in bed with 1/2 side rail up on the the
                                       left side of his bed.
                                      A review of a care plan for Resident 34, dated 6/30/17, for complications related to the use of the side rails, indicated
                                       goal was for resident to remain free ofinjwy, falls, or accidents, and for resident to remain free of complications
                                       related to the use of the side rails. The list of interventions, however, did not include assessment of the resident for
                                       the risk of entrapment related to the use of the side rails.
                                      A review of another care plan for the use of side rails for Resident 34, dated 2/24/18, indicated goal was to prevent
                                       decrease functioning and immobility, and reduce risk for development of skin alteration. The interventions listed, however, did not
                                      include assessment of the resident for lbc risk of entrapment.
                                      A review of Resident 34's initial assessment for the use of the side rails, dated 2/24/18, docs not indicate that the
                                       resident was assessed for the risk of entrapment.
                                      During an interview and concurrent record review, on 2/25/19, at 2:09 p.m., the Director of Nurses (DON) confirmed. the side rail
                                      assessment docs not include assessment for the risk of entrapment and that the care plans does not address the risk
                                       for entrapment. The DON stated, that they don't have an assessment specifically for the risk of entrapment for the use of
                                       the side rail.
                                      A review of the facility policy and procedure, revised on 10/20IO, for the use of side rails indicated that the purpose of
                                       the guideline was to ensure the safe use of side rails. The policy indicated that an assessment will be made to determine
                                       the resident's symptoms and reason for using the side rails. The policy, however, did not indicate that the risk for
                                       cntrnpmcnt will be included in the assessment.

      F0732                          Post nurse staffing Information every day.
      Level or harm - Potential      Based on observation, interview, and record review, the facility failed to ensure the Daily Staffing was posted and readily
      for minimal hann                available to residents and visitors at any given time.
                                     This deficient practice failed to make the Daily Staffing readily available to residents and visitors.
      Residents Affected - Some      Findings:
                                     On 2/25/19, at I 0:02 a.m., during an observation and concurrent interview, the Daily Staffing Posting could not be located
                                      in a prominent place, such as the main entrance to the facility or the hallways by Nurses Station 1 and 2. Registered Nurse I (RN I)
                                     stated, the Daily StafTmg Posting was located in I:' three ring binder among other folders on the counter of
                                      Nursing Station I. According to RN I, the Daily StafTmg binder used to be posted by the wall on the hallway by Nursing
                                      Station I but the place/stand where it was located broke and now it is kept by the counter on Nurses Station J.
                                     On 2/25/18, at 11 a.m., during an interview, the Director of Nursing (DON) stated, the Daily Staffing should be posted on
                                      the wall of the main hallway to be seen by everyone, residents and visitors.

      F0865                          Have a plan that describes the process for conducting QAPI and QAA activities.
      Level or harm - Minimal        Based on interview and record review, the facility failed to evaluate the effectiveness of its quality assurance and
      harm or potential for actual   perfonnance improvement (QAPI) program per the facility policy and procedures.
      harm                           This deficient practice prevents quality care improvement based on QAPI Program pcrfonnancc evaluation.
                                     Findings:
      Residents Affected - Few       On 2/25/19, at 3:04 p.m., during a review of the facility QAPI plan and concurrent interview, the Administrator (ADM)
                                     stated. the performance of the QAPI plan was not evaluated yet According to ADM, it was important to do it because it will aid in
                                     quality care improvements based on QAPI performance. According to the ADM if evaluated, the quality of care at the              ·
                                      facility will improve.
                                     A review ofthc facility policy and procedures titled, Quality Assurance and Performance Improvement (QAPI) Plan. revised
                                     4/2014, indicated that the facility shall evaluate the effectiveness of its QAPI Program at least annually and shall
                                     present their conclusions to the owner/governing board for review.

      F0880                          Provide and implement an infection prevention and control program.
                                     ••NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY••
      Level ofbarm - Minimal         Based on observation, interview, and record review, the facility failed to ensure·the infection control protocol was
      hann or potential for actual    followed for two of 18 sampled residents (Residents 79 and 55).
      hann                           a. For Resident 79, the facility failed to ensure used resident equipment was removed and cleaned. This deficient practice
                                      had the potential to spread infection and transmission of communicable diseases.
      Residents Affected - Few       b. For Resident 55, the facility failed to label the oxygen tubing (a plastic flexible tubing that delivers oxygen) with the resident's
                                     name and date. This deficient practice had the potential to result in an infection to the residenL
                                     Findings:
                                     a. A review of Resident 79's Admission Record indicated the resident was re-admined on [DATE], with [DIAGNOSES
                                     REDACTED).
                                     A review of Resident 79's physician's orders dated 2/17/19, indicated contact isolation (used for infections, diseases, or
                                      genns that are spread by touching the resident or items in lbe room. wear a gown and gloves while in the resident's room)
                                      for seven da~ to positive result of extended spectrum bcta-lactamasc (ESBL a type of enzyme or chemical produced by some
                                      bacteria. which cause some antibiotics not to work) in urine.
                                     During an observation, on 2/22/19, at 3:09 p.m., Resident 79 wns on contact isolation and shared the room with other three
                                      non isolation residents, and shared the privacy curtain with one resident.
                                     During an interview, on 2/25/19, at I0:35 a.m., the Maintenance Supervisor (MS) stated, if a resident was on isolation. the
                                      curtain will be washed every day. The MS stated, the facility did not have written documentation that the isolation curtain was
                                     washed daily.
                                     A review of the facility log for cleaning of the privacy cunains for 2/2019 did not indicate Resident 79's privacy curtain
                                      was removed and washed every day or right after isolation status discontinued on 2/23/19.
                                     A review of the facility maintenance log did not indicate Resident 79's privacy curtain was removed and washed during the
                                      time period that the resident was on isolation.
                                     A review of the facility policy and procedure titled, Laundry, revised 1/10/19, indicated resident privacy curtains arc
                                      laundered every six months or more frequently as necessary.
                                     A review of the facility policy and procedure utled, Isolation-Categories of Transmission-Based Precautions, revised
                                      1/10/19, indicated: if the use of common items was unavoidable, then adequately clean and disinfect them before use for
                                      anotl1er resident.
                                     b. A review of Resident 55's Admission Record indicated the resident was admitted to the facility on [DATE] and was
                                      readmitted on [DATE]. Resident S5's [DIAGNOSES REDACTED].
                                     A review of Resident S5's Minimum Data Set (MOS-a standardized assessment and care planning tool) dated 2/14/19, indicated
                                      that Resident 55 was cognitively intact (the mental action or process of acquiring knowledge and understanding through
                                      thought, experience, and the senses) and required extensive· staff assistance with one-person assist from staff for bed


     FORM CMS-2567(02-99)                    · Event ID: YLIOI I                           Facility ID: 056489                         If continuation sheet
     Previous Versions Obsolclc                                                                                                        Page4 of5
Case 2:20-cv-05937-DSF-SK              Document 1 Filed 07/01/20 Page 61 of
     DEPARTMENT OF HEALTH AND HUMAN SERVICES                                116 Page ID #:61
                                                                         PRINTED:0S/18/2020
     CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                           FORM APPROVED
                                                                                                                                        0MB NO 0938-0391
     STATEMENTOF             (X 1) PROVIDER/ SUPPLIER (X2) MULTIPLE CONSTRUCTION                                                       ~) DATE SURVEY
     DEFICIENCIES            I CLIA                   A. BUILDING _ _                                                                  ..,OMPLETED
     AND PLAN OF             IDENNTIFICATION          B. WING _ _                                     02/25/2019
     CORRECTION              NUMBER
                             056489
     NAME OF PROVIDER OF SUPPLIER                                             TREET ADDRESS, CITY, STATE, ZIP
     HOLLYWOOD PREMIER HEALTHCARE CENTER                                                                     01 FOUNTAIN AVE.
                                                                                                           ~ OS ANGELES. CA 90029
     For information on the nursinl? home's plan to concct this dcficicncv. please contact the nursine. home or the state survcv ae.encv.
      (X4) ID PREFIX TAG              SUMMARY STATEMENT OF DEFICIENCIES (EACH DEFICIENCY MUST BE PRECEDED BY FULL REGULATORY
                                      OR LSC IDENTIFYING·INFORMATION)
       F0880                          (continued... from page 4)
                                       mobility, toilet use, personal hygiene and dressing.
       Level of harm - Minimal        A review of Resident SS's Care Plan, dated 10/12/18, indicated the resident bad [MEDICAL CONDITION). Proposed interventions
       harm or potential for actual    included to administer oxygen via a nasal cannula (NC-tubing which delivers oxygen into the nostrils) at three liters per
       harm                            minute IIS needed for shortness of breath.
                                      On 2/19/19, at 3:3S p.m., during an observation and concurrent intcrvie""., Resident SS was in resting in bed. Resident SS
       Residents Affected - Few        stated, she wanted to use her oxygen. Licensed Vocational Nurse 3 (LVN 3) assisted the resident. Resident 5S's oxygen
                                       tubing was observed with no label indicated who the tubing belonged to or when it was applied. LVN 3 verified that the
                                       oxygen tubinJVNC wen: not labeled with the resident's name or date. According to LVN 3, the N/C tubing should be labeled
                                       with the date 1t was fust used to ensure infection prevention.
                                      On 2/2S/19, at 9:30 a.m., during an interview, the DirectorofNursing (DON) stated, the oxygen administration tubing, mask
                                       or nasal cannula, and plastic bag was changed every week, every seven days on Sunday. When they get changed, the staff
                                       should labeled the oxygen tubing, NC, and the bag containing the tubing, with the resident's name, room number and date.

      F0911                        Ensure resident rooms hold no more than 4 residents; for new construction after November
                                    28, 2016. rooms bold no more than 2 residents.
      Level of harm - Potential    ••NOTE- TERMS IN BRACKETS HAVE BEEN EDITED TO PROTECT CONFIDENTIALITY••
      for minimal harm             B11Scd on observation, interview, and facility record review, the facility failed to ensure that one of3S resident rooms did not
                                   accommodate more than four residents.
      Residents Affected - Some    Findings:
                                   During a tour of the facility on 2/19/19, at 2:40 p.m., it was observed that room [ROOM NUMBER) bad five residents bed.
                                   A review of the facility client accommodation analysis fonn (a fonn that contains information about the residents' rooms in
                                    the facility) indicated that room [ROOM NUMBER] had five beds with one unoccupied bed, three beds occupied by three
                                    non-ambulatory residents, and one bed occupied by an ambulatory resident.
                                   The fonn also indicated that room [ROOM NUMBER] measures 420 square feet (sq ft) equivalent to a space of 84 sq ft for each
                                    bed.
                                   On 2/21/19, at 11 :30 a.m., during an interview and concurrent record review, the Administrator stated, he WIIS submitting a
                                    room waiver request for resident room (ROOM NUMBER), which had five resident beds. The room waiver request indicated that
                                    the residents needs arc accommodated and that there was no adverse effect to the health and safety and welfare of the
                                    residents occupying these rooms.
                                   During the course of the survey from 2/19/19 to 2/2S/19, it was observed that the residents in the facility had no
                                    difficult)' getting in and out of their rooms. The nursing staff had full access to provide treatment, administer
                                    medications, and assist residents to perform their individual routine activities of daily living.
                                   The Department was recommend the granting of the room waiver.




     FORM CMS-2S67(02-99)                    Event ID: YLIOI I                        Facility ID: 0S6489                      If continuation sheet
     Previous Versions Obsolete                                                                                                PageS ofS
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                    Exhibit 4
       Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 63 of 116 Page ID #:63
5/18/2020                                                      Court: LI nursing home firm violated anti-human trafficking laws I Newsday


LONG ISLAND/SUFFOLK
Court: LI nursing home firm violated anti-human trafficking laws
                                                                       Bent Philipson, a co-owner
                                                                      of SentosaCare, on Mar ch 23,
                                                                      2007. Credit: Photo by
                                                                       Howard Schnapp




By Yancey Roy
yancey.roy@newsday.com W @yanceyroy
Updated October 2, 2019 7:55 PM


A federal j udge has ruled that the owners of a Long Island-based nursing home company violat ed human t rafficking laws by using financial threats
t o coerce more than 200 overworked and underpaid Filipino nurses to stay on the job.


The nurses said they all were recruited to the United States to t ake jobs w ith or through SentosaCare, a nursing home company based i n
Woodmere, but weren't paid what they were promised and were t hreatened w ith substantial financial penalties if they quit.


Such conditions amounted to a "threat of serious financial harm• designed to keep anyone from quitting and, therefore, violated anti-trafficking
laws, Judge Nina Gershon of the federal Eastern District of New York ruled on Sept. 24. She determined the owners of Sent osa, Benjamin Landa
and Bent Philipson, can be held personally liable for violations of anti-trafficking laws.


An attorney for t he defendants said no nurses were threatened or compelled to work and said the ruling will be appealed.

For now, Gershon's decision sets t he groundwork for the nurses to pursue a class-action lawsuit. It also marks t he latest milestone in a story
running more than a decade and including an attempt by then-Suffolk County District Attorney Thomas Spota to charge the nurses with
endangering the welfare of children when they quit at two Smithtown facilities.


Eventually, a state court ruled the charges brought by Spota were unconstitutional because they violated the nurses' right to be free from slavery.


The case centers on SentosaCare as well as two other nursing and rehabilitation care companies, and two nurse-recruitment companies. The
facilities and firms were involved in recruiting nurses from the Philippines to t he United States.


The lawsuit at hand was filed in 2017 by nurse Rose Ann Paguirigan and on behalf of some 200 other nurses. But the tale of legal fights between
the nurses and companies goes back even further, as Gershon noted.

                                                                              From 2006 to 2008, Sentosa and the other companies fi led lawsuits against more
                                                                              than 30 Filipino nurses in attempt to force them t o pay a $25,000 damages penalty
    Get the Breaking News newsletter!                                         inserted in their contracts for quitt ing, according to Gershon.

    Get the latest breaking news as it happens.
                                                                              In the current legal action, it's the nurses who are suing. They alleged the companies
      Email address                                       Sign up             didn't pay them the correct prevailing wage. They also asked the court to declare t he
                                                                              damages penalty-unenforceable and, effectively, an illegal tool to keep the nurses
    By clicking Sign up. you agree to our P~YJl2lilif.•                       bound to their jobs.


                                                                              Besides SentosaCare, other defendants are Sentosa Nursing Recruitment Agency,
Prompt Nursing Employment Agency, Golden Gate Rehabilitation and Health Center in Staten Island and Spring Creek Nursing and
Rehabilitation Center in Brooklyn.


https://www. newsday. com/long-island/suffol k/sentosa-nursing-home-nu rses-1 .37091421                                                                            1/4
      Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 64 of 116 Page ID #:64
5/18/2020                                        Court: LI nursing home firm violated anti-human trafficking laws I Newsday

Paguirigan, according to court records, said in a deposition the penalty is the "reason we were not able to leave or were scared" while working in
what she called unsafe and understaffed conditions.


Gershon agreed with the nurses.


"Having viewed the records and considered the parties' arguments, I find on the undisputed facts that defendant Prompt Nursing violated t he
TVPA; Gershon wrote, referring to the federal Trafficking Victims Protection Act.


"The nurses in this lawsuit were all recent arrivals from the Philippines," Gershon continued. "They were not paid the prevailing wage and a base
salary, despite terms of their contracts ... Critically, if (Paguirigan) or any nurse wanted to stop working for the defendants during the first year of
the contract, he or she would have to pay $25,000" as a penalty called " liquidated damages provision.•


The judge concluded: · on these undisputed facts, it is apparent Prompt Nursing acted with knowledge and intent that the liquidated damages
provision would effectively coerce nurses into continuing work."


Going further, Gershon ruled Landa and Philipson and others violated "conspiracy provisions• of the anti-trafficking act and, therefore, are
personally liable.


The judges slated a Nov. 4 conference to address damages.


Elliot Hahn, one of the lawyers for the defendants, called the ruling disappointing. In an email, he said no nurses were threatened or "compelled to
work." And he said Gershon looked past "well settled law" in determining the nurses' prevailing wage claims.


"The court's decision may have far reaching unintended consequences throughout the industry, and affecting contracts of all sorts, and would
unduly burden both the employers and immigrant employees," Hahn wrote, in part. "Given this uncertainty, we anticipate that some employers
may rescind the job offers and decline to execute contracts with the immigrant employees even if the United States government would otherwise
grant a visa to the immigrant employees after they waited several years for the visa."


 His clients will appeal, Hahn said.


 An attorney for the nurses didn't immediately return messages to comment.



                                                                    By Yancey Roy
                                                      yancey.roy@newsday.com 'JI @yanceyroy




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Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 65 of 116 Page ID #:65
   Case 1:17-cv-01302-NG-JO Document 1 Filed 03/07/17 Page 1 of 26 PagelD #: 1




     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     ----- -------------X
     ROSE ANN PAGUIRIGAN, individually and
     on behalf of all others similarly situated,

                                    Plaintiff,                     CLASS ACTION
                                                                   COMPLAINT
                            -vs-
                                                                   Plaintiff Demands
     PROMPT NURSING EMPLOYMENT AGENCY                              A Jury Trial
     LLC d/b/a SENTOSA SERVICES,
     SENTOSACARE LLC, SENTOSA NURSING
     RECRUITMENT AGENCY, BENJAMINLANDA,
     BENT PHILIPSON, BERISH RUBENSTEIN a/k/a :
     BARRY RUBENSTEIN, FRANCIS LUYUN,
     GOLDEN GATE REHABILITATION & HEALTH :
     CARE CENTER LLC, and SPRING CREEK
     REHABILITATION AND NURSING CENTER,

                                    Defendants.
     -----------------X
            Plaintiff ROSE ANN PAGUIRIGAN, by her undersigned attorneys, on behalf of

     herself and all others similarly situated, as and for her complaint against the defendants,

     alleges as follows:

            1.      This is an action for damages, injunctive relief, declaratory relief, and

     other remedies for violations of the Trafficking Victims Protection Act (TVPA), 18

     U.S.C. § 1589 et seq., and for breach of contract under New York law.

            2.      Defendants are foreign labor recruiters and nursing home owners who

     have recruited more than 350 nurses in the Philippines to work for the defendants in this

     District under contracts of indentured servitude. Once the foreign nurses arrived in the

     United States, the defendants refused to pay the wages required by their employment

     contracts. To keep the foreign nurses from leaving, the defendants commenced and

     threatened to commence baseless civil litigation, professional disciplinary proceedings,

                                                   1
  Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 66 of 116 Page ID #:66




,;_....,_ Caution
As of: May 11, 2020 5:06 PM Z

                           Paguirigan v. Prompt Nursing Empl. Agency LLC
                        United States District Court for the Eastern District of New York
                                September 23, 2019, Decided; September 24, 2019, Filed
                                                17-cv-1302 (NG) (JO)


Reporter
2019 U.S. Dist. LEXIS 165587 *; 2019 WL 4647648

                                                            Case Summary
ROSE ANN PAGUIRIGAN, individually and on
behalf of all others similarly situated, Plaintiff, -
against- PROMPT NURSING EMPLOYMENT                          Overview
AGENCY LLC d/b/a/ SENTOSA SERVICES,                         HOLDINGS: [1 ]-Plaintiff nurse met the elements
SENTOSACARE LLC, SENTOSA NURSING                            for her breach of contract claim because she proved
RECRUITMENT AGENCY, BENJAMIN                                that a contract existed between her and defendant
LANDA, BENT PHILIPSON, BERISH                               nursing agency, that she performed under the
RUBENSTEIN a/k/a BARRY RUBENSTEIN,                          contract, that the nursing agency breached the
FRANCIS LUYUN, GOLDEN GATE                                  contract by failing to pay her the prevailing wage as
REHABILITATION & HEALTH CARE CENTER                         of her Commencement Date and by failing to pay
LLC, and SPRING CREEK REHABILITATION                        her a base salary, and that she was damaged; [2 ]-
AND NURSING CENTER, Defendants.                             The liquidated damages provision in the contract
                                                            was a penalty because it required plaintiff to submit
                                                            a confession of judgment, for an amount of $25,000
                                                            if she quit in her first year, that would be held by
Subsequent History: Appeal filed, 10/23/2019                defendants during her employment term, and could
                                                            be filed in the event that the nurse terminated her
Reconsideration denied by Paguirigan v. Prompt
                                                            contract early, thereby intending to operate as a
Nursing Empl. Agency LLC. 2020 U.S. Dist. LEXIS
                                                            means to compel performance, ensuring that the
4837 (E.D.N Y.. Jan. 9, 2020)
                                                            nurse and other nurses did not resign prior to the
Certificate of appealability denied Paguirigan v.           end of their contract terms.
Prompt Nursing Empl. Agency LLC. 2020 U.S.
Dist. LEXIS 4838 (E.D.N. Y.. Jan. 9. 2020)



                                                            Outcome
Prior History: Paguirigan v. Prompt Nursing
                                                            Summary judgment granted in part. Plaintiffs'
Empl. Agency LLC. 286 F Supp.· 3d 430. 2017 U.S.
                                                            requested declaratory and injunctive relief granted.
Dist. LEXIS 218523 (E.D.N.Y.. Dec.20.2017)
  Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 67 of 116 Page ID #:67




(;) Neutral
As of: May 11, 2020 5:05 PM Z


                           Paguirigan v. Prompt Nursing Empt. Agency LLC
                        United States District Court for the Eastern District of New York
                                January 9, 2020, Decided; January 9, 2020, Filed
                                             17-cv-1302 (NG) (JO)


Reporter
2020 U.S. Dist. LEXIS 4837 *; 2020 WL 122704
                                                         Francis Luyun, Golden Gate Rehabilitation and
                                                         Health Care Center, LLC, Spring Creek
ROSE ANN PAGUIRIGAN, individually and on
                                                         Rehabilitation and Nursing Center, Defendants:
behalf of all others similarly situated, Plaintiff, -
                                                         Elliot Hahn; LEAD ATTORNEY, Hahn
against - PROMPT NURSING EMPLOYMENT
                                                         Eisenberger PLLC, Brooklyn, NY; Sheldon
AGENCY LLC d/b/a/ SENTOSA SERVICES,
                                                         Eisenberger, LEAD ATTORNEY, Alan M.
SENTOSACARE LLC, SENTOSA NURSING
                                                         Pollack, Robinson Brog Leinwand Greene
RECRUITMENT AGENCY, BENJAMIN
                                                         Genovese & Gluck PC, New York, NY; Seth
LANDA, BENT PHILIPSON, BERISH
                                                         Eisenberger, Law Office of Seth Eisenberger,
RUBENSTEIN a/k/a BARRY RUBENSTEIN,
                                                         Brooklyn, NY.
FRANCIS LUYUN, GOLDEN GATE
REHABILITATION & HEALTH CARE CENTER
LLC, and SPRING CREEK REHABILITATION                  · For Mr. Benjamin Landa, Golden Gate
AND NURSING CENTER, Defendants.                         Rehabilitation and Health Care Center, LLC, Bent
                                                        Philipson, Spring Creek Rehabilitation and Nursing
                                                        Center, Prompt Nursing Employment Agency LLC,
                                                        Berish Rubenstein, Sentosacare, LLC, Francis
Prior History: Paguirigan v. Prompt Nursing             Luyun, Sentosa Nursing Recruitment Agency,
Empl. AgencvLLC. 2019 US. Dist. LEXIS 165587            Counter Claimants: Elliot Hahn, LEAD
(E.D.N Y., Sept. 23. 2019)                              ATTORNEY, Hahn Eisenberger PLLC, Brooklyn,
                                                        NY; Sheldon Eisenberger, LEAD ATTORNEY,
                                                        Alan M. [*2) Pollack, Robinson Brog Leinwand
                                                        Greene Genovese & Gluck PC, New York, NY;
Counsel: [*1] For Rose Paguirigan, individually         Seth Eisenberger, Law Office of Seth Eisenberger,
and on behalf of all others similarly situated,         Brooklyn, NY.
Plaintiff: Leandro Bolesa Lachica, Howley Law
Firm, New York, NY; John J.P. Howley, Law
Offices of John Howley, New York, NY.                   For Rose Paguirigan, individually and on behalf of
                                                        all others similarly situated, Counter Defendant:
                                                        Leandro Bolesa Lachica, Howley Law Firm, New
For Prompt Nursing Employment Agency LLC,               York, NY; John J.P. Howley, Law Offices of John
doing business as, Sentosa Services, Sentosacare,       Howley, New York, NY.
LLC, Sentosa Nursing Recruitment Agency, Mr.
Benjamin Landa, Bent Philipson, Berish
Rubenstein, also known as, Barry Rubenstein,
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                    Exhibit 5
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    6   Attorneys for Qui Tam Plaintiff
    7
                             UNITED STATES DISTRICT COURT
    8                       CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
    9

   10 UNITED STATES OF AMERICA                CASE NO. 13 cv 04273 - RGK (MRWx)
      AND STATE OF CALIFORNIA,
   11 ex rel Paul Chan,

   12         Plaintiffs,                     QUI TAM PLAINTIFF’S
   13
                                              CORRECTED THIRD AMENDED
        v.                                    COMPLAINT
   14
      PAMC, LTD.; and PACIFIC
   15 ALLIANCE MEDICAL CENTER,
      INC.,
   16
              Defendants
   17

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   20

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                                                         Corrected Third Amended Complaint
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    1         Qui Tam Plaintiff Paul Chan suing for himself and for the United States and
    2   the State of California, alleges as follows1:
    3                                   I. INTRODUCTION
    4         1.       For years, Defendant PAMC, Ltd. has brazenly violated the Stark
    5   Statute and the Anti-Kickback Statute by paying doctors as an inducement to refer
    6   patients to PAMC hospital. One referring doctor, who initially balked at a
    7   kickback offer which required that he admit 15 - 20 patients per month, stated:
    8   “There are Stark laws.” Shortly after the doctor also asked the PAMC’s Interim
    9   Vice President of Business Development if she would put the offer in writing, the
   10   Interim V.P. of Business Development retorted, “Fuck that. I’m not putting that
   11   in writing.”
   12         2.       PAMC, Ltd. is a fully integrated healthcare company with different
   13   lines of business including not only 1) PAMC hospital, but also 2) a managed care
   14   organization, 3) two Independent Practice Associations which contract with
   15   independent physicians to provide services to managed care, and 4) a 50%
   16   ownership in a health plan specifically for Medi-Cal (California's Medicaid)
   17   patients. In the operation of its PAMC hospital business segment, PAMC, Ltd.
   18   has knowingly engaged in a pervasive scheme to pay illegal
   19   compensation/remuneration to referring physicians in violation of the Stark
   20   Statute and the Anti-Kickback Statute, resulting in PAMC's submission of false
   21   claims to Medicare and Medi-Cal totaling more than $15 million per year for at
   22   least the past nine years, all of which is within the applicable statute of
   23

   24
              Pursuant to the decision of the Ninth Circuit Court of Appeals in Lacey v.
              1

   25 Maricopa County, 693 F.3d 896, 925-928 (2012), claims alleged in the First
   26 Amended Complaint that have been dismissed with prejudice and that are not
      realleged herein are not waived and are preserved for appeal. Those claims
   27 involve allegations as to the liability of Dr. Shin-Yin Wong; Dr. George Ma; Dr.

   28 Tit Li; Dr. Carl Moy; Dr. Thick Gong Chow and Dr. Stephen Kwan.

                                                   1          Corrected Third Amended Complaint
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     1   is determined in a manner that takes into account the volume or value of
     2   referrals from the referring physician/clinic each month (violating the Stark
     3   Statute), and is made with a purpose of inducing referrals (violating the Anti-
     4   Kickback Statute).
     5
               112. One example of a Vendor Marketing Agreement involved a PAMC
     6
         payment of $5,000 per month for one of its top referring Medicare doctors: Dr.
     7
         Marcel Filart. In return, Dr. Filart was supposed to admit 17 patients per month to
     8
         PAMC. In Dr. Filart’s situation, PAMC paid the monthly $5,000 to a person
     9
         named Samvel Kostandyna who, on information and belief, is Dr. Filart’s father
    10
         in law. From Relator Paul Chan’s discussions with Mr. Kostandyna and his
    11
         daughter, in which they explained to Mr. Chan that they did not know how to
    12
         prepare an invoice, it its believed that Mr. Kostandyna does not have any sort of
    13
         marketing business and has never done any marketing for Dr. Filart. On
    14
         information and belief, the supposed Vendor Marketing Agreement for Dr. Filart
    15
         is a complete sham and simply a way to funnel money to Dr. Filart in exchange
    16
         for his admissions to PAMC.
    17

    18         113. PAMC received many Medi-Cal and Medicare patient

    19   referrals/admissions from physicians with prohibited compensation arrangements

    20   via the above described Vendor Marketing Agreement programs. PAMC

    21   wrongfully billed government healthcare programs for its hospital services for

    22   these referred patients and received reimbursements. Qui Tam Relator Paul Chan

    23   does not have access to these billings, but he knows that PAMC diligently tracks

    24   these referrals/admissions, the related billings, and the resulting reimbursements.

    25         114. 5.) “Medical Directorships” to Induce the Recommendation and
    26   Referral of Medi-Cal and Medicare Patients. A fifth way in which PAMC
    27   compensates physicians based upon referrals to the hospital is by awarding
    28   medical directorships to its top referring physicians, based on a target number of
                                                  40         Corrected Third Amended Complaint
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     1   referrals/admissions to be made by the physicians. Two examples of this situation
     2   involve top referring physicians Dr. John Liu and Dr. Marcel Filart.
     3
               115. In addition to PAMC paying Dr. Liu $1,834 per month in a Sublease
     4
         Agreement and paying an additional $4,000 per month for a Shared Marketing
     5
         Agreement, PAMC compensated Dr. Liu by naming him, at various points in
     6
         time, Medical Director of Acute Rehab, Medical Director of Continuity of Care,
     7
         and Medical Director of PAMC’s mental health wing “1 West” because of his
     8
         high volume of referrals/admissions. Qui Tam Relator Paul Chan does not know
     9
         the dollar amount paid to Dr. Liu in these directorship positions.
    10

    11         116. As to Dr. Filart, Qui Tam Relator Paul Chan was told by Business

    12   Development Department management that he had “$10,000 to play with” so that

    13   he could offer Dr. Filart $10,000 per month in various payment arrangements.

    14   Mr. Chan never made any compensation offer to Dr. Filart. Mr. Chan did,

    15   however, witness PAMC Interim Vice President of Business Development

    16   Patricia Suarez tell Dr. Filart on June 5, 2013 that PAMC would name him

    17   Medical Director of Continuity of Care, but that the directorship position would

    18   require him to provide 15 - 20 referrals/admissions to PAMC each month. Dr.

    19   Filart responded by saying “There are Stark laws.” Dr. Filart also asked if Ms.

    20   Suarez would put the offer in writing. When Ms. Suarez and Mr. Chan returned

    21   to the PAMC offices, Ms. Suarez said “Fuck that. I’m not putting that in

    22   writing.” Dr. Filart later accepted the Medical Directorship position which, on

    23   information and belief, paid him $6,000 per month.

    24         117. PAMC received many Medicare and Medi-Cal patient
    25   referrals/admissions from physicians with prohibited compensation arrangements
    26   and illegal remuneration arrangments via medical directorships whose
    27   compensation was made with a purpose to induce referrals, and was determined
    28   in a manner that takes into account the volume or value of referrals. PAMC
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     1        6/9/2010 “Delv sublease ck to Faragalla. He said he is having health fair in
              two wkds wants Martha R to call him re details. Also talked to him about
     2
              admissions… told him he only had couple in May and really need his
     3        support right now.”
     4        7/13/2010 “Met with MD to discuss sublease, and volume @ Aghapy. Told
     5        him we are terminating Sublease. And that numbers at Aghapy need
              improvement or else we may have to terminate that contract too. He
     6        suggested we meet Mon morning at his office. Will run it by M. Rivera and
              invite M Roman to attend.”
     7

     8        7/27/2010 “Dropped off sublease… he had another pt this week for Med
              Surge… he wants to re-instate sublease… he says he will send us pts. He
     9        has send 3 pts since the letter. Also, spoke to him about OB volume. He
    10        asked about the retention person… he is open to any changes.”
              8/8/2010 “He sent another admission to us this week… per M. Rivera if he
    11        continued the trend of sending us pts weekly (which he has… I will track
    12
              number and submit to RZ) we would cancel the cancellation letter. I need
              an update on this strategy.”
    13
              8/25/2010 “Dr. Faragalla sent another admission this week… any chance
    14        we will be able to reinstate the sublease? Even if it is at a reduced rate?”
    15
              10/28/2010 “Met with Faragalla re admissions… he said he will try to send
    16        more patients but wants to know if we will restart the sublease? I told him
    17
              (per BEF last msg) if he admits 5+ consistently for 2-3 months we would
              do new sublease. He also mentioned some concerns re Sylvia in HP.”
    18
              Dr. Marcel Filart
    19        5/3/2010 “Visited and met with Dr. He knows my goal for him is 20… Also
    20        discussed with him the two candidates for Phys Guarantee. Presented him
              with the Cvs. MY helping me set up interview.”
    21

    22
              5/6/2010 “Spk w Md re interview next week with new provider and
              admissions.”
    23
              7/27/2010 “Met with MD Fri, took KP and JM to his office. All is ok.. He
    24
              mentioned some frustation with EHS… but he is handling it himself. All is
    25        ok… text him this morning re admissions. His mtg is about 12… we need 5
              from him this week.”
    26

    27        11/5/2010 “Meeting with BEF and Filart went well. He recommitted to 20
              admits per month. We will ride the wave until Yan and Filart settle their
    28        agreement.”

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     1        5/20/2010 “RTHL classes in questions for month of June. Await Martha
              and PS assessment.”
     2

     3        5/26/2010 “Spoke with Dr. Sevilla… he wants to do an event… I will press
              for 5 admissions… see what I can do. Not promising anything to him
     4        though.”
     5
              7/7/2010 “Sevilla called. Spk to him briefly about admits/RTHL events.
     6        Same as last month. We need to see at least 5 admits per month to do
              RTHL events moving forward.”
     7

     8        Dr. Cesar Velez
              5/6/2010 “Delv contract, thank them for the admissions mtd”
     9

    10        5/19/2010 “Per M. Rivera leave Med Staff issues alone… continue to
              encourage Admissions… will let the dust settle for now…. I will remind
    11        Velez that we have sublease and need his support.”
    12
              6/1/2010 “Dropped off sublease check. Velez said all is fine. He reached
    13        his goal for the month of May.”
    14        12/7/2010 “Delivered sublease check. Second sublease is pending, he asked
    15        me about it. Velez continues to support us with admits.”

    16        Dr. Yan
    17
              11/11/2010 “GR stopped by to drop off phys order forms, transportation
              and important numbers for the hospital. Briefly inserviced his staff. Met
    18        with Freddie and told him black and white that we need to double our
              efforts since we are doubling resources. He knows Filart was only sending
    19        us about 15 pts… so I told him we need 30… I think we will see for sure 25
    20        pts per month. The rest of the month we may see a peek since Filart will be
              out of town and Yan will be handling everything. Freddie said they will
    21        send everything to us. Freddie also said that the deal is going through and
    22
              that it benefits Filart to do this.”

    23        2/15/2011 “Dropped off Jan check. Also we discussed the deal w Filart,
              SNF assignments, and admisisons volume. Also set the meeting with JE,
    24
              BEF and Yan.”
    25

    26        Piper Allen (Physician Integration Manager) Access call notes.
    27        Dr. Jeremiah Aguolu
              4/28/2010 “Dropped off flyers, Dr. happy with production, will have staff
    28        start using and also passing out to patients. Discussed patient admissions

                                               53         Corrected Third Amended Complaint
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     1   the full details of these arrangements, referrals/admissions, patient information
     2   and each related Medicare and Medi-Cal claim submitted and the corresponding
     3   Medicare, Medi-Cal and DSH reimbursements. The list and information to which
     4   Mr. Chan had access in his normal job function is as follows:
     5

     6
                                      Compensation
     7    Physician/Clinic            Arrangement                 PAMC’s Payment

     8    Dr. Ali Abaian              Marketing Agreement         $4,000/month

     9    Dr. Peyman Banooni          Sublease Agreement          $2,253/month
                                                                  (PAMC cut Dr. Banooni’s
    10                                                            sublease amount because
    11                                                            of his low admissions)

    12
          Dr. Rufino Cadano           Sublease Agreement          $2,610/month
                                                                  (even though Dr. Cadano
    13                                                            never hosted any event)
    14    Dr. Lulu Chen               Sublease Agreement          $1,913/month
                                      Marketing Agreement         $3,000/month
    15
          Dr. Paul Chu                Sublease Agreement          $2,501/month
    16
          Dr. S. Paul Daniels (Health Sublease Agreement          $2,240/month
    17    & Wellness MedicalClinic)
    18    Dr. Maged Faragalla         Marketing Agreement         $5,000/month
    19    Dr. Marcel Filart           Marketing Agreement         $5,000/month
                                      Medical Directorship        $6,000/month
    20
          Dr. Byron Flores            Sublease Agreement          $2,225/month
    21
          Dr. Cadrin Gill             Sublease Agreement          $3,401/month
    22
                                                                  (after more than five years,
    23                                                            PAMC cancelled the
                                                                  sublease because of Dr.
    24                                                            Gill’s low admissions)
    25    Dr. Enriqui Gonzalez        Marketing Agreement         $2,500/month
                                                                  (PAMC cut Dr. Gonzalez’s
    26                                                            Marketing Agreement
                                                                  amount in April 2013
    27                                                            because of his low
                                                                  admissions)
    28

                                                  57         Corrected Third Amended Complaint
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     1             134. Excerpt of Preliminary Provider Report, Year 2007:
     2                                      PRELIMINARY PROVIDER REPORT

     3

     4
                             r onlhly$ r•arly$    I ~I I I
                                                  ~     Annual Activity

                                                       2006
                                                                            I Monthly Activity Avg. I
                                                                                2006
                                                                                           I
                                                                                                2007        Rank
                                                                                                                      r r·-
                                                                                                                      Admit       ROI

                                                                                                                              n
                                                              iAnnualized

     5   Liu SM $4K &        i$5,834       j $70,008 ~ 1              80    i       21     i           7 • Combined j $875
          ublease $1834                                                                                     below
         (incl. wound &
     6
           ed/surg)
     7   Chen                j $1 ,956     j $23,472~ .             195                6           16                 $120

     8
         Axis Medical Group                           n:rr-1          92            12                 8       Slug    $0


                                                  Ir-rcIT""II
         (incl. wound &
         med/surg)
     9
         Daniels (incl.          $2,240     $26,880                 148                8           12       Winner    $182    Winner
    10

    11
           und &
          ed/surg)
         I Ngo                   $1 ,580
                                                  I I
                                            $18,9641
                                                      ~
                                                         64 I         88               5               7       Slug   $216    Winner
                                                      ~
         1Velez 2 clinics        $2,814     $33,7681 134 I          132             11             11       Grinner   $256    Winner
    12   f Liu/ Chen             $7,790
                                                      ~
                                            $93,4801 316 I          275             27             23       Winner    $340    Grinner
                                                      ~
         1Flores                 $2,225     $26,7001     68 I         78               6               7       Slug   $342    Grinner
    13
          Filart (using 10       $5,000     $60,ooor--TI            140                0           14       Winner    $429      Slug
    14   _ onths for avg)    j                    I           I
         Gill (incl. wound j $3,481         $41 ,112r:rs-I            97               4               8       Slug   $431      Slug
    15   & med/surg)         I                    I           I
         Sevilla (SM &       i$2,946        $35,352 ~         I       57               6               5       Slug   $620    Sinner
    16    ublease)

    17
         (incl. wound &
           ed/sur            I                    I I
    18
          Rank / Activity                   Rank / $ per Admit
    19
         Winners:         ~ 12              Winners: ~300
    20
          Grinners: 9-11                    Grinners: $301 -
    21
                                            $400
    22    Slugs: 6-8                        Slugs: $401 - $450

    23    Sinners: ~5                       Sinners: ~$451

    24
         Ill
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    26   Ill
    27

    28
                                                                      64                       Corrected Third Amended Complaint
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Case 2:20-cv-05937-DSF-SK Document 1 114-1
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     1       135. “Medical Surgical Accounts” report, copied below, and plainly
     2 showing how it is PAMC’s obvious wide-spread business model to pay referring
       physicians for referrals as follows:
     3
         MEDICAL SURGICAL ACCOUNTS
     4   Winners
     5   Dr. Daniels:         A Winner all the way around. Cooperative and loyal to PAMC.
         12/182*              Terrific volume and ROI.
     6                        Volume is terrific, but current ROI is at Slug level. However,
         Dr. Filart:          volume is expected to increase significantly, ranking him as a
         14/429*              Winner.
     7
                              Using only direct admit numbers for evaluation. Winners with
     8                        respect to volume, but ROI places them at Grinner level;
         Drs. Liu & Chen      however UR issues impact negatively on overall performance.
     9
         23/340*              Nevertheless, consider them Winners when loyalty to PAMC is
                              included in the equation.
    10

    11       Grinners
    12   Dr. Flores:          His volume is at Slug level, but his ROI is at Grinner level. He
         7/342*               maintains consistent performance in spite of severe practice
    13                        challenges. Consider him a Grinner when all is considered.
                              Using only direct admit numbers for evaluation. Volume is at
    14   Dr. Ngo:             Slug level, but ROI is at Winner level. Annualized 2007 volume
         7/342*               shows an increase from 2006 and April was a great month for him
    15                        with 10 direct admits. Consider him a Grinner.
         Dr. Velez:           At present, volume is at Grinner level, but his ROI is at Winner
    16   11/256*              level. A Grinner heading for Winner.
             Slugs
    17   Axis Medical Group: Volume has decreased relative to 2006 in spite of HBO activity.
         8*
    18                       A Slug at present both in volume and ROI. Although volume
                             has been erratic, his 2007 projections are double 2006 activity.
    19                       However, March was a terrific month, at 15 admits, with Dr. Liu
    20
         Dr. Gill:           diligently following convalescent home patients. Sustained
         8/431*              support of Dr. Liu following Dr. Gill’s convalescent home
    21                       patients should see volumes sustained at March levels (15).
                             Recommend two months to determine if contract amendment
    22                       is indicated.
             Sinners
    23   I                    Volume is low. Relationship needs strengthening if account is to
         Dr. Sevilla          thrive. Inclined amend the contract, but before taking that step
    24                        will discuss situation with physician. Splitting with White?
                              Practice issues?
    25

    26        * Average Admit per Month / Business Development Cost per Admit (See attached
                for detail)
    27   I
         (emphasis added )
    28
                                                   65         Corrected Third Amended Complaint
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                    Exhibit 6
Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 81 of 116 Page ID #:81




                             COUNTY OF ·LOS ANGELES
                                  3052020075725
                                                                       DEPARTMENT OF PUBLIC HEALTH



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Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 82 of 116 Page ID #:82




                         EXHIBIT 2
                     Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 83 of 116 Page ID #:83


Electronically FILED by Superior Court of California, County of Los Angeles on 06/08/2020 01:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk

                      loorney of Pony n ohou( Anorney.                                                                                                 For Caur( Ose Drrly
                      ANNE MARIE MURPHY ESQ., Bar //202540
                    ! COTCHETT, PITRE 6'6 MCCARTHY

                      840 MALCOLM ROAD, STE. 200
                      BURLINGAME, CA 94010
                     Telephone IVOI 650-697-6000 FAXNo( 650-697-0577
                                                                                                 Ref. No.   or File Nos
                    Airorneyfor(   Plaintiff                                                      HPHC I/2961
                    lnserr rranre of Corrri, and Judicial Dis(ri cr and Bronclr Cours
                     LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
                            EMMA MARTIN, ELIZABETH GAGLIANO; ET AL
                    p(arnoffr
                    Defendono SERRANO POST ACUTE LLC; ET AL
                            PROOF OF SERVICE                               NcarirrsDa(e.                    Tinre(         DepVDrv(        Case IVirmher(
                                    SUMMONS                                                                                                 20STCV19545
                    l. A( the ((me of service / was a( less/ 18 years of age and noi a parry ro this action.

                 2,    Iserved copies of the SUMMONS AND COMPLAINT; CIVIL CASE COVER SHEET,'OTICE OF CASE ASSIGNMENT; ADR
                       INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY PROCEDURES AT THE
                       SPRING STREET COURTHOUSE

                 5. a.     Party served:                                                SERRANO POST ACUTE LLC D/B/A HOLLYWOOD PREMIER
                                                                                        HEALTHCARE CENTER, A/K/A SERRANO HEALTHCARE, A/K/A SERRANO
                                                                                        NORTH CONVALESCENT HOSPITAL BY SERVING: ANTHONY DIMONT,
                                                                                        AGENT FOR SERVICE
                      b.   Person served:                                               party in item 5.b

                4.    Address where (/re party was served:                              5401 FOUNTAIN AVENUE
                                                                                        LOS ANGELES, CA 90029
                5.    /served ihe party:
                      b. bysubstituted service. On: Wed., May. 27, 2020 at: I:59PM I left the documents listed in                      item 2 with or in the presence of:
                                                                            JUHN CAYAB YAH, ADMINISTRATOR
                        (I) (Business) Person in charge over 18. I informed him or her of the general nature of the papers.
                        (4) A declaration of mailing is attached.
                        (5) I attach a declaration of diligence stating actions taken first to attempt personal service.
                6. The     "Notice (o the Person Served" (on lhe Sunnrions) was coinple(ed as follows:
                       as the person sued under the jicriiious name of:              Hollywood Premier Healthcare Center, A/k/0 Serrano Healthcare,
                       on behalf of:                                                 A/k/a Serrano North Convalescent Hospital
                       O(her(        SERRANO POST ACUTE LLC
                                CAL. CORP. CODE 17061

               7.     Person II7(o Served Papers:                                                                          Recavereblc Cast Per CCP (033.$ (e)is)in)
                       a. BUD A KOOGLE                                                              d.   The Fee for Serv(cc was(
                       b. A Sc A LEGAL SERVICE, Inc.                                                e.   I am('(3) registered California process server
                          880 MITTEN ROAD, SUITE 102
                         BURLINGAME, CA 94010                                                                        ((jiReglsira(ion Nm(           2018298656
                      c. (650) 697-9431, FAX (650) 697-4640                                                          (iii) Counry(                  Los Angeles




              g. 1 declnre       under penalty ofperjury uirder (lie laws of tlie S(a(e of Cnlifornla that(he
                     Dale: hfou, fuu. 01, 2020

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               Rule I.)4.(e)6I(b)     Lv January t, 3007                                                                                                           ammur. (236/3
              Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 84 of 116 Page ID #:84



              Anorney or Par(y (rilhonl Attorney(                                                                                    For Coun Use Or(ly
               ANNE MARIE MURPHY ESQ,, Bar ¹202540
               COTCHETT, PITRE & MCCARTHY
               840 MALCOLM ROAD, STE. 200
               BURLINGAME, CA 94010

              Telephone No(   650-697" 6000              FAY; Na   650-697-0577
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          l LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
         'ta(nnff; EMMA MARTIN, ELIZABETH GAGLIANO; ET AL
           Defendanr. SERRANO POST ACUTE LLC; ET AL
          DECLARATION OF                                           iBear(ne Da(e:              T(me(         Dep((Div.     Case Nun(her(
          REASONABLE DILIGENCE                                                                                              20STCV19545


          l. I, BUD A KOOGLE, and any employee or independent contractors retained by A Bc A LEGAL SERVICE, Inc. are and were on
             the dates mentioned herein over the age of eighteen years and not a party to this action, Personal service was attempted on
             Defendant SERRANO POST ACUTE LLC D/B/A HOLLYWOOD PREMIER HEALTHCARE CENTER, A/K/A SERRANO
             HEALTHCARE, A/K/A SERRANO NORTH CONVALESCENT HOSPITAL BY SERVING: ANTHONY DIMONT, AGENT
             FOR SERVICE as follows:

         2.     Docuinentsi        SUMMONS AND COMPLAINT; CIVIL CASE COVER SHEET; NOTICE OF CASE ASSIGNMENT; ADR
                                   INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY
                                   PROCEDURES AT THE SPRING STREET COURTHOUSE.

     I    Dav         Date             Time         I   Location           Results
          Wed         05/27/20         I:00pm           Business         SPOKE TO THE MAILROOM CLERK AST CLARK HILL WHO TOLD ME
                                                                         THAT THEY CANNOT ACCEPT SERVICE BECAUSE THE ATTORNEYS
                                                                         AND ACCOUNTANTS ARE NOT HERE TO CONFIRM THAT THEY
                                                                         REPRESENT. Attempt made by: BUD A KOOGLE, Attempt at; 1055 WEST
                                                                         SEVENTH STREET, STE. 2400 LOS ANGELES, CA 90017.

          Wed        05/27/20          I:45pm           Business         SPOKE TO AN EMPLOYEE AT POLAZZO POST ACUTE NURSING HOME
                                                                         WHO TOLD ME THAT THE COMPANY I AM LOOKING FOR IS ACROSS
                                                                         THE STREET, THEY HA VE NO AFFILIATION. Attempt made by: BUD A
                                                                         KOOGLE, Attempt at: 5400 FOUNTAIN AVENUE LOS ANGELES, CA 90029,




3.             Person Execu(/ng                                                                      Recoverable Costs Per CCP 1033.5(e)(4)(B)
              a. BUD A KOOGLE                                                                   d. The Fee for service was(
              b. A & A LEGAL SERVICE, Inc.                                                      e. /ami     (3) registered California process server
                 880 MITTEN ROAD, SUITE 102
                 BURLINGAME, CA 94010                                                                      (i tj Registration No.i         2018298656
              c, (650) 697-9431, FAX (650) 697-4640                                                        (i/iJ County:                   Los Angeles


4.        l rleclare under penolty ofperjury under (he laws of the Slate of California that lheforeg/fjtsgis true and correct.
               Date: Mon, lun. 01, 2020

                                                                                                            ~t(ITCI6OOGLE)
                                                                                                                                                   6976000.123613
                                                          DECLARATION OF REASONABLE DILIGENCE
           Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 85 of 116 Page ID #:85

 duorney or Parry wultont tt ttorney.                                                                                             For Court Use Only
  ANNE MARIE MURPHY ESQ., Bar i/202540
  COTCHETT, PITRE & MCCARTHY
  840 MALCOLM ROAD, STE. 200
  BURLINGAME, CA 94010
 Telephone iVot 650-697-6000 Fdgtvo 650-697-0577
                                                                            Ref uo or File tyo t
 stttorney far: Plaintiff                                                       HPHC //2961
 /nseri naine of Court, and Judicial District and Braiich Court.
  LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
 Plamtifft EMMA MARTIN, ELIZABETH GAGLIANO; ET AL
 Defendant'ERRANO POST ACUTE LLC; ET AL
            PROOF OF SERVICE                             Heartttg Daie                                  Dept/Divt       Case thmiher
                 By Mail                                                                                                  20STCV19545
 l.   I   am over the age of 18 and not a party to this action. I am employed in the county where the mailing occurred.

2.    I served copies of the SUMMONS AND COMPLAINT; CIVIL CASE COVER SHEET; NOTICE OF CASE ASSIGNMENT;
      ADR INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY PROCEDURES AT
      THE SPRING STREET COURTHOUSE

3. By placing a true copy of each document in the United States mail, in a sealed envelope by First Class mail with postage prepaid
   as follows;

      a. Date of Mailing:                                          Fri,, May. 29, 2020
      b. Place of Mailing:                                         BURLINGAME, CA 94010
      c. Addressed as follows:                                     SERRANO POST ACUTE LLC D/B/A HOLLYWOOD PREMIER
                                                                   HEALTHCARE CENTER, A/K/A SERRANO HEALTHCARE, A/K/A SERRANO
                                                                   NORTH CONVALESCENT HOSPITAL BY SERVING: ANTHONY DIMONT,
                                                                   AGENT FOR SERVICE
                                                                   5401 FOUNTAIN AVENUE
                                                                   LOS ANGELES, CA 90029

4.    Iam readily familiar with the business practice for collection and processing of correspondence as deposited with the U.S. Postal
      Service on Fri., May. 29, 2020 in the ordinary course of business.

5.    Person Se&vingt                                                                                         Recoverable Cost Per CCP 1033 5(a)(4)(B)
          a. LIANA M. SOLOMON                                                       d.      Ttte Fee for Service wast
      b, A & A LEGAL SERVICE, Inc.                                                  e.      I am: Exempt from registration under B&P 22350(b)
         880 MITTEN ROAD, SLIITE 102
         BURLINGAME, CA 94010
      c. (650) 697-9431, FAX (650) 697-4640




8.    I declare under penalty ofpejrury under the taws of theSta
      Date: Mon, Jun. Ol, 2()20

    Judicial Council Form POS-010                                        PROD
Rule 2,(50.(a)ta(b) Rev January 1, 2007                                         By islail
                   Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 86 of 116 Page ID #:86


Electronically FILED by Superior Court of California, County of Los Angeles on 06/08/2020 01:49 PM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk


                      )Anorney or Parry a'st(sour Arrorneyr                                                                                               For Corrrr Use Only
                        ANNE MARIE MURPHY ESQ., Bar ¹202540
                        COTCHETT, PITRE Jb MCCARTHY
                        840 MALCOLM ROAD, STE. 200
                        BURLINGAME, CA 94010
                       Teieplrone Stot 650-697-6000 FAX No: 650-697-0577
                                                                                                Ref. rya   or File
                                                                                                            No..'PHC
                      Arrorneyfori   Plaintiff                                                               ¹2961
                      sneer( nome of Corrrr, and Jvdi erat Disrrrci and Brancir Covrc
                       LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
                              EMMA MARTIN, ELIZABETH GAGLIANO; ET AL
                      ptoinrtffr
                      Defendants SERRANO POST ACUTE LLC; ET AL
                                PROOF OF SERVICE                           Hear(ng Daie:                   Times             DeprtDrv:          Case Nnnrberr
                                  SUMMONS                                                                                                   ,    20STCV19545                           !
                   l. At the tinre ofservice I was at least l8yems of age and not o party to this action.

                  2. I served copiesof the SUMMONS AND COMPLAINT; CIVIL CASE COVER SHEET; NOTICE OF CASE ASSIGNMENT; ADR
                         INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY PROCEDURES AT THE
                         SPRING STREET COURTHOUSE

                  3. a.
                     h.     Person   served.'ARCEL
                            Party served:                                                           ADMAN SOLERO FILART, M.D., AN INDIVIDUAL
                                                                                        party in item 5.b

                  6 Address where the party wos served:                                 1711 W. TEMPLE STREET, STE, 1070
                                                                                        LOS ANGELES, CA 90026
                  5,    ( served the party:
                        b. by   substituted service. On; Fri., May. 29, 2020 at; ! I:39AM I left the documents listed    in item 2 with or in the presence of:
                                                                              ALEX PECZON, SUPPORT STAFF, Hispanic, Male, 45 Years Old, Black
                                                                              Hair, 5 Feet 5 Inches, 190 Pounds
                          (1) (Business) Person in charge over 18. I informed him or her of the general nature of the papers.
                          (4) A declaration of mailing is attached.
                          (5) I attach a declaration of diligence stating actions taken first to attempt personal service.
                 6. Tire '7(rotlce to     the Person Served" (on the Summons) wos completed as follower
                       a. as an individual defendant

                 7.    Person If7ro Served Papers:                                                                            Recoverable Cost Per CCP I033.5(e)(4)(8)
                        a. BUD A KOOGLE                                                              d.    Tire Fee for Service wos:
                        b. A gc A LEGAL SERVICE, inc.                                                e.    I am: (3) registered California process server
                           880 MITTEN ROAD, SUITE 102                                                                  (i)   Owner
                           BURLINGAME, CA 94010                                                                        (ii) Registration No.s
                        c. (650) 697-9431, FAX (650) 697-4640                                                          (iii) Coimlys




               8. 7 declare        under penalty ofpe)rory under tire laws of tlie State of California tlsal lhe foregoing is true and correcs
                      Dates 0'ed, fuin 03, 1020

                    J die el C unca Form FOS.010
                Rule I.tgil.(a)Z(b) Rev January l, 2007
                                                                                           PROm OF   Qf tCE s                             ilsuil n stUVI Lal
                                                                                                                                                                      arnnrnr 7236/5
          Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 87 of 116 Page ID #:87



                                         A»osprey(
          Attarney or Party u (((tart(                                                                                                            For Caar( Use Only
              ANNE MARIE MURPHY ESQu Bar ¹202540
              COTCHETT, PITRE & MCCARTHY
              840 MALCOLM ROAD, STE. 200
              BURLINGAME, CA 94010

          releplmne   No'.   650-697-6000                 FAN( (Vot   650-697-0577
                                                                                       I»ef. No or File    Na(
         ! A»oracy for: Plaintiff                                          HIHC¹2961   I

          Insert natne of Co sr (, and Judicial District and Branch Corrrc
                              (


           LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
         IP(a(tt((ff, EMMA MARTIN, ELIZABETH GAGLIANO; ET AL
          Defendant: SERRANO POST ACUTE LLC; ET AL
         DECLARATION OF
                                    Date.'EASONABLE
                                                                      Heanng                          rittte   'epu'Dite             Case Plumber:
                    DILIGENCE                                                                     !
                                                                                                                                      20STCV19545


         1.    I, PAUL R. GARCJA, and any employee or independent contractors retained by A Bc A LEGAL SERVICE, Inc. are and were on
               the dates mentioned herein over the age of el+teen years and not a party to this action. Personal service was attempted on
               Defendant MARCEL ADRIAN SOLERO FILART, M.D., AN INDIVIDUAL as follows;

     2,        Doc»mental         SUMMONS AND COMPLAINT; CIVIL CASE COVER SHEET; NOTICE OF CASE ASSIGNMENT; ADR
                                  INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY
                                  PROCEDURES AT THE SPRING STREET COURTHOUSE.

     I    Dav       Date                 Time        I    Location          Results
          Wed       05/27/20             I:30pm          Business          PER ASSISTANT, SUBJECT NOT IN. Attempt made by: PAUL R. GARCIA.
                                                                           Attempt at. 1711 W. TEMPLE STREET, STE. 1070 LOS ANGELES, CA 90026.

         Wed       05/27/20          2:00pm              Home              UNABLE TO GAIN ACCESS, GATED PROPERTY, Attempt made by: PAUL R.
                                                                           GARCIA, Registration ¹2012070781 Los Angeles County. Attempt at: 1151 E.
                                                                           ELMWOOD AVENUE Burbank, CA 91501.

         Thu       05/28/20         11:00am              Business          PER ASSISTANT, SUBJECT NOT IN. Attempt made by; PAUL R. GARCIA.
                                                                           Attempt at; 1711 W. TEMPLE STREET, STE. 1070 LOS ANGELES, CA 90026,




                                                                                                                                 California



3,            Person Executing                                                                            Rccovereblc Costs Per CCP 1033.5(e)14)(B)
              a. PAUL R. GARCIA                                                                       d. The Fee for service was(
              b. A & A LEGAL SERVICE, Inc.                                                            e.   I aml   (3) registered          process server
                 880 MITTEN ROAD, SUITE 102                                                                        (i)   Independent Contractor
                BURLINGAME, CA 94010                                                                               (it) Regisiraiion No.(      2012070781
              c. (650) 697-9431, FAX (650) 697-4640                                                                (it() County(               Los Angeles


4.       I declare under penally ofperjury under li(claws of(he State oj California tlrat tl(efo                            n   's   (rue   'd correct
              Date: Wed, Jun. 03, 2020

                                                                                                                       (PA U~iG ABC         )A)
                                                                                                                                                                6976OOO.I236is
                                                           DECLARATION OF REASONABLE DILIGENCE
           Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 88 of 116 Page ID #:88
 Anorney ar Party wuhou(
             iluoniey'NNE                                                                                                               For Cou(t Use Only
            MARIE MURPHY ESQ., Bar ¹202540
  COTCI-IETT, PITRE & MCCARTHY
  840 MALCOLM ROAD, STE. 700
  BURLINGAME, CA 94010
 Telephoiie iyo'50-697-6000     FAF(vo 650-697-0577
                                                                                Ref. iyo   ar File no,.
 Auorney for: Plaintiff                                                          HPHC ¹2961
 (neer( nanie of Cour(, and Judicial D(sirici and Branch Coiirc
  LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
         EMMA MARTIN, ELIZABETH GAGLIANO; ET AL
 Plum(iff.
 Defendan( SERRANO POST ACUTE LLC; ET AL
            PROOF OF SERVICE                            (rearms Date.                                     Dep(i'Div        Case (Vu(aber:
                 By Mail                                                                                                     20STCV19545

 l.   I   ant over the age of 18 and not a party to this action.        I   am employed in the county where the mailing occurred.

2. I served copies ofthe SUMMONS AND COMPLAINT; CIVIL CASE COVER SHEET; NOTICE OF CASE ASSIGNMENT;
   ADR INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY PROCEDURES AT
      THE SPRING STREET COURTHOUSE

3. By placing a true copy        of each document in the United States mail,               in a sealed envelope by    First Class mail with postage prepaid
   as follows:

      a. Date of Mailing:                                         Fri., May. 29, 2020
      b. Place of Mailing:                                        BURLINGAME, CA 94010
      c. Addressed as follows:                                    MARCEL ADRIAN SOLERO FILART, M.D., AN INDIVIDUAL
                                                                  1711 W. TEMPLE STREET, STE. 1070
                                                                  LOS ANGELES, CA 90026

4.    Iam readily familiar with the business practice for collection and processing of correspondence as deposited with the U.S. Postal
      Service on Fri., May. 29, 2020 in the ordinary course of business.

5.    Person Serving:                                                                                            Recoverable Cost Per CCP 1033 6(a)(4)(B)
       a. LIANA M. SOLOMON                                                           d.      The Fee jcr Service wosi
      b. A & A LEGAL SERVICE, Inc.                                                   e.      I am: Exempt from registration under B&P 22350(b)
         880 MITTEN ROAD, SUITE 102
         BURLINGAME, CA 94010
      c. (650) 697-9431, FAX (650) 697-4640




8.    I declare under penally of     perjury under the laws       of the Stat
      Date: IFed, Jun. 03, 2020

    Judicial Council Form POS-010                                       PROOF OF SFRV(CE                               (LIA(uA   lvL   oULUnIU(n)
Rule 2.150.(a)k(b) Rev January 1, 2007                                       By htait                                                                 sin(cur. l236(6
Electronically FILED by Superior Court of California, County of Los Angeles on 06/10/2020 02:06 PM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Bolden,Deputy Clerk
                         Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 89 of 116 Page ID #:89


                  Anoiocy or Party ivithout Aaorucyt                                                                                                        Foi Court Utc Duty
                   ANNE MARIE MURPHY ESQ., Bar l)202540
                   COTCHETT, PITRE 86 MCCARTHY
                   840 MALCOLM ROAD, STE. 200
                   BURLINGAME, CA 94010
                  Telephone Hot 650-697-6000  F Ur Hot 650-697-0577
                                                                                                Ref. Ho.   or File Ho
                  Anorceyfort   Plaintiff                                                        HPHC 0296)
                  insert «otue of Couri, ond Jiidiciol District cod Broucli Coiirtt
                  LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
                         EMMA MARTIN, ELIZABETH GAGLIANO; ET AL
                 Pioiotifft
                 Dcfeudontt SERRANO POST ACUTE LLC; ET AL
                           PROOF OF SERVICE                              Hearing Dale:                     Tithe              DeptiDivt          Case iuuinbcrt
                                  SUMMONS                                                                                                    i    20STCV)9545
                 I. At the tinte ofservice I was at least 1 8 years           of age and noi a parry io this action.

             2.      Iserved copies of the SUMMONS AND COMPLAINT; CIVIL CASE COVER SHEET; NOTICE OF CASE ASSIGNMENT; ADR
                     INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY PROCEDURES AT THE
                     SPRING STREET COURTHOUSE

             3.     a Party servedt                                                   BENJAMIN LANDA, AN INDIVIDUAL
                    b.Person served:                                                  party in item 3.s., White, Male, 64 Years 0!d, Gray Hair, 6 Feet I Inches, 250
                                                                                      Pounds

             d. Addi ess        tvhere the party was seivedt                          182 BRIARWOOD XING
                                                                                      LAWRENCE, NY 11559
             5.     I served the pariyt
                    e, by   personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                         process for the party (I) on: Mon„Jun. 01, 2020 (2) at: 4:02PM

             6,     Tlte 'Notice to ihe Person Served" (on ihe Stnnmons) was contpleted as follower
                   s. as an individual defendant

             7.    Person Wlio Served Papersi                                                                                  Rccovereblc Coet Pcr CCP 1033.5(e)(6)(B)
                     e. CURTIS WARREN                                                               d. Tire Fee for Seivice wast
                     b. A gc A LEGAL SERVICE, Inc.                                                  e. I em:
                        880 MITTEN ROAD, SUITE 102                                                                      (l)   Independent Contractor
                        BURLINGAME, CA 94010
                     c. (650) 697-9431, FAX (650) 697-4640




            8.     J declare under penalty of perjury under lite laws                                                   that the foregoing is true and correct.
                   Dale: Wed, dun, 03, 2020

               Juetctnl Council Form POS.010
            Rule 2.150.(n)tn(b) Kev January I, 6007
                                                                                         PRoI QFsgvlcE                                    (UUKilu WAKKetu)
                                                                                                                                                                         ocimtir. l 736)6
               Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 90 of 116 Page ID #:90


          ttnortteyor Party nidroutoflraruey                                                                                                For Court Ute Dttly
              ANNE MARIE MURPHY ESQ., Bar 8202540
              COTCHETT, PITRE & MCCARTHY
              840 MALCOLM ROAD, STE. 200
              BURLINGAME, CA 94010

          Telephotte not   650-697-6000            FAXtuot 650-697-0577
                                                                                Ref. ldo   or File Nou
         dnortteyfort Plaintiff                                                  HPHC 112961
         lnten notae of Court, aud Judicial Dieirlu attd Branch Court
              LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
         Plaintiff: EMMA MARTIN, ELIZABETH GAGLIANO;
                                                   ET AL
         Defendants SERRANO POST ACUTE LLC,'T AL
         DECLARATION OF                                     (Heartttg Date:                 iTietet           DepVDiw            Case Arutttbert

     ,
         REASONABLE DILIGENCE                                                                                                i
                                                                                                                                  20STCV19545



         1.   I, CURTIS WARREN, and any employee or independent contractors retained by A & A LEGAL SERVICE, Inc. are and were on
              the dates mentioned herein over the age of eighteen years and not a party to this action. Personal service was attempted on
              Defendant BENJAMIN LANDA, AN INDIVIDUAL as follows:

     2.       Docntnentst       SUMMONS AND COMPLAINT; CIVIL CASE COVER SHEET; NOTICE OF CASE ASSIGNMENT; ADR
                                INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY
                                PROCEDURES AT THE SPRING STREET COURTHOUSE.

 i        Dav      Date            Time        1   Location       i    Res u I t s
          Thu      05/28/20        9:42am          Home               THE PROPERTY IS BOARDED UP. PLACE IS VACANT. Attempt made by:
                                                                      CURTIS WARREN. Attempt at: 235 BRIARWOOD XING LAWRENCE, NY
                                                                      11559.




3,            Person Executing                                                                        Recoverable Casts Pcr CCP (033.5(ul(41(B)
              a, CURTIS WARREN                                                                 d.   flic Fee for service wast
              b. A & A LEGAL SERVICEt Inc.                                                     e. 1 aml
                 880 MITTEN ROAD, SUITE 102                                                                  (i)   Independent Contractor
                 BURLINGAME, CA 94010
              c. (650) 697-9431, FAX (650) 697-4640



d. 1 declare         uttder penally oj perjury under lire laws                                         tltal dte foregoing is lrne nnd correct.
              Date: Wed, Jun. 03, 2020

                                                                                                                   (CURT(S IVARRKIV)
                                                                                                                                                             6976000.123614
                                                     DECLARATION OF REASONABLE DILIGENCE
            Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 91 of 116 Page ID #:91


         Aaorney or party iriiliout Atroriieyi                                                                                         Far Coei I Use Dnfy
           ANNE MARIE MURPHY ESQn Bar t/202540
           COTCHETT, PITRE & MCCARTHY
           840 MALCOLM ROAD, STE. 200
           BURLINGAME, CA 94010

         Telepaane aioi   650-697-6000               FAX'oi 650 697-0577
                                                                                  Ref, iuo or Rile Ho J
         rftlonieyfori Plaintiff                                                   IIPI-IC t/296)
         Insert name of Court, and Judicial District and granuli Court
          LOS ANGELES COUNTY SUPERIOR COURT-STANLEY MOSK
         Plainttjfi EMMA MARTIN, ELIZABETH GAGLIANO;
                                               ET AL
         Defendariti SERRANO POST ACUTE LLC; ET AL
         DECLARATION OF                                         Hearing Date.                Tiinei              Dept/Dive    Case mmiber;

     ,
         REASONABLE DILIGENCE                                                                                !
                                                                                                                               70STCV19545



     1. I,    WILSON PASTORIZA, and any employee or independent contractors retained by A & A LEGAL SERVICE, Inc. are and were
            on the dates mentioned herein over the age of eighteen years and not a patty to this action. Personal service was attempted on
            Defendant BENJAMIN LANDA, AN INDIVIDUAL as follows:

     2.     Documents:          SUMMONS AND COMPLAINT,'IVIL CASE COVER SHEET; NOTICE OF CASE ASSIGNMENT; ADR
                                INFORMATION PACKAGE; FIRST AMENDED STANDING ORDER RE: PERSONAL INJURY
                                PROCEDURES AT THE SPRING STREET COURTHOUSE.

 I       Dav      Date              Time         1   Location          Results
         Fri      05/29/20          I:50pm           Home             PER MALE TENANT, THERE IS NO SUCH PERSON AT THIS ADDRESS.
                                                                      SUBJECT UNKNOWN. LAST NAME ON MAILBOX IS "RUBIN". Attempt
                                                                      made by: WILSON PASTORIZA, Registration 81470737. Attempt at: 13535-
                                                                      77TH AVENUE FLUSHING, NY 11367.

         Mon      06/01/20         5:08pm            Home             SPOKE WITH BENJAMIN LANDA, JR. SUBJECT NOT THERE. LEFT A
                                                                      COURTESY COPY. Attempt made by; WILSON PASTORIZA. Attempt at: 1337
                                                                      E. 7TH STREET BROOKLYN, NY 11230.




3.         Person Executing                                                                           Recoverable Cosrs Per CCP IO33.6(u)(4)(B)
           a. WILSON PASTORIZA                                                                 d.   Flic Fee     for service wast
           b. A & A LEGAL SERVICE, Inc.                                                        e.   / amt
              880 MITTEN ROAD, SUITE 102                                                                     (ij Independent Contractor
              BURLINGAME, CA 94010                                                                           (iij Registration /Io.t    1470737
           c. (650) 697-9431, FAX (650) 697-4640


4.        I declnre under penalty ofperjury antler tire Inws                                           ttiat tire foregoingis tnte ainl correct
           Date: Mon, Jun. 08, 2020

                                                                                                                   (WILSOisf pASTORIZA)
                                                                                                                                                        69760CC.I23723
                                                       DECLARATION OF REASONABLE DILIGENCE
Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 92 of 116 Page ID #:92




                           EXHIBIT 3
  Case 2:20-cv-05937-DSF-SK Document 1 Filed 07/01/20 Page 93 of 116 Page ID #:93


Rural Community Workers Alliance v. Smithfield Foods, Inc., --- F.Supp.3d ---- (2020)




                                                               primary-jurisdiction doctrine (Doc. 28).
                2020 WL 2145350
  Only the Westlaw citation is currently available.            After carefully reviewing the motions and the existing
 United States District Court, W.D. Missouri, Saint            record, the Court holds that it should decline to hear this
                 Joseph Division.                              matter pursuant to the primary-jurisdiction doctrine to
                                                               allow the Occupational Health and Safety Administration
  RURAL COMMUNITY WORKERS ALLIANCE                             (“OSHA”) to consider the issues raised by this case. But
          and Jane Doe,1 Plaintiffs,                           even if the Court did not apply the primary-jurisdiction
                     v.                                        doctrine, the Court would not issue a preliminary
 SMITHFIELD FOODS, INC. and Smithfield Fresh                   injunction because Plaintiffs have not met their burden of
          Meats Corp., Defendants.                             proving that the extraordinary remedy of an affirmative
                                                               injunction is justified. Smithfield’s motion is GRANTED,
                No. 5:20-CV-06063-DGK                          and the case is DISMISSED WITHOUT PREJUDICE.
                           |
                  Signed 05/05/2020


Attorneys and Law Firms

David S. Muraskin, Pro Hac Vice, Stephanie K.                                           Background
Glaberson, Pro Hac Vice, Karla Gilbride, Pro Hac Vice,
Public Justice, P.C., Washington, DC, David Seligman,          The Background section of this order is arranged in
Pro Hac Vice, Juno Turner, Pro Hac Vice, Denver, CO,           chronological order. Although regrettably lengthy, it
Gina Chiala, Heartland Center for Jobs and Freedom,            details how the regulatory environment in which
Kansas City, MO, for Plaintiffs.                               meat-processing plants operate is constantly changing
                                                               during this unique national emergency.
Alexandra B. Cunningham, Pro Hac Vice, Hunton
Andrews Kurth, Richmond, VA, Jean Paul Bradshaw, II,           In late 2019, a new coronavirus emerged named severe
Mara Halpert Cohara, Lathrop GPM LLP, Kansas City,             acute     respiratory     syndrome      coronavirus      2
MO, Susan F. Wiltsie, Pro Hac Vice, Hunton Andrerws            (SARS-CoV-2).2 This virus causes coronavirus disease
Kurth LLP, Washington, DC, for Defendants.                     2019 (COVID-19), a respiratory illness that can cause
                                                               serious health problems, including death.3 SARS-CoV-2
                                                               is highly contagious; it appears to spread from person to
                                                               person through respiratory droplets produced when an
                                                               infectious person coughs, sneezes, or talks, and the virus
                                                               can be spread by presymptomatic, or even asymptomatic,
                                                               individuals.4

                                                               A global pandemic ensued, and the virus and COVID-19
ORDER GRANTING DEFENDANTS’ MOTION TO
                                                               reached the United States in early 2020. On March 13,
              DISMISS
                                                               2020, the President declared a national emergency
                                                               concerning COVID-19. That same day, Missouri’s
GREG KAYS, JUDGE                                               governor also declared a state emergency, and on April 3,
                                                               the Missouri Department of Health and Senior Services
*1 This lawsuit arises from Plaintiffs’ allegations that       issued a stay-at-home order that mandated all individuals
Defendant Smithfield Foods, Inc. and its wholly owned          abide by social-distancing requirements and closed all
subsidiary,     Defendant    Smithfield   Fresh Meats          nonessential businesses in Missouri through May 4.5 The
Corporation (collectively, “Smithfield”) have failed to        stay-at-home order defines essential businesses in
adequately protect workers at its meat processing plant in     accordance with guidance from the U.S. Department of
Milan, Missouri, (“the Plant” or “the Milan Plant”) from       Homeland Security, Cybersecurity & Infrastructure
the virus that causes COVID-19. Now before the Court           Security Agency (“Homeland Security”), which identified
are Plaintiffs’ Motion for a Temporary Restraining Order       livestock-slaughter facilities, including the Plant and its
(“TRO”) and Preliminary Injunction (Doc. 3), and               operations, as “critical infrastructure.”6 On April 9, the
Smithfield’s motion to dismiss and/or stay pursuant to the     Centers for Disease Control (“CDC”) published Interim
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Guidance for Businesses and Employers to Plan and              preventing workers from covering their faces if they need
Respond to Coronavirus Disease 2019 (COVID-19),                to cough or sneeze, implementing a sick-leave policy that
which outlined several policies and procedures employers       penalizes workers for missing work even if they are
should implement to help prevent workplace exposure            exhibiting COVID-19 symptoms, and failing to
and community spread of the virus.                             implement plans for testing and contact tracing.

*2 On April 22, OSHA sent Smithfield a “Rapid                  The Complaint brings state-law claims for public
Response Investigation” requesting information regarding       nuisance and breach of duty to provide a safe workplace.
its COVID-19 work practices and infection at the Milan         Plaintiffs are not seeking monetary damages, only
Plant, giving Smithfield seven days to respond. As part of     declaratory judgments stating that: (1) Smithfield’s
its inquiry, OSHA requested information about                  practices at the Plant constitute a public nuisance; and (2)
Smithfield’s COVID-19 practices including what, if any,        Smithfield has breached its duty to provide a safe
personal protective equipment has been given to its            workplace.
workers, what engineering controls have been
implemented, what contact tracing methods have been            The same day Plaintiffs filed suit, they also moved for a
employed, and what policies have been changed or               temporary restraining order and preliminary injunction
implemented in light of the pandemic (Doc. 29-2).              (Doc. 3), seeking to force Smithfield to: provide masks;
Smithfield responded on April 29 (Doc. 41).                    ensure social distancing; give employees an opportunity
                                                               to wash their hands while on the line; provide tissues;
The next day, on April 23, Plaintiffs Jane Doe and the         change its leave policy to discourage individuals to show
Rural Community Workers Alliance (“RCWA”) filed                up to work when they have symptoms of the virus; give
suit. They allege Smithfield is not taking adequate steps to   workers access to testing; develop a contact-tracing
prevent transmission of the virus at its Plant, thereby        policy; and allow their expert to tour the Plant. Attached
endangering workers and members of the surrounding             to the motion were declarations from: (1) Jane Doe, who
community. According to her declaration, Doe is a current      described working conditions at the Plant and stated she
Smithfield employee who has worked at its Milan Plant          was afraid for health and safety, as well as the health and
for at least five years. She claims she currently works on     safety of the Milan community, because of what she
the “cut floor” where animals are broken down into             considers inadequate safety procedures at the Plant; (2)
products and packaged.                                         RCWA’s Executive Director, Alex Fuentes; (3) a senior
                                                               lobbyist with the non-profit organization Food & Water
The RCWA is a Missouri non-profit advocacy group               Watch (“FWW”), Anthony Corbo; (4) a lawyer, Thomas
whose members consist exclusively of workers in                Fritzsche, who has interviewed a number of Alabama
Northern Missouri. Several members of RCWA’s current           poultry-plant workers about working conditions and
leadership council work at the Plant, and sixty to seventy     authored a 2013 report for the Southern Poverty Law
workers who attend its meetings work at the Plant,             Center about modern industrial slaughterhouse workers;
including Jane Doe.                                            and (5) an occupational-medicine specialist, Dr. Robert
                                                               Harrison, who works as Clinical Professor of Medicine at
Defendant Smithfield is one of the largest                     the University of California, and also serves the
meat-processing companies in the world, with                   California Department of Public Health.
meat-processing plants all over the United States,
including in Milan, Missouri. Several of its                   *3 On April 26, the Court set a videoconference hearing
meat-processing plants in the United States have closed        on the preliminary injunction motion for April 30. That
recently due to outbreaks of COVID-19 among its                same day, the CDC and OSHA issued Meat and Poultry
workers.                                                       Processing Workers and Employers – Interim Guidance
                                                               (“the Joint Guidance”), which provided supplemental
The Complaint (Doc. 1) alleges that several                    guidance to meat-processing plants concerning
meat-processing plants in this country owned and               COVID-19.7 The Joint Guidance states that to reduce the
operated by Smithfield have become major COVID-19              risk of transmission among employees, employers at
“hot spots.” It also alleges that in direct contravention of   meat-processing facilities should, where “feasible,”
CDC guidelines, Smithfield has not implemented certain         implement engineering controls, such as staggering shifts
precautions to keep its workers and the Milan community        and breaks, requiring workers to stay six-feet apart, and/or
safe from the virus. Such measures include keeping             erecting physical barriers; place handwashing or
adequate distance between workers, prohibiting workers         hand-sanitizing stations in multiple locations and
from taking a break to wash their hands or face,               encourage hand hygiene; give workers additional short

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breaks to wash hands; provide tissues; and allow workers       opportunity to introduce evidence, including witness
to take breaks in alternative areas to ensure social           testimony, but both parties elected to stand on the existing
distancing. It also recommends employers provide               record. The parties then argued their respective positions.
personal protective equipment for workers to use during
their shift and increase the frequency of sanitization in      After the hearing, the parties filed supplemental briefs.
work and common spaces. It states employers should             Attached to Smithfield’s brief (Doc. 46) is a supplemental
educate employees on measures they can take to decrease        declaration from Smithfield’s plant manager, clarifying
the risk of spreading the virus and provides a specific list   Smithfield’s leave policy and updating the Court on
of measures employers should take to promote social            additional safety changes at the Plant.
distancing, such as providing visual cues on floors, as
reminders for social distancing. It encourages employers       Plaintiffs concede that Smithfield implemented new
to screen workers for COVID-19 by implementing                 policies and procedures after this lawsuit was filed and
temperature checks prior to entering the workplace and         have narrowed their requested injunctive relief to direct
sending home workers who appear to have symptoms               Smithfield to:
(e.g., cough, fever, or shortness of breath), and monitor
workers’ contacts so they can alert anyone who may have
been exposed to the virus. Finally, it recommends
employers review leave and incentive policies so as to not                 (1) make all reasonable changes to
penalize workers for taking sick leave if they contract                    its     “production       practices,”
COVID-19.                                                                  including potentially lowering its
                                                                           line speeds, to place as many
On April 27, Smithfield filed a motion to dismiss this case                workers as possible at least six feet
pursuant to the primary-jurisdiction doctrine, arguing this                apart; (2) provide reasonable
Court should defer to OSHA in this case. The next                          additional breaks to allow workers
day—April 28—the President signed an executive order                       to care for their personal hygiene
(“the Executive Order”) under § 4511(b) of the Defense                     without penalty, including blowing
Production Act (“DPA”), 50 U.S.C. § 2061 et seq.,                          their noses, using tissues, and hand
delegating authority to the Secretary of Agriculture to                    washing; and (3) ensure that its
take all appropriate action “to ensure that meat and                       policies do not require workers to
poultry processors continue operations consistent with the                 come to the Plant to obtain
guidance for their operations jointly issued by” the CDC                   COVID-19-related sick leave and
and OSHA.8                                                                 take all reasonable steps to
                                                                           communicate that policy clearly to
On April 29, Smithfield made several filings, including a                  workers.
supplemental brief to its motion to dismiss, which alleged
that pursuant to the Executive Order, the United States
Department of Agriculture (“USDA”) now had                     *4 (Doc. 48 at 10). Plaintiffs characterize their requested
jurisdiction over this case. It also submitted its             relief as compliance with the Joint Guidance.
Suggestions in Opposition (Doc. 32) to the preliminary
injunction motion. Attached to its brief as exhibit A (Doc.
32-1) is a declaration from the Plant’s general manager,
Tim Messman, along with pictures of the Plant and copies
of the Plant’s policies and procedures related to
COVID-19. Exhibit B (Doc. 32-2) is a declaration from
John Henshaw, the head of OSHA from 2001 to 2003.                                   Findings of Fact

Later that same day, Plaintiffs’ filed their suggestions in    The Court gives the various declarations submitted by the
opposition (Doc. 35) to Smithfield’s motion to dismiss.        parties the following evidentiary weight.9
Included in it is a declaration from Dr. Melissa Perry
(Doc. 35-2), a professor of environmental health at            The Court gives Jane Doe’s declaration limited weight.
George Washington University.                                  While she has personal knowledge of conditions in those
                                                               parts of the Plant in which she works, it is unclear exactly
On April 30, the Court held a hearing on the motion via        what part of the “cutting floor” she works in, and whether
teleconferencing. The Court offered the parties an             she can see all that she claims to see from this area.
                                                               Further, it appears that some of the information in her
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declaration is no longer accurate due to recent changes in     can be redesigned to further worker health and safety.
the Plant’s policies and procedures. For example,
although her declaration may be correct that Smithfield        *5 Dr. Perry opines that meat-processing plants can allow
initially told workers they would receive only one mask        workers to stand six feet apart if they reduce production
per week, this policy has been superseded. As discussed        line speed, and that, if they do not space production line
below, workers are now given masks every day. Finally,         workers six feet apart, the plants will “inevitably” have a
because her identify is unknown, there is no way to            COVID-19 outbreak. She contends slowing the
determine, through the adversarial process or otherwise,       production line is the only way the plant will be able to
whether Doe has some bias against Smithfield that could        continue meat production without an outbreak. She also
lead her to misrepresent or exaggerate conditions at the       endorses the other requests Plaintiffs make, such as for
Plant. The Court notes that at least one of her                more rest breaks and paid leave, as “absolutely necessary”
statements—that Smithfield has increased the line speed        so the Plant can continue operating.
at the Plant during the pandemic—is contradicted by
other, more persuasive evidence.                               This Court has respect for Dr. Perry’s opinion but finds it
                                                               of limited value in this case. While this Court agrees that
Mr. Fuentes’ declaration concerning working conditions         slowing down line speed may be beneficial for workers
at the Plant are even less reliable than Jane Doe’s, and so    and allow more opportunities for social distancing, the
the Court gives them less weight. Mr. Fuentes has no           Court found nothing in the Joint Guidance recommending
personal knowledge of conditions at the Plant because he       a decrease in line speed. To that point, she provides no
has never set foot in it. His understanding is based on        specific opinion regarding whether the Milan Plant is
hearsay from unidentified employees whose statements to        currently in compliance with the Joint Guidance, and
him, even if accurately relayed by Mr. Fuentes, were not       there is no evidence that Dr. Perry reviewed the policies
made under penalty of perjury. That said, the Court finds      and procedures at the Milan Plant in forming her opinion.
the portions of his declaration concerning RCWA’s              Accordingly, the Court gives little weight to her opinion
membership and activities are credible.                        that unless the production line speed is slowed and
                                                               workers spread six feet apart, spread of the virus through
The Court finds the declarations of Messrs. Corbo,             the Plant is “inevitable” and it “will be forced to shutter.”
Fritzsche, and Harrison are based on some relevant             This assertion appears to be more of a good-faith
knowledge, education, and experience concerning                speculation than an evidenced-based conclusion.
working conditions in American meat-processing plants
generally, and so they possess some limited insight into       The Court gives more weight to the declarations provided
what steps could be taken to prevent the spread of the         by Smithfield. The statements made by Mr. Messman, the
SARS-CoV-2         virus   in    a     generic  American       Plant’s general plant manager, are almost all based on his
meat-processing facility. Because they are unfamiliar with     personal knowledge. He possesses the most recent
specific working conditions at the Plant, however, their       information concerning working conditions at the Plant,
declarations provide limited help in determining whether       and he appears to be a reliable source of information
Smithfield’s policies and procedure at the Plant are           about Smithfield’s policies and procedures there.
sufficient to stem transmission of the virus.
                                                               The Court gives considerable weight to the declaration of
Finally, the Court turns to the declaration of Dr. Melissa     John Henshaw, Smithfield’s expert witness. After
J. Perry, Professor and Chair of Environmental and             reviewing Smithfield’s written policies and procedures at
Occupational Health at the Milken Institute School of          the Plant, the general manager’s declaration, the pictures,
Public Health of the George Washington University. Dr.         and the declarations in Plaintiffs’ motion, Mr. Henshaw
Perry credentials are excellent: She is a past President of    opined that Smithfield’s current policies and procedures,
the American College of Epidemiology and a past chair of       if followed, were consistent with the Joint Guidance as of
the Board of Scientific Counselors for the CDC. She has        April 29, 2020. Although the Court is aware that he is a
also served as a member of the National Institute for          retained expert witness whose assumptions and
Occupational Safety and Health research grant-review           conclusions have not been tested by cross-examination,
panel. She has studied meat-processing facilities since        his opinion is measured, qualified, and grounded in the
2004 and has published six peer-reviewed-journal articles      facts at the Milan Plant.
on work health and safety at meat-processing facilities.
As part of that work, she has visited four meat-processing     With the credibility determinations in mind, the Court
plants and spoken with engineers regarding the                 makes the following findings of fact concerning current
organizational structure of processing plants and how they     the Plant’s working conditions and Smithfield’s

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COVID-19 policies and procedures.                               employees are spaced six feet apart. These masks prevent
                                                                the spread of germs if an employee sneezes or coughs
Before entering the Plant, Smithfield requires all              while on the line, reducing the need for tissues to reduce
employees to undergo thermal screening. If employees            the spread of COVID-19. Additionally, Smithfield
exhibit one primary symptom or two secondary symptoms           requires employees on the production floor to wear nitrile
of COVID-19,10 Smithfield provides them with                    gloves and a plastic face shield.
instructions for next steps, including directions to
quarantine and call their physician for guidance, and           As Smithfield concedes, it does not provide tissues to
sends the employee home for fourteen days of paid leave         employees. It cannot provide tissues to individuals
or until the individual receives a negative COVID-19 test       working on the production line because doing so would
result.     Employees       with      underlying       health   violate health standards set by the USDA. Thus, one of
concerns—verified by a doctor—that place them at a              Plaintiff’s original complaints cannot be remedied.
higher risk of COVID-19 are given fourteen days of paid         Smithfield could, however, provide tissues for employees
leave and then are shifted to short-term disability leave.      to wipe their nose while on breaks, but the record does not
                                                                support that employees are banned from bringing their
While quarantining as a result of COVID-19 symptoms,            own tissues or other hygienic wipes to use while on
Smithfield requires employees to complete a                     breaks.
questionnaire that in part entails naming all other
employees they have closely contacted within the two            As for Plaintiffs’ claim that Smithfield does not allow
days before experiencing symptoms. If the employee tests        employees to wash their hands without penalty, the Court
positive for COVID-19, Smithfield notifies and screens          finds that Smithfield policies and procedures are
the close contacts. As of April 29, 2020, thirteen              reasonable under the circumstances. Due to the nature of
employees had been tested for COVID-19. None were               the meat-processing business, employees must wear
positive.                                                       gloves on the production line. When workers leave the
                                                                line for a break, they remove their gloves and sanitize
*6 If employees miss work as a result of COVID-related          their hands before entering common areas. They must
symptoms, Smithfield does not penalize them. They do            also wash their hands and put on gloves before returning
not receive attendance points and remain eligible for           to the line. Smithfield currently administers hand sanitizer
Smithfield’s Responsibility Bonus ($500), regardless of         to employees every thirty minutes to use on their gloves
whether individuals provide a doctor’s or nurse’s note.         and has added approximately 110 hand-sanitizing stations
Moreover, Smithfield has expanded its employee benefits         throughout the Plant. Smithfield also expects a shipment
by eliminating co-pays for COVID-related testing and            of small hand-sanitizer bottles soon, which it will make
treatment.                                                      available to employees for personal use. In the meantime,
                                                                the Plant has invited employees to bring in personal
To ensure that those inside the Plant are complying with        bottles they may refill using the company supply. Thus,
Smithfield’s COVID-19 safety procedures and policies,           the need for continued hand washing is unnecessary
Smithfield has assigned both a nurse and a                      because any contamination that may occur on the line is
health-and-safety clerk to perform checks throughout the        contained by the required use of gloves.
Plant. Smithfield has communicated these procedures and
policies to its employees by several different media,           Moreover, Smithfield has also enhanced cleaning and
including on televisions and signs at the Plant, through the    disinfection of the Plant’s frequently touched surfaces in
Beekeeper communications app, and through the                   common areas using cleaning solutions identified by the
Textcaster mass text-messaging tool. Signs at the Plant         CDC for use against the virus. These cleanings are
relay the information in English, Spanish, and French,          performed as often as every two hours throughout the
while the Beekeeper and Textcaster communications are           workday. Additional deep cleanings occur over the
available in the employee’s language of choice.                 weekends, and Smithfield is working to implement use of
Interpreters are also available at the Plant to assist with     fogging/misting disinfectants where possible.
these communications.
                                                                *7 Finally, the Court turns to the steps Smithfield has
The Plant provides workers with an ear-looped face mask         taken steps to facilitate social distancing at the Plant.
upon entry to the Plant each day, and if a mask breaks or       Smithfield has staggered workday start times, as well as
becomes soiled, it provides a new one. Smithfield now           lunch and break times, to avoid large numbers of workers
requires all workers at the Plant to wear a mask at all         congregating in break rooms or around time clocks.
times other than during meals and in certain offices where      Smithfield is currently working to secure a wireless

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means for employees to clock in and out of their shifts to     R.R. Co., 352 U.S. 59, 64, 77 S.Ct. 161, 1 L.Ed.2d 126
minimize crowding. In the meantime, it has expanded the        (1956)). Instead, courts must consider in each case
number of available clocks for employees to use and will       “whether the reasons for the doctrine are present and
implement a grace period for workers to clock in and out       whether applying the doctrine will aid the purposes for
of their shifts, all increasing the ability of workers to      which the doctrine was created.” Id. (citation omitted). In
maintain social distance.                                      undertaking this analysis, a court must be mindful that the
                                                               primary-jurisdiction doctrine “is to be invoked sparingly,
Smithfield has erected two large tents and three carport       as it often results in added expense and delay.” Alpharma,
structures on the Plant lawn and placed tables and chairs      Inc. v. Pennfield Oil Co., 411 F.3d 934, 938 (8th Cir.
underneath each so that workers have more space to eat         2005). “Once a district court decides to refer an issue or
while on breaks. The Plant has also installed plastic          claim to an administrative agency under the doctrine of
barriers on eating tables that separate employees from         primary jurisdiction, it may either dismiss or stay the
those sitting beside and across from them. Tables are          action.” Chlorine Inst., Inc. v. Soo Line R.R., 792 F.3d
sanitized after one employee leaves and before another         903, 913 (8th Cir. 2015).
sits down.
                                                               *8 There are two primary reasons courts apply the
Smithfield has also reduced the number of hogs harvested       primary-jurisdiction doctrine. First, “to obtain the benefit
each day and sends some employees home before lunch.           of an agency’s expertise and experience ... ‘in cases
This requires fewer employees to be at the Plant, helping      raising issues of fact not within the conventional
to minimize crowding in the cafeteria and other areas.         experience of judges or cases requiring the exercise of
However, these policies reduce the number of hours             administrative discretion....’ ” Access Telecomms., 137
worked by the affected employees, thereby decreasing           F.3d at 608 (noting “ ‘agencies created by Congress for
their weekly pay. To ease the resulting financial burden       regulating the subject matter should not be passed over’ ”)
on employees, Smithfield has temporarily increased pay         (quoting Far E. Conference v. United States, 342 U.S.
by $5/hour, and such pay is available to any employee          570, 574, 72 S.Ct. 492, 96 L.Ed. 576 (1952)). Second, “to
who takes an approved leave as a result of COVID-related       promote uniformity and consistency within the particular
symptoms. Smithfield has also installed clear plastic          field of regulation.” Id. (citation omitted). Thus, in
barriers along the Plant production line to separate           deciding whether to apply the doctrine, courts focus on
employees working across from each other and                   two questions: (1) “whether the issues raised in the case
employees working side by side.                                ‘have been placed within the special competence of an
                                                               administrative body,’ ” and (2) whether the court’s
                                                               disposition of the case could lead to inconsistent
                                                               regulation of businesses in the same industry. Sprint
                                                               Spectrum L.P. v. AT & T Corp., 168 F. Supp. 2d 1095,
                                                               1098 (W.D. Mo. 2001) (quoting United States v. W. Pac.
                                                               R.R. Co., 352 U.S. at 64, 77 S.Ct. 161). In this case, the
                        Discussion                             answer to both questions is yes.

                                                               Plaintiffs allege that because the Plant is not abiding by
I. The primary-jurisdiction doctrine applies.   11             the Joint Guidance, it constitutes a public nuisance and
Before reaching the merits of Plaintiffs’ request for a        has created an unreasonably unsafe workplace. Thus,
preliminary injunction, the Court must determine whether       Plaintiffs’ claims both succeed or fail on the
it should dismiss or stay this case pursuant to the            determination of whether the Plant is complying with the
primary-jurisdiction doctrine. “Primary jurisdiction is a      Joint Guidance. Due to its expertise and experience with
common-law doctrine that is utilized to coordinate             workplace regulation, OSHA (in coordination with the
judicial and administrative decision making.” Access           USDA per the Executive Order) is better positioned to
Telecomms. v. Sw. Bell Tel. Co., 137 F.3d 605, 608 (8th        make this determination than the Court is. Indeed, this
Cir. 1998) (citation omitted). “The doctrine allows a          determination goes to the heart of OSHA’s special
district court to refer a matter to the appropriate            competence:      its    mission    includes    “enforcing”
administrative agency for ruling in the first instance, even   occupational safety and health standards. In fact, OSHA
when the matter is initially cognizable by the district        has already shown interest in determining whether the
court.” Id. (citation omitted). “There exists no fixed         Plant is abiding by the Joint Guidance. The day before
formula for determining whether to apply the doctrine of       Plaintiffs filed this lawsuit, OSHA sent Smithfield a
primary jurisdiction.” Id. (citing United States v. W. Pac.    request for information regarding its COVID-19 work

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practices and infection at the Plant.                            II. Plaintiffs’ have not met their burden for a
                                                                 preliminary injunction.
Turning to the second question, the Court finds only             Although the Court’s ruling on the primary-jurisdiction
deference to OSHA/USDA will ensure uniform national              doctrine is dispositive, to aid in any appellate review, the
enforcement of the Joint Guidance. If the Court ruled on         Court will consider whether Plaintiffs have met their
whether the Plant is complying with the Joint Guidance,          extraordinary burden of proving an affirmative
this ruling would be binding on Smithfield but not other         preliminary injunction is proper in this case.
meat-processing facilities because the Court lacks
personal jurisdiction over them. Thus, any determination         In determining whether to grant injunctive relief the Court
by this Court whether the Plant is complying with the            considers the following factors, which were set forth in
Joint Guidance could easily lead to inconsistent regulation      the seminal decision Dataphase Sys., Inc. v. C L Sys., Inc.,
of businesses in the same industry. And under these              640 F.2d 109, 114 (8th Cir. 1981): 1) the threat of
circumstances, where the guidelines are rapidly evolving,        irreparable harm to the movant; 2) the balance between
maintaining a uniform source for guidance and                    this harm and any injury that granting the injunction will
enforcement is crucial.                                          inflict on the non-moving party; 3) the likelihood that the
                                                                 moving party will prevail on the merits; and 4) the public
Plaintiffs’ argue that deference will add delay. But OSHA        interest. Phelps-Roper v. Nixon, 509 F.3d 480, 484 (8th
has already requested information about the Plant’s safety       Cir. 2007). No single factor is determinative; they must be
measures. And if OSHA fails to act quickly on this               “balanced to determine whether they tilt towards or away”
information, Plaintiffs have a remedy: they may receive          from granting the injunction. Noodles Dev., LP. v. Ninth
emergency relief through OSHA’s statutory framework.             St. Partners, LLP, 507 F. Supp. 2d 1030, 1034 (E.D. Mo.
Section 662(a) of the Occupational Safety and Health Act         2007).
(“the Act”), 29 U.S.C. §§ 651 et seq., permits the
Secretary of Labor to petition the court “to restrain any        Preliminary injunctive relief “is an ‘extraordinary and
[dangerous] conditions or practices in any place of              drastic remedy, one that should not be granted unless the
employment ... which could reasonably be expected to             movant, by a clear showing, carries the burden of
cause death or serious physical harm immediately or              persuasion.’ ” North Dakota v. U.S. Army Corps of
before the imminence of such danger can be eliminated            Eng’rs, 264 F. Supp. 2d 871, 878 (D.N.D. 2003) (quoting
through the enforcement procedures otherwise provided            Mazurek v. Armstrong, 520 U.S. 968, 972, 117 S.Ct.
by [the Act].” Upon the filing of such petition, “the            1865, 138 L.Ed.2d 162 (1997)). This burden is
district court shall have jurisdiction to grant such             particularly great where, as here, Plaintiffs seek a
injunctive relief or temporary restraining order pending         preliminary injunction requiring an affirmative act.
the outcome of an enforcement proceeding.” Id. at §              Sanborn Mfg. Co. v. Campbell Hausfeld/Scott Fetzer Co.,
662(b). If the Secretary “arbitrarily or capriciously fails to   997 F.2d 484, 484 (8th Cir. 1993).
seek relief,” a worker can file a writ of mandamus to
compel the Secretary to seek such an order. Id. at §
662(d). Granted, there may be some delay before
Plaintiffs can invoke this procedure, but following this
procedure ensures the USDA and OSHA can take a
measured and uniform approach to the meat-processing                1. Plaintiffs have not demonstrated a threat of
plants under its oversight. The Court’s intervention at this        irreparable harm.
point, on the other hand, would only risk haphazard              To demonstrate a sufficient threat of irreparable harm, the
application of the Joint Guidance.                               moving party must show that there is no adequate remedy
                                                                 at law; that is, that an award of damages cannot
*9 In sum, the Court holds that the issue of Smithfield’s        compensate the movant for the harm. See Noodles Dev.,
compliance with OSHA’s guidelines and regulations falls          507 F.Supp.2d at 1036-37. But, when analyzing this
squarely within OSHA/USDA’s jurisdiction. The Court              factor, the Eighth Circuit has held that “[m]erely
finds dismissal without prejudice is preferable to a stay        demonstrating the ‘possibility of harm’ is not enough.”
here so that Plaintiffs may seek relief through the              Chlorine Inst., Inc. v. Soo Line R.R., 792 F.3d 903, 915
appropriate administrative and regulatory framework.             (8th Cir. 2015); see also S.J.W. ex rel. Wilson v. Lee’s
                                                                 Summit R–7 Sch. Dist., 696 F.3d 771, 779 (8th Cir. 2012)
                                                                 (“Speculative harm does not support a preliminary
                                                                 injunction.”). In the context of a global pandemic, this
                                                                 Court must consider the threat after “accounting for the
                                                                 protective measures” defendant has already implemented.
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Valentine v. Collier, 956 F.3d 797, 804 (5th Cir. 2020).         public.” Noodles Dev., 507 F. Supp. 2d at 1038 (citing
                                                                 Dataphase, 640 F.2d at 114). “To determine what must be
Plaintiffs argue that their injury is potentially contracting    weighed, ... courts of this circuit have looked at the threat
COVID-19, which could result in serious illness or even          to each of the parties’ rights that would result from
death. But this type of injury is too speculative under          granting or denying the injunction.” Id. The “potential
Eighth Circuit precedent.                                        economic harm to the parties” is a relevant consideration,
                                                                 as is “whether the defendant has already voluntarily taken
Plaintiffs’ claim otherwise, citing two cases from the           remedial action.” Id.
Eighth Circuit, which they argue held the possibility of
“death or serious illness” constitutes an irreparable injury     Here, there is no doubt that if workers at the Plant
(Doc. 3 at 24). Plaintiffs’ cite Kai v. Ross, 336 F.3d 650,      contract COVID-19, the harm to Plaintiffs could be great.
656 (8th Cir. 2003), a case in which the state of Nebraska       But Plaintiffs have alleged only that—potential
revoked a program providing medical care for the needy.          harm—and, in this time, no essential-business employer
The plaintiffs, who suffered from physical and mental            can completely eliminate the risk that COVID-19 will
disabilities and received their prescription medications         spread to its employees through the workplace. Thus, it is
through the program, sought to enjoin revocation of the          important that employers make meaningful, good faith
program. Id. The Eighth Circuit held that the present            attempts to reduce the risk. Here, Smithfield has taken
danger to plaintiffs’ health without their medications is an     significant remedial steps in accordance with the Joint
irreparable harm. Id. Plaintiffs also cite Harris v. Blue        Guidance to protect its workers from COVID-19.
Cross Blue Shield of Mo., 995 F.2d 877, 879 (8th Cir.
1993), which similarly held that denial of coverage for the      Moreover, national and local guidance on COVID-19 is
treatment of a life-threating illness is an irreparable          continuously evolving and changing. An injunction would
injury. These two cases are inapposite, since the plaintiffs     deny Smithfield the flexibility needed to quickly alter
were already suffering from illnesses, and would                 workplace procedures to remain safe during the
undoubtedly suffer serious illness or death in the absence       ever-changing circumstances of this pandemic. Valentine,
of an injunction.12 In other words, the threat of serious        956 F.3d at 803 (staying injunction that would “interfer[e]
injury or death was a certainty and not merely a                 with the rapidly changing and flexible system-wide
possibility.                                                     approach that [defendant] has used to respond to the
                                                                 pandemic so far” and “[defendant’s] ability to continue to
*10 The Court is not unsympathetic to the threat that            adjust its policies is significantly hampered by the
COVID-19 presents to the Plant’s workers. But in                 preliminary injunction, which locks in place a set of
conducting its analysis, the Court must determine whether        policies for a crisis that defies fixed approaches”) (citing
Plaintiffs will suffer an actual, imminent harm if the           Jacobson v. Massachusetts, 197 U.S. 11, 28–29, 25 S.Ct.
injunction is denied. This is not the same as analyzing          358, 49 L.Ed. 643 (1905); In re Abbott, 954 F.3d 772, 791
whether employees risk exposure if they continue to              (5th Cir. 2020)). Thus, the remedial measures Smithfield
work, and, unfortunately, no one can guarantee health for        has implemented convince the Court that the balance of
essential workers—or even the general public—in the              harms weighs in its favor.
middle of this global pandemic. But given the significant
measures Smithfield is now taking to protect its essential
workers from COVID-19 and the fact that there are no
confirmed cases of COVID-19 currently at the Plant, the
Court cannot conclude that the spread of COVID-19 at
the Plant is inevitable or that Smithfield will be unable to        3. Plaintiffs have not shown a likelihood of success
contain it if it occurs. Thus, Plaintiffs have not established      on the merits.
an immediate threat of irreparable harm.                         To demonstrate likelihood of success on the merits, a
                                                                 movant does not need to show that it ultimately will
                                                                 succeed on its claims, only that the movant’s prospects for
                                                                 success is sufficiently likely to support the kind of relief it
                                                                 requests. See Noodles Dev., 507 F.Supp.2d at 1036–37
                                                                 (emphasis added) (citations omitted). That is, the movant
   2. Plaintiffs have not shown that the balance of              need only show “a fair chance of prevailing.”
   harms favors issuing injunctive relief.                       Phelps-Roper, 509 F.3d at 485. On this record, Plaintiffs
The second factor “examines the harm of granting or              have not shown a fair chance of prevailing on either of
denying the injunction upon both of the parties to the           their claims.
dispute and upon other interested parties, including the
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                                                                 workplace under Missouri law. Plaintiffs citation to Smith
                                                                 v. W. Elec. Co., 643 S.W.2d 10 (Mo. Ct. App. 1982), to
                                                                 establish that they have stated a sufficient injury is
                                                                 unavailing. In Smith, the plaintiff proved that he had been
   a. Plaintiffs have not shown they are likely to               exposed to harmful second-hand smoke in the workplace
   succeed on their public-nuisance claim.                       which caused him to suffer a severe adverse reaction. Id.
Under Missouri law, “a public nuisance is an offense             at 12. The adverse reaction was the actual injury he
against the public order and economy of the state and            suffered, and he suffered this harm—and sought relief
violates the public’s right to life, health, and the use of      through an administrative process—before seeking an
property, while, ‘at the same time annoys, injures,              injunction. Thus, Smith is not analogous to this case, and
endangers, renders insecure, interferes with, or obstructs       Plaintiffs have not shown they are likely to be successful
the rights or property of the whole community, or                on their breach of a safe workplace claim.
neighborhood, or of any considerable number of persons.’
” State ex rel. Schmitt v. Henson, ED 107970, ––– S.W.3d
––––, ––––, 2020 WL 1862001, at *4 (Mo. Ct. App. April
14, 2020) (citations omitted).

*11 The parties agree that the Plant cannot be a public             4. The public interest factor is neutral.
nuisance simply by virtue of the fact that it is a               Certainly, the spread of COVID-19 is a public-health
meat-processing plant during a global pandemic.                  matter of great concern, and, so, preventing transmission
Moreover, in this case, Smithfield has implemented               of the virus which causes COVID-19 is within the public
substantial health and safety measures to protect Plant          interest. At the same time, the public has an interest in
workers, and no employees of the Plant have been                 maintaining the food-supply chain and access to meat
diagnosed with COVID-19. While Plaintiffs argue that             products, an interest which might be impaired if the Court
Smithfield could do more to protect its workers, that is         granted the injunction. Because Smithfield’s current
not the issue before this Court. The issue is whether the        policies and procedures temper public health worries, the
Plant, as it is currently operating, constitutes an offense      Court finds a preliminary injunction is not in the public
against the public order. Because of the significant             interest at this time.
measures Smithfield has implemented to combat the
disease and the lack of COVID-19 at the facility, the Plant      Thus, Plaintiffs have not met their extraordinary burden
cannot be said to violate the public’s right to health and       of showing an affirmative preliminary injunction is
safety. Thus, the Court finds that Plaintiffs are unlikely to    warranted in this case.
be succeed on their public nuisance claim.




                                                                 III. Plaintiffs’ requested relief lacks the specificity
   b. Plaintiffs have shown they are unlikely to succeed         required for a preliminary injunction.
   on their right to a safe workplace claim.                     Finally, the Court finds that Plaintiffs requested relief is
Under Missouri law, Plaintiffs must prove that Smithfield        impermissibly vague. Federal Rule of Civil Procedure
negligently breached its duty to provide a safe place to         65(d) states that an injunction must be “specific in [its]
work and that such negligence was the direct and                 terms” and describe in reasonable detail the actions
proximate cause of the Plaintiffs injuries. Hamilton v.          sought to be enjoined. Fed. R. Civ. P. 65(d). This
Palm, 621 F.3d 816, 818 (8th Cir. 2010). As discussed,           specificity requirement is “designed to prevent
Smithfield has taken substantial steps to reduce the             uncertainty and confusion on the part of those to whom
potential for COVID-19 exposure at the Plant and appears         the injunction is directed and to avoid the possible
to the Court to be complying with the Joint Guidance             founding of a contempt citation on a decree too vague to
regarding the same. Thus, Plaintiffs are not substantially       be understood.” Helzberg’s Diamond Shops, Inc. v. Valley
likely to prove Smithfield breached any duty.                    W. Des Moines Shopping Ctr., Inc., 564 F.2d 816, 820
                                                                 (8th Cir. 1977).
More importantly, however, Plaintiffs have not alleged
they have suffered any injury, only that they may suffer         In this case, Plaintiffs request this Court enter an
an injury in the future. A potential injury is insufficient to   injunction requiring Smithfield to “make all reasonable
state a claim of the breach of the duty to provide a safe        changes to its ‘production practices,’ including potentially

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lowering its line speeds, to place as many workers as
possible at least six feet apart” (Doc. 46 at 10). Plaintiffs
do not explain what changes would be “reasonable,”
except for “potentially” reducing line speeds. In other
words, they do not specify in reasonable detail what                                         Conclusion
Smithfield should do. They demand workers have
                                                                     *12 Plaintiffs are naturally concerned for their health and
“reasonable additional breaks to allow workers to care for
                                                                     the health of their community in these unprecedented
their personal hygiene without penalty, including blowing
                                                                     times. The Court takes their concern seriously.
their noses, using tissues, and hand washing,” but they do
                                                                     Nevertheless, the Court cannot ignore the USDA’s and
not specify how often or how long such breaks should
                                                                     OSHA’s authority over compliance with the Joint
take place, or what would constitute a reasonable break.
                                                                     Guidance or the significant steps Smithfield has taken to
Finally, Plaintiffs request the Court order Smithfield to
                                                                     reduce the risk of a COVID-19 outbreak at the Plant.
change its policies to “not require workers to come to the
Plant to obtain COVID-19-related sick leave and take all
                                                                     For the reasons discussed above, Defendants motion to
reasonable steps to communicate that policy clearly to
                                                                     dismiss is GRANTED, and the case is DISMISSED
workers.” But Plaintiffs do not identify which policies
                                                                     without prejudice.
should be eliminated, what constitutes “reasonable steps,”
or why Smithfield’s current policies are insufficient.
                                                                     IT IS SO ORDERED.
Because “a person of ordinary intelligence” would not
understand what is prohibited based on Plaintiffs’
proposed preliminary injunction, Schenck v. Pro-Choice               All Citations
Network of W. N.Y., 519 U.S. 357, 383, 117 S.Ct. 855,
137 L.Ed.2d 1 (1997), it is impermissibly vague, and thus            --- F.Supp.3d ----, 2020 WL 2145350
unenforceable.



Footnotes

1      The Court notes that there is currently a motion pending to allow Jane Doe to proceed using a pseudonym (Doc. 42).
       Given the Court’s dismissal of this action and the denial of injunctive relief, the Court finds that requiring Plaintiff to
       reveal her identity would serve no important purpose, especially given that another named plaintiff appears in this
       case. The issues presently before the Court are—for the most part—purely legal, and the majority of Plaintiff’s
       allegations are not individualized. Thus, the public’s interest in Plaintiff’s identity and the prejudice to Smithfield in
       allowing Plaintiff to proceed anonymously for purposes of deciding the instant motions is minimal. Plaintiff Doe may
       therefore use a pseudonym for purposes of the motions presently before this Court. This Court reserves judgment on
       her ability to do so should this case proceed to further stages of litigation.

2      Ctrs. for Disease Control and Prev. & Occ. Safety and Health Admin., Meat and Poultry Processing Workers and
       Employers,
       https://www.cdc.gov/coronavirus/2019-ncov/community/organizations/meat-poultry-processing-workers-employers.html
       (April 26, 2020).

3      Id.

4      Id.

5      Mo. Dep’t of Health & Senior Servs., Stay at Home Order, https://governor.mo.gov/priorities/stay-home-order (Apr. 3,
       2020).

6      U.S. Dep’t of Homeland Sec., Cybersec. & Infrastructure Sec. Agency, Guidance on the Essential Critical Infrastructure
       Workforce,
       https://www.cisa.gov/sites/default/files/publications/Version_3.0_CISA_Guidance_on_Essential_Critical_Infrastruc
       ture_Workers_3.pdf (April 17, 2020).

7      Ctrs. for Disease Control and Prev. & Occ. Safety and Health Admin., Meat and Poultry Processing Workers and

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       Employers,
       https://www.cdc.gov/coronavirus/2019-ncov/community/organizations/meat-poultry-processing-workers-employers.html
       (Apr. 26, 2020).

8      Exec. Order on Delegating Authority Under the DPA with Respect to Food Supply Chain Resources During the
       National         Emergency          Caused           by          the         Outbreak          of         COVID-19,
       https://www.whitehouse.gov/presidential-actions/executive-order-delegating-authority-dpa-respect-food-supply-chain-re
       sources-national-emergency-caused-outbreak-covid-19/ (Apr. 28, 2020).

9      Smithfield filed a motion to strike Plaintiffs’ five declarations attached to the motion for a temporary restraining order
       and/or preliminary injunction (Doc. 34). The Court denies the motion, since, in considering these motions, the issues it
       complains of go to the weight of the evidence rather than its admissibility.

10     Primary symptoms include fever, persistent dry cough, and shortness of breath, while secondary symptoms include
       chills, repeated shaking with chills, muscle pain/extreme fatigue, headache, sore throat, and/or loss of taste or smell
       (Doc. 46-2 at 8).

11     Although Smithfield previously argued Burford abstention also applied here, it conceded during the
       preliminary-injunction hearing that that argument no longer applies due to the President’s Executive Order.
       Accordingly, the Court does not address it. Because this Court finds the primary jurisdiction doctrine applies, it does
       not address Smithfield’s preemption arguments, which were asserted after the preliminary-injunction hearing.

12     Plaintiffs also cite Mertzlufft v. Bunker Res. Recycling & Reclamation, Inc., 760 S.W.2d 592 (Mo. Ct. App. 1988) as
       persuasive authority. In Mertzlufft, the plaintiffs sought to enjoin a business which was illegally transporting, storing,
       and incinerating hazardous waste without a permit. Id. at 595. The plaintiffs brought a citizen’s suit to enjoin the
       defendant from charging and loading the incinerator with hospital wastes, or otherwise operating it, which the trial court
       granted. Id. The Missouri court of appeals, reviewing the case under a standard deferential to the trial court’s
       judgment—not operating under the preliminary injunction standard set forth in Dataphase—held that the preliminary
       injunction was warranted. Id. at 598. It did not, however, address whether the plaintiffs proved there was a threat of
       irreparable harm. Id. at 598. To the contrary, the court held that plaintiffs were “not obligated to allege and prove they
       had suffered irreparable harm in order to obtain injunctive relief, but were only required to prove that they were
       adversely affected in fact by the unlicensed operation, which they did.” Id. Accordingly, this case is also inapplicable
       because the court of appeals did not consider—and plaintiffs were not required to prove—a threat of irreparable harm.
       But, even if they were, the defendant was illegally operating a hazardous waste facility, and thus presented a present
       threat of certain harm to the plaintiffs.




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                            EXHIBIT 4
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                                                    Ohio, Court of Federal Claims No: 20–              enacted on March 13, 2013. Among                      requires a sustained, coordinated
                                                    0225V                                              other things, PAHPRA added sections                   proactive response by the Government
                                               71. Shannon Pyers, Dresher, Pennsylvania,               564A and 564B to the Federal Food,                    in order to contain and mitigate the
                                                    Court of Federal Claims No: 20–0231V               Drug, and Cosmetic (FD&C) Act to                      spread of COVID–19.2
                                               72. Lisa Macon, Englewood, New Jersey,
                                                                                                       provide new authorities for the
                                                    Court of Federal Claims No: 20–0232V                                                                     Description of This Declaration by
                                                                                                       emergency use of approved products in
                                               [FR Doc. 2020–05525 Filed 3–16–20; 8:45 am]                                                                   Section
                                                                                                       emergencies and products held for
                                               BILLING CODE 4165–15–P                                  emergency use. PAHPRA accordingly                     Section I. Determination of Public
                                                                                                       amended the definitions of ‘‘Covered                  Health Emergency or Credible Risk of
                                                                                                       Countermeasures’’ and ‘‘qualified                     Future Public Health Emergency
                                               DEPARTMENT OF HEALTH AND                                pandemic and epidemic products’’ in
                                               HUMAN SERVICES                                                                                                   Before issuing a Declaration under the
                                                                                                       Section 319F–3 of the Public Health                   PREP Act, the Secretary is required to
                                                                                                       Service Act (PREP Act provisions), so                 determine that a disease or other health
                                               Office of the Secretary
                                                                                                       that products made available under                    condition or threat to health constitutes
                                               Declaration Under the Public                            these new FD&C Act authorities could                  a public health emergency or that there
                                               Readiness and Emergency                                 be covered under PREP Act                             is a credible risk that the disease,
                                               Preparedness Act for Medical                            Declarations. PAHPRA also extended                    condition, or threat may constitute such
                                               Countermeasures Against COVID–19                        the definition of qualified pandemic and              an emergency. This determination is
                                                                                                       epidemic products that may be covered                 separate and apart from the Declaration
                                               ACTION:   Notice of declaration.                        under a PREP Act Declaration to include               issued by the Secretary on January 31,
                                                                                                       products or technologies intended to                  2020 under Section 319 of the PHS Act
                                               SUMMARY:   The Secretary is issuing this                enhance the use or effect of a drug,                  that a disease or disorder presents a
                                               Declaration pursuant to section 319F–3                  biological product, or device used                    public health emergency or that a public
                                               of the Public Health Service Act to                     against the pandemic or epidemic or                   health emergency, including significant
                                               provide liability immunity for activities               against adverse events from these                     outbreaks of infectious diseases or
                                               related to medical countermeasures                      products.                                             bioterrorist attacks, otherwise exists, or
                                               against COVID–19.                                          COVID–19 is an acute respiratory                   other Declarations or determinations
                                               DATES: The Declaration was effective as                 disease caused by the SARS-CoV-2                      made under other authorities of the
                                               of February 4, 2020.                                    betacoronavirus or a virus mutating                   Secretary. Accordingly in Section I of
                                               FOR FURTHER INFORMATION CONTACT:
                                                                                                       therefrom. This virus is similar to other             the Declaration, the Secretary
                                               Robert P. Kadlec, MD, MTM&H, MS,                        betacoronaviruses, such as Middle                     determines that the spread of SARS-
                                               Assistant Secretary for Preparedness                    Eastern Respiratory Syndrome (MERS)                   CoV-2 or a virus mutating therefrom and
                                               and Response, Office of the Secretary,                  and Severe Acute Respiratory Syndrome                 the resulting disease, COVID–19,
                                               Department of Health and Human                          (SARS). Although the complete clinical                constitutes a public health emergency
                                               Services, 200 Independence Avenue                       picture regarding SARS-CoV-2 or a virus               for purposes of this Declaration under
                                               SW, Washington, DC 20201; Telephone:                    mutating therefrom is not fully                       the PREP Act.
                                               202–205–2882.                                           understood, the virus has been known
                                                                                                       to cause severe respiratory illness and               Section II. Factors Considered by the
                                               SUPPLEMENTARY INFORMATION: The                                                                                Secretary
                                                                                                       death in a subset of those people
                                               Public Readiness and Emergency                          infected with such virus(es).
                                               Preparedness Act (PREP Act) authorizes                                                                          In deciding whether and under what
                                                                                                          In December 2019, the novel                        circumstances to issue a Declaration
                                               the Secretary of Health and Human                       coronavirus was detected in Wuhan
                                               Services (the Secretary) to issue a                                                                           with respect to a Covered
                                                                                                       City, Hubei Province, China. Today,                   Countermeasure, the Secretary must
                                               Declaration to provide liability                        over 101 countries, including the United
                                               immunity to certain individuals and                                                                           consider the desirability of encouraging
                                                                                                       States have reported multiple cases.                  the design, development, clinical testing
                                               entities (Covered Persons) against any                  Acknowledging that cases had been
                                               claim of loss caused by, arising out of,                                                                      or investigation, manufacture, labeling,
                                                                                                       reported in five WHO regions in one                   distribution, formulation, packaging,
                                               relating to, or resulting from the                      month, on January 30, 2020, WHO
                                               manufacture, distribution,                                                                                    marketing, promotion, sale, purchase,
                                                                                                       declared the COVID–19 outbreak to be                  donation, dispensing, prescribing,
                                               administration, or use of medical                       a Public Health Emergency of
                                               countermeasures (Covered                                                                                      administration, licensing, and use of the
                                                                                                       International Concern (PHEIC) following               countermeasure. In Section II of the
                                               Countermeasures), except for claims                     a second meeting of the Emergency
                                               involving ‘‘willful misconduct’’ as                                                                           Declaration, the Secretary states that he
                                                                                                       Committee convened under the                          has considered these factors.
                                               defined in the PREP Act. This                           International Health Regulations (IHR).
                                               Declaration is subject to amendment as                     To date, United States traveler-                   Section III. Activities Covered by This
                                               circumstances warrant.                                  associated cases have been identified in              Declaration Under the PREP Act’s
                                                 The PREP Act was enacted on                           a number of States and community-                     Liability Immunity
                                               December 30, 2005, as Public Law 109–                   based transmission is suspected. On                      The Secretary must delineate the
                                               148, Division C, Section 2. It amended                  January 31, 2020, Secretary Azar                      activities for which the PREP Act’s
                                               the Public Health Service (PHS) Act,                    declared a public health emergency                    liability immunity is in effect. These
                                               adding Section 319F–3, which                            pursuant to section 319 of the PHS Act,               activities may include, under conditions
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                                               addresses liability immunity, and                       42 U.S.C. 247d, for the entire United                 as the Secretary may specify, the
                                               Section 319F–4, which creates a                         States to aid in the nation’s health care             manufacture, testing, development,
                                               compensation program. These sections                    community response to the COVID–19                    distribution, administration, or use of
                                               are codified at 42 U.S.C. 247d-6d and 42                outbreak.1 The outbreak remains a                     one or more Covered Countermeasures
                                               U.S.C. 247d–6e, respectively.                           significant public health challenge that
                                                 The Pandemic and All-Hazards                                                                                  2 CDC COVID–19 Summary; https://www.cdc.gov/
                                               Preparedness Reauthorization Act                          1 https://www.phe.gov/emergency/news/               coronavirus/2019-ncov/summary.html, accessed
                                               (PAHPRA), Public Law 113–5, was                         healthactions/phe/Pages/2019-nCoV.aspx.               27Feb2020,



                                          VerDate Sep<11>2014   17:32 Mar 16, 2020   Jkt 250001   PO 00000   Frm 00090   Fmt 4703   Sfmt 4703   E:\FR\FM\17MRN1.SGM   17MRN1
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                                               (Recommended Activities). In Section                    common carriers; contract carriers; air                  A qualified pandemic or epidemic
                                               III of the Declaration, the Secretary sets              carriers; own-label distributors; private-            product means a drug or device, as
                                               out the activities for which the                        label distributors; jobbers; brokers;                 defined in the FD&C Act or a biological
                                               immunity is in effect.                                  warehouses and wholesale drug                         product, as defined in the PHS Act that
                                                                                                       warehouses; independent wholesale                     is (i) manufactured, used, designed,
                                               Section IV. Limited Immunity
                                                                                                       drug traders; and retail pharmacies.                  developed, modified, licensed or
                                                  The Secretary must also state that                      A program planner means a state or                 procured to diagnose, mitigate, prevent,
                                               liability protections available under the               local government, including an Indian                 treat, or cure a pandemic or epidemic or
                                               PREP Act are in effect with respect to                  tribe; a person employed by the state or              limit the harm such a pandemic or
                                               the Recommended Activities. These                       local government; or other person who                 epidemic might otherwise cause; (ii)
                                               liability protections provide that,                     supervises or administers a program                   manufactured, used, designed,
                                               ‘‘[s]ubject to other provisions of [the                 with respect to the administration,                   developed, modified, licensed, or
                                               PREP Act], a covered person shall be                    dispensing, distribution, provision, or               procured to diagnose, mitigate, prevent,
                                               immune from suit and liability under                    use of a Covered Countermeasure,                      treat, or cure a serious or life-
                                               federal and state law with respect to all               including a person who establishes                    threatening disease or condition caused
                                               claims for loss caused by, arising out of,              requirements, provides policy guidance,               by such a drug, biological product, or
                                               relating to, or resulting from the                      or supplies technical or scientific advice            device; (iii) or a product or technology
                                               administration to or use by an                          or assistance or provides a facility to               intended to enhance the use or effect of
                                               individual of a covered countermeasure                  administer or use a Covered                           such a drug, biological product, or
                                               if a Declaration has been issued with                   Countermeasure in accordance with the                 device.
                                               respect to such countermeasure.’’ In                    Secretary’s Declaration. Under this                      A security countermeasure is a drug
                                               Section IV of the Declaration, the                      definition, a private sector employer or              or device, as defined in the FD&C Act
                                               Secretary states that liability protections             community group or other ‘‘person’’ can               or a biological product, as defined in the
                                               are in effect with respect to the                       be a program planner when it carries out              PHS Act that (i)(a) The Secretary
                                               Recommended Activities.                                 the described activities.                             determines to be a priority to diagnose,
                                                                                                                                                             mitigate, prevent, or treat harm from any
                                               Section V. Covered Persons                                 A qualified person means a licensed
                                                                                                                                                             biological, chemical, radiological, or
                                                  Section V of the Declaration describes               health professional or other individual
                                                                                                                                                             nuclear agent identified as a material
                                               Covered Persons, including Qualified                    authorized to prescribe, administer, or
                                                                                                                                                             threat by the Secretary of Homeland
                                               Persons. The PREP Act defines Covered                   dispense Covered Countermeasures
                                                                                                                                                             Security, or (b) to diagnose, mitigate,
                                               Persons to include, among others, the                   under the law of the state in which the
                                                                                                                                                             prevent, or treat harm from a condition
                                               United States, and those that                           Covered Countermeasure was
                                                                                                                                                             that may result in adverse health
                                               manufacturer, distribute, administer,                   prescribed, administered, or dispensed;               consequences or death and may be
                                               prescribe or use Covered                                or a person within a category of persons              caused by administering a drug,
                                               Countermeasures. This Declaration                       identified as qualified in the Secretary’s            biological product, or device against
                                               includes all persons and entities defined               Declaration. Under this definition, the               such an agent; and (ii) is determined by
                                               as Covered Persons under the PREP Act                   Secretary can describe in the                         the Secretary of Health and Human
                                               (PHS Act 317F–3(i)(2)) as well as others                Declaration other qualified persons,                  Services to be a necessary
                                               set out in paragraphs (3), (4), (6), (8)(A)             such as volunteers, who are Covered                   countermeasure to protect public health.
                                               and (8)(B).                                             Persons. Section V describes other                       To be a Covered Countermeasure,
                                                  The PREP Act’s liability immunity                    qualified persons covered by this                     qualified pandemic or epidemic
                                               applies to ‘‘Covered Persons’’ with                     Declaration.                                          products or security countermeasures
                                               respect to administration or use of a                      The PREP Act also defines the word                 also must be approved or cleared under
                                               Covered Countermeasure. The term                        ‘‘person’’ as used in the Act: A person               the FD&C Act; licensed under the PHS
                                               ‘‘Covered Persons’’ has a specific                      includes an individual, partnership,                  Act; or authorized for emergency use
                                               meaning and is defined in the PREP Act                  corporation, association, entity, or                  under Sections 564, 564A, or 564B of
                                               to include manufacturers, distributors,                 public or private corporation, including              the FD&C Act.
                                               program planners, and qualified                         a federal, state, or local government                    A qualified pandemic or epidemic
                                               persons, and their officials, agents, and               agency or department.                                 product also may be a Covered
                                               employees, and the United States. The                   Section VI. Covered Countermeasures                   Countermeasure when it is subject to an
                                               PREP Act further defines the terms                                                                            exemption (that is, it is permitted to be
                                               ‘‘manufacturer,’’ ‘‘distributor,’’                         As noted above, Section III of the                 used under an Investigational Drug
                                               ‘‘program planner,’’ and ‘‘qualified                    Declaration describes the activities                  Application or an Investigational Device
                                               person’’ as described below.                            (referred to as ‘‘Recommended                         Exemption) under the FD&C Act and is
                                                  A manufacturer includes a contractor                 Activities’’) for which liability                     the object of research for possible use
                                               or subcontractor of a manufacturer; a                   immunity is in effect. Section VI of the              for diagnosis, mitigation, prevention,
                                               supplier or licenser of any product,                    Declaration identifies the Covered                    treatment, or cure, or to limit harm of
                                               intellectual property, service, research                Countermeasures for which the                         a pandemic or epidemic or serious or
                                               tool or component or other article used                 Secretary has recommended such                        life-threatening condition caused by
                                               in the design, development, clinical                    activities. The PREP Act states that a                such a drug or device.
                                               testing, investigation or manufacturing                 ‘‘Covered Countermeasure’’ must be a                     A security countermeasure also may
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                                               of a Covered Countermeasure; and any                    ‘‘qualified pandemic or epidemic                      be a Covered Countermeasure if it may
                                               or all the parents, subsidiaries, affiliates,           product,’’ or a ‘‘security                            reasonably be determined to qualify for
                                               successors, and assigns of a                            countermeasure,’’ as described                        approval or licensing within 10 years
                                               manufacturer.                                           immediately below; or a drug, biological              after the Department’s determination
                                                  A distributor means a person or entity               product or device authorized for                      that procurement of the countermeasure
                                               engaged in the distribution of drugs,                   emergency use in accordance with                      is appropriate.
                                               biologics, or devices, including but not                Sections 564, 564A, or 564B of the                       Section VI lists medical
                                               limited to: Manufacturers; re-packers;                  FD&C Act.                                             countermeasures against COVID–19 that


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                                               are Covered Countermeasures under this                  Section VIII. Category of Disease, Health             example, liability claims alleging
                                               declaration.                                            Condition, or Threat                                  negligence by a manufacturer in creating
                                                  Section VI also refers to the statutory                The Secretary must identify in the                  a vaccine, or negligence by a health care
                                               definitions of Covered Countermeasures                  Declaration, for each Covered                         provider in prescribing the wrong dose,
                                               to make clear that these statutory                      Countermeasure, the categories of                     absent willful misconduct. Likewise, the
                                               definitions limit the scope of Covered                  diseases, health conditions, or threats to            Act precludes a liability claim relating
                                               Countermeasures. Specifically, the                      health for which the Secretary                        to the management and operation of a
                                               Declaration notes that Covered                                                                                countermeasure distribution program or
                                                                                                       recommends the administration or use
                                               Countermeasures must be ‘‘qualified                                                                           site, such as a slip-and-fall injury or
                                                                                                       of the countermeasure. In Section VIII of
                                               pandemic or epidemic products,’’ or                                                                           vehicle collision by a recipient receiving
                                                                                                       the Declaration, the Secretary states that
                                               ‘‘security countermeasures,’’ or drugs,                                                                       a countermeasure at a retail store
                                                                                                       the disease threat for which he
                                               biological products, or devices                                                                               serving as an administration or
                                                                                                       recommends administration or use of
                                                                                                                                                             dispensing location that alleges, for
                                               authorized for investigational or                       the Covered Countermeasures is
                                                                                                                                                             example, lax security or chaotic crowd
                                               emergency use, as those terms are                       COVID–19 caused by SARS-CoV-2 or a
                                                                                                                                                             control. However, a liability claim
                                               defined in the PREP Act, the FD&C Act,                  virus mutating therefrom.
                                                                                                                                                             alleging an injury occurring at the site
                                               and the Public Health Service Act.
                                                                                                       Section IX. Administration of Covered                 that was not directly related to the
                                               Section VII. Limitations on Distribution                Countermeasures                                       countermeasure activities is not
                                                                                                          The PREP Act does not explicitly                   covered, such as a slip and fall with no
                                                  The Secretary may specify that                                                                             direct connection to the
                                               liability immunity is in effect only to                 define the term ‘‘administration’’ but
                                                                                                                                                             countermeasure’s administration or use.
                                               Covered Countermeasures obtained                        does assign the Secretary the
                                                                                                                                                             In each case, whether immunity is
                                               through a particular means of                           responsibility to provide relevant
                                                                                                                                                             applicable will depend on the particular
                                               distribution. The Declaration states that               conditions in the Declaration. In Section
                                                                                                                                                             facts and circumstances.
                                               liability immunity is afforded to                       IX of the Declaration, the Secretary
                                               Covered Persons for Recommended                         defines ‘‘Administration of a Covered                 Section X. Population
                                               Activities related to (a) present or future             Countermeasure,’’ as follows:                            The Secretary must identify, for each
                                               federal contracts, cooperative                             Administration of a Covered                        Covered Countermeasure specified in a
                                               agreements, grants, other transactions,                 Countermeasure means physical                         Declaration, the population or
                                               interagency agreements, or memoranda                    provision of the countermeasures to                   populations of individuals for which
                                               of understanding or other federal                       recipients, or activities and decisions               liability immunity is in effect with
                                               agreements; or (b) activities authorized                directly relating to public and private               respect to administration or use of the
                                               in accordance with the public health                    delivery, distribution, and dispensing of             countermeasure. Section X of the
                                               and medical response of the Authority                   the countermeasures to recipients;                    Declaration identifies which individuals
                                               Having Jurisdiction to prescribe,                       management and operation of                           should use the countermeasure or to
                                               administer, deliver, distribute, or                     countermeasure programs; or                           whom the countermeasure should be
                                               dispense the Covered Countermeasures                    management and operation of locations                 administered—in short, those who
                                               following a Declaration of an                           for purpose of distributing and                       should be vaccinated or take a drug or
                                               emergency.                                              dispensing countermeasures.                           other countermeasure. Section X
                                                                                                          The definition of ‘‘administration’’               provides that the population includes
                                                  Section VII defines the terms                        extends only to physical provision of a
                                               ‘‘Authority Having Jurisdiction’’ and                                                                         ‘‘any individual who uses or who is
                                                                                                       countermeasure to a recipient, such as                administered a Covered Countermeasure
                                               ‘‘Declaration of an emergency.’’ We have                vaccination or handing drugs to
                                               specified in the definition that                                                                              in accordance with the Declaration.’’
                                                                                                       patients, and to activities related to                   It should be noted that under the
                                               Authorities having jurisdiction include                 management and operation of programs                  PREP Act, liability protection extends
                                               federal, state, local, and tribal                       and locations for providing                           beyond the Population specified in the
                                               authorities and institutions or                         countermeasures to recipients, such as                Declaration. Specifically, liability
                                               organizations acting on behalf of those                 decisions and actions involving security              immunity is afforded (1) To
                                               governmental entities.                                  and queuing, but only insofar as those                manufacturers and distributors without
                                                  For governmental program planners                    activities directly relate to the                     regard to whether the countermeasure is
                                               only, liability immunity is afforded only               countermeasure activities. Claims for                 used by or administered to this
                                               to the extent they obtain Covered                       which Covered Persons are provided                    population, and (2) to program planners
                                               Countermeasures through voluntary                       immunity under the Act are losses                     and qualified persons when the
                                               means, such as (1) donation; (2)                        caused by, arising out of, relating to, or            countermeasure is either used by or
                                               commercial sale; (3) deployment of                      resulting from the administration to or               administered to this population or the
                                               Covered Countermeasures from federal                    use by an individual of a Covered                     program planner or qualified person
                                               stockpiles; or (4) deployment of                        Countermeasure consistent with the                    reasonably could have believed the
                                               donated, purchased, or otherwise                        terms of a Declaration issued under the               recipient was in this population.
                                               voluntarily obtained Covered                            Act. Under the definition, these liability            Section X of the Declaration includes
                                               Countermeasures from state, local, or                   claims are precluded if they allege an                these statutory conditions in the
                                               private stockpiles. This last limitation                injury caused by a countermeasure, or if              Declaration for clarity.
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                                               on distribution is intended to deter                    the claims are due to manufacture,
                                               program planners that are government                    delivery, distribution, dispensing, or                Section XI. Geographic Area
                                               entities from seizing privately held                    management and operation of                              The Secretary must identify, for each
                                               stockpiles of Covered Countermeasures.                  countermeasure programs at                            Covered Countermeasure specified in
                                               It does not apply to any other Covered                  distribution and dispensing sites.                    the Declaration, the geographic area or
                                               Persons, including other program                           Thus, it is the Secretary’s                        areas for which liability immunity is in
                                               planners who are not government                         interpretation that, when a Declaration               effect, including, as appropriate,
                                               entities.                                               is in effect, the Act precludes, for                  whether the Declaration applies only to


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                                               individuals physically present in the                   immunity is afforded during the                       any portion of this Declaration through
                                               area or, in addition, applies to                        ‘‘Effective Time Period,’’ described                  publication in the Federal Register.
                                               individuals who have a described                        under Section XII of the Declaration,
                                                                                                                                                             Declaration
                                               connection to the area. Section XI of the               plus the ‘‘Additional Time Period’’
                                               Declaration provides that liability                     described under Section XIII of the                     Declaration for Public Readiness and
                                               immunity is afforded for the                            Declaration.                                          Emergency Preparedness Act Coverage
                                               administration or use of a Covered                         Section XIII of the Declaration                    for medical countermeasures against
                                               Countermeasure without geographic                       provides for 12 months as the                         COVID–19.
                                               limitation. This could include claims                   Additional Time Period of coverage                    I. Determination of Public Health
                                               related to administration or use in                     after expiration of the Declaration.                  Emergency
                                               countries outside the U.S. It is possible               Section XIII also explains the extended
                                               that claims may arise in regard to                      coverage that applies to any product                  42 U.S.C. 247d–6d(b)(1)
                                               administration or use of the Covered                    obtained for the SNS during the                         I have determined that the spread of
                                               Countermeasures outside the U.S. that                   effective period of the Declaration.                  SARS-CoV–2 or a virus mutating
                                               may be resolved under U.S. law.                                                                               therefrom and the resulting disease
                                                 In addition, the PREP Act specifies                   Section XIV. Countermeasures Injury                   COVID–19 constitutes a public health
                                               that liability immunity is afforded (1) to              Compensation Program                                  emergency.
                                               manufacturers and distributors without                     Section 319F–4 of the PHS Act, 42
                                               regard to whether the countermeasure is                                                                       II. Factors Considered
                                                                                                       U.S.C. 247d-6e, authorizes the
                                               used by or administered to individuals                  Countermeasures Injury Compensation                   42 U.S.C. 247d–6d(b)(6)
                                               in the geographic areas, and (2) to                     Program (CICP) to provide benefits to                    I have considered the desirability of
                                               program planners and qualified persons                  eligible individuals who sustain a                    encouraging the design, development,
                                               when the countermeasure is either used                  serious physical injury or die as a direct            clinical testing, or investigation,
                                               or administered in the geographic areas                 result of the administration or use of a              manufacture, labeling, distribution,
                                               or the program planner or qualified                     Covered Countermeasure.                               formulation, packaging, marketing,
                                               person reasonably could have believed                   Compensation under the CICP for an                    promotion, sale, purchase, donation,
                                               the countermeasure was used or                          injury directly caused by a Covered                   dispensing, prescribing, administration,
                                               administered in the areas. Section XI of                Countermeasure is based on the                        licensing, and use of the Covered
                                               the Declaration includes these statutory                requirements set forth in this                        Countermeasures.
                                               conditions in the Declaration for clarity.
                                                                                                       Declaration, the administrative rules for             III. Recommended Activities
                                               Section XII. Effective Time Period                      the Program, and the statute. To show
                                                                                                       direct causation between a Covered                    42 U.S.C. 247d–6d(b)(1)
                                                  The Secretary must identify, for each
                                               Covered Countermeasure, the period or                   Countermeasure and a serious physical                   I recommend, under the conditions
                                               periods during which liability immunity                 injury, the statute requires ‘‘compelling,            stated in this Declaration, the
                                               is in effect, designated by dates,                      reliable, valid, medical and scientific               manufacture, testing, development,
                                               milestones, or other description of                     evidence.’’ The administrative rules for              distribution, administration, and use of
                                               events, including factors specified in the              the Program further explain the                       the Covered Countermeasures.
                                               PREP Act. Section XII of the Declaration                necessary requirements for eligibility
                                                                                                                                                             IV. Liability Immunity
                                               extends the effective period for different              under the CICP. Please note that, by
                                                                                                       statute, requirements for compensation                42 U.S.C. 247d–6d(a), 247d–6d(b)(1)
                                               means of distribution of Covered
                                               Countermeasures through October 1,                      under the CICP may not align with the                   Liability immunity as prescribed in
                                               2024.                                                   requirements for liability immunity                   the PREP Act and conditions stated in
                                                                                                       provided under the PREP Act. Section                  this Declaration is in effect for the
                                               Section XIII. Additional Time Period of                 XIV of the Declaration,                               Recommended Activities described in
                                               Coverage                                                ‘‘Countermeasures Injury Compensation                 Section III.
                                                  The Secretary must specify a date                    Program,’’ explains the types of injury
                                                                                                                                                             V. Covered Persons
                                               after the ending date of the effective                  and standard of evidence needed to be
                                               time period of the Declaration that is                  considered for compensation under the                 42 U.S.C. 247d–6d(i)(2), (3), (4), (6),
                                               reasonable for manufacturers to arrange                 CICP.                                                    (8)(A) and (B)
                                               for disposition of the Covered                             Further, the administrative rules for                 Covered Persons who are afforded
                                               Countermeasure, including accepting                     the CICP specify that if countermeasures              liability immunity under this
                                               returns of Covered Countermeasures,                     are administered or used outside the                  Declaration are ‘‘manufacturers,’’
                                               and for other Covered Persons to take                   United States, only otherwise eligible                ‘‘distributors,’’ ‘‘program planners,’’
                                               appropriate actions to limit                            individuals at United States embassies,               ‘‘qualified persons,’’ and their officials,
                                               administration or use of the Covered                    military installations abroad (such as                agents, and employees, as those terms
                                               Countermeasure. In addition, the PREP                   military bases, ships, and camps) or at               are defined in the PREP Act, and the
                                               Act specifies that, for Covered                         North Atlantic Treaty Organization                    United States.
                                               Countermeasures that are subject to a                   (NATO) installations (subject to the                     In addition, I have determined that
                                               Declaration at the time they are obtained               NATO Status of Forces Agreement)                      the following additional persons are
                                               for the Strategic National Stockpile                    where American servicemen and                         qualified persons: (a) Any person
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                                               (SNS) under 42 U.S.C. 247d-6b(a), the                   servicewomen are stationed may be                     authorized in accordance with the
                                               effective period of the Declaration                     considered for CICP benefits. Other                   public health and medical emergency
                                               extends through the time the                            individuals outside the United States                 response of the Authority Having
                                               countermeasure is used or administered.                 may not be eligible for CICP benefits.                Jurisdiction, as described in Section VII
                                               Liability immunity under the provisions                                                                       below, to prescribe, administer, deliver,
                                                                                                       Section XV. Amendments
                                               of the PREP Act and the conditions of                                                                         distribute or dispense the Covered
                                               the Declaration continue during these                     Section XV of the Declaration                       Countermeasures, and their officials,
                                               additional time periods. Thus, liability                confirms that the Secretary may amend                 agents, employees, contractors and


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                                               volunteers, following a Declaration of an               boundary lines) or functional (e.g., law              qualified persons when the
                                               emergency; (b) any person                               enforcement, public health) range or                  countermeasure is used by or
                                                 authorized to prescribe, administer, or               sphere of authority.                                  administered to this population, or the
                                               dispense the Covered Countermeasures                       ii. A Declaration of Emergency means               program planner or qualified person
                                               or who is otherwise authorized to                       any Declaration by any authorized local,              reasonably could have believed the
                                               perform an activity under an Emergency                  regional, state, or federal official of an            recipient was in this population.
                                               Use Authorization in accordance with                    emergency specific to events that
                                                                                                                                                             XI. Geographic Area
                                               Section 564 of the FD&C Act; and (c)                    indicate an immediate need to
                                               any person authorized to prescribe,                     administer and use the Covered                        42 U.S.C. 247d–6d(a)(4), 247d–
                                               administer, or dispense Covered                         Countermeasures, with the exception of                  6d(b)(2)(D)
                                               Countermeasures in accordance with                      a federal Declaration in support of an                  Liability immunity is afforded for the
                                               Section 564A of the                                     Emergency Use Authorization under                     administration or use of a Covered
                                                 FD&C Act.                                             Section 564 of the FD&C Act unless                    Countermeasure without geographic
                                                                                                       such Declaration specifies otherwise;                 limitation.
                                               VI. Covered Countermeasures                                I have also determined that, for                     Liability immunity is afforded to
                                               42 U.S.C. 247d–6b(c)(1)(B), 42 U.S.C.                   governmental program planners only,                   manufacturers and distributors without
                                                  247d–6d(i)(1) and (7)                                liability immunity is afforded only to                regard to whether the countermeasure is
                                                  Covered Countermeasures are any                      the extent such program planners obtain               used by or administered in any
                                               antiviral, any other drug, any biologic,                Covered Countermeasures through                       designated geographic area; liability
                                               any diagnostic, any other device, or any                voluntary means, such as (1) donation;                immunity is afforded to program
                                               vaccine, used to treat, diagnose, cure,                 (2) commercial sale; (3) deployment of                planners and qualified persons when
                                               prevent, or mitigate COVID–19, or the                   Covered Countermeasures from federal                  the countermeasure is used by or
                                               transmission of SARS-CoV–2 or a virus                   stockpiles; or (4) deployment of                      administered in any designated
                                               mutating therefrom, or any device used                  donated, purchased, or otherwise                      geographic area, or the program planner
                                               in the administration of any such                       voluntarily obtained Covered                          or qualified person reasonably could
                                               product, and all components and                         Countermeasures from state, local, or                 have believed the recipient was in that
                                               constituent materials of any such                       private stockpiles.                                   geographic area.
                                               product.                                                VIII. Category of Disease, Health
                                                  Covered Countermeasures must be                                                                            XII. Effective Time Period
                                                                                                       Condition, or Threat
                                               ‘‘qualified pandemic or epidemic                                                                              42 U.S.C. 247d–6d(b)(2)(B)
                                               products,’’ or ‘‘security                               42 U.S.C. 247d–6d(b)(2)(A)                               Liability immunity for Covered
                                               countermeasures,’’ or drugs, biological                   The category of disease, health                     Countermeasures through means of
                                               products, or devices authorized for                     condition, or threat for which I                      distribution, as identified in Section
                                               investigational or emergency use, as                    recommend the administration or use of                VII(a) of this Declaration, other than in
                                               those terms are defined in the PREP Act,                the Covered Countermeasures is                        accordance with the public health and
                                               the FD&C Act, and the Public Health                     COVID–19 caused by SARS-CoV–2 or a                    medical response of the Authority
                                               Service Act.                                            virus mutating therefrom.                             Having Jurisdiction and extends through
                                               VII. Limitations on Distribution                        IX. Administration of Covered                         October 1, 2024.
                                                                                                       Countermeasures                                          Liability immunity for Covered
                                               42 U.S.C. 247d–6d(a)(5) and (b)(2)(E)                                                                         Countermeasures administered and
                                                  I have determined that liability                     42 U.S.C. 247d–6d(a)(2)(B)                            used in accordance with the public
                                               immunity is afforded to Covered                           Administration of the Covered                       health and medical response of the
                                               Persons only for Recommended                            Countermeasure means physical                         Authority Having Jurisdiction begins
                                               Activities involving Covered                            provision of the countermeasures to                   with a Declaration and lasts through (1)
                                               Countermeasures that are related to:                    recipients, or activities and decisions               the final day the emergency Declaration
                                                  (a) Present or future federal contracts,             directly relating to public and private               is in effect, or (2) October 1, 2024,
                                               cooperative agreements, grants, other                   delivery, distribution and dispensing of              whichever occurs first.
                                               transactions, interagency agreements,                   the countermeasures to recipients,
                                                                                                       management and operation of                           XIII. Additional Time Period of
                                               memoranda of understanding, or other
                                                                                                       countermeasure programs, or                           Coverage
                                               federal agreements; or
                                                  (b) Activities authorized in                         management and operation of locations                 42 U.S.C. 247d–6d(b)(3)(B) and (C)
                                               accordance with the public health and                   for purpose of distributing and                          I have determined that an additional
                                               medical response of the Authority                       dispensing countermeasures.                           12 months of liability protection is
                                               Having Jurisdiction to prescribe,                       X. Population                                         reasonable to allow for the
                                               administer, deliver, distribute or                                                                            manufacturer(s) to arrange for
                                               dispense the Covered Countermeasures                    42 U.S.C. 247d–6d(a)(4), 247d–                        disposition of the Covered
                                               following a Declaration of an                             6d(b)(2)(C)                                         Countermeasure, including return of the
                                               emergency.                                                 The populations of individuals                     Covered Countermeasures to the
                                                  As used in this Declaration, the terms               include any individual who uses or is                 manufacturer, and for Covered Persons
                                               Authority Having Jurisdiction and                       administered the Covered                              to take such other actions as are
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                                               Declaration of Emergency have the                       Countermeasures in accordance with                    appropriate to limit the administration
                                               following meanings:                                     this Declaration.                                     or use of the Covered Countermeasures.
                                                  i. The Authority Having Jurisdiction                    Liability immunity is afforded to                     Covered Countermeasures obtained
                                               means the public agency or its delegate                 manufacturers and distributors without                for the SNS during the effective period
                                               that has legal responsibility and                       regard to whether the countermeasure is               of this Declaration are covered through
                                               authority for responding to an incident,                used by or administered to this                       the date of administration or use
                                               based on political or geographical (e.g.,               population; liability immunity is                     pursuant to a distribution or release
                                               city, county, tribal, state, or federal                 afforded to program planners and                      from the SNS.


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                                               XIV. Countermeasures Injury                               Name of Committee: National Institute of            DEPARTMENT OF HEALTH AND
                                               Compensation Program                                    Diabetes and Digestive and Kidney Diseases            HUMAN SERVICES
                                                                                                       Special Emphasis Panel; PAR–18–423:
                                               42 U.S.C 247d–6e                                        NIDDK Multi-Center Clinical Study                     National Institutes of Health
                                                 The PREP Act authorizes the                           Implementation Planning Cooperative
                                               Countermeasures Injury Compensation                     Agreements (U34) in Digestive Diseases.               Center for Scientific Review; Amended
                                               Program (CICP) to provide benefits to                     Date: May 22, 2020.                                 Notice of Meeting
                                               certain individuals or estates of                         Time: 11:00 a.m. to 1:00 p.m.
                                                                                                                                                               Notice is hereby given of a change in
                                               individuals who sustain a covered                         Agenda: To review and evaluate grant
                                                                                                                                                             the meeting of the Center for Scientific
                                               serious physical injury as the direct                   applications.
                                                                                                                                                             Review Special Emphasis Panel, PAR
                                               result of the administration or use of the                Place: National Institutes of Health, Two
                                                                                                       Democracy Plaza, 6707 Democracy
                                                                                                                                                             19–059: Global Noncommunicable
                                               Covered Countermeasures, and benefits
                                                                                                       Boulevard, Bethesda, MD 20892 (Telephone
                                                                                                                                                             Diseases and Injury Across the Lifespan
                                               to certain survivors of individuals who
                                                                                                       Conference Call).                                     (R21), March 23, 2020, 8:00 a.m. to 5:00
                                               die as a direct result of the
                                                                                                         Contact Person: Dianne Camp, Ph.D.,                 p.m., at the Hotel Palomar, 2121 P Street
                                               administration or use of the Covered
                                                                                                       Scientific Review Officer, Review Branch,             NW, Washington, DC 20037, which was
                                               Countermeasures. The causal
                                                                                                       Division of Extramural Activities, NIDDK,             published in the Federal Register on
                                               connection between the countermeasure
                                                                                                       National Institutes of Health, Room 7013,             February 25, 2020, 85 FR 10708.
                                               and the serious physical injury must be
                                                                                                       6707 Democracy Boulevard, Bethesda, MD                  The meeting will be held at the
                                               supported by compelling, reliable, valid,
                                                                                                       20892–2542, (301) 594–7682, campd@                    National Institutes of Health, 6701
                                               medical and scientific evidence in order
                                                                                                       extra.niddk.nih.gov.                                  Rockledge Drive, Bethesda, MD 20892.
                                               for the individual to be considered for
                                                                                                                                                             The format of the meeting has been
                                               compensation. The CICP is                               (Catalogue of Federal Domestic Assistance
                                                                                                       Program Nos. 93.847, Diabetes,
                                                                                                                                                             changed to a Video Assisted Meeting.
                                               administered by the Health Resources
                                                                                                       Endocrinology and Metabolic Research;
                                                                                                                                                             The meeting date and time remain the
                                               and Services Administration, within the
                                                                                                       93.848, Digestive Diseases and Nutrition              same. The meeting is closed to the
                                               Department of Health and Human
                                                                                                       Research; 93.849, Kidney Diseases, Urology            public.
                                               Services. Information about the CICP is
                                               available at the toll-free number 1–855–                and Hematology Research, National Institutes            Dated: March 11, 2020.
                                               266–2427 or http://www.hrsa.gov/cicp/.                  of Health, HHS)                                       Ronald J. Livingston, Jr.,
                                                                                                         Dated: March 10, 2020.                              Program Analyst, Office of Federal Advisory
                                               XV. Amendments                                                                                                Committee Policy.
                                                                                                       Miguelina Perez,
                                               42 U.S.C. 247d–6d(b)(4)                                                                                       [FR Doc. 2020–05419 Filed 3–16–20; 8:45 am]
                                                                                                       Program Analyst, Office of Federal Advisory
                                                 Amendments to this Declaration will                   Committee Policy.
                                                                                                                                                             BILLING CODE 4140–01–P
                                               be published in the Federal Register, as                [FR Doc. 2020–05361 Filed 3–16–20; 8:45 am]
                                               warranted.
                                                                                                       BILLING CODE 4140–01–P                                DEPARTMENT OF HEALTH AND
                                                  Authority: 42 U.S.C. 247d–6d.                                                                              HUMAN SERVICES
                                                 Dated: March 10, 2020.
                                               Alex M. Azar II,                                        DEPARTMENT OF HEALTH AND                              National Institutes of Health
                                               Secretary of Health and Human Services.                 HUMAN SERVICES
                                                                                                                                                             National Institute of Diabetes and
                                               [FR Doc. 2020–05484 Filed 3–12–20; 4:15 pm]                                                                   Digestive and Kidney Diseases; Notice
                                                                                                       National Institutes of Health
                                               BILLING CODE P                                                                                                of Closed Meeting
                                                                                                       Center for Scientific Review; Amended
                                                                                                       Notice of Meeting                                       Pursuant to section 10(d) of the
                                               DEPARTMENT OF HEALTH AND                                                                                      Federal Advisory Committee Act, as
                                               HUMAN SERVICES                                             Notice is hereby given of a change in              amended, notice is hereby given of the
                                                                                                       the meeting of the Center for Scientific              following meeting.
                                               National Institutes of Health                                                                                   The meeting will be closed to the
                                                                                                       Review Special Emphasis Panel, Small
                                                                                                                                                             public in accordance with the
                                               National Institute of Diabetes and                      Business: Cardiovascular Sciences,
                                                                                                                                                             provisions set forth in sections
                                               Digestive and Kidney Diseases; Notice                   March 19, 2020 08:00 a.m. to March 20,                552b(c)(4) and 552b(c)(6), Title 5 U.S.C.,
                                               of Closed Meeting                                       2020, 01:00 p.m., Embassy Suites                      as amended. The grant applications and
                                                                                                       Alexandria Old Town, 1900 Diagonal                    the discussions could disclose
                                                 Pursuant to section 10(d) of the                      Road, Alexandria, VA 22314 which was
                                               Federal Advisory Committee Act, as                                                                            confidential trade secrets or commercial
                                                                                                       published in the Federal Register on                  property such as patentable material,
                                               amended, notice is hereby given of the                  February 20, 2020, 85 FR 9791.
                                               following meeting.                                                                                            and personal information concerning
                                                 The meeting will be closed to the                        The meeting location is being held at              individuals associated with the grant
                                               public in accordance with the                           the National Institutes of Health, 6701               applications, the disclosure of which
                                               provisions set forth in sections                        Rockledge Drive, Bethesda, MD 20892,                  would constitute a clearly unwarranted
                                               552b(c)(4) and 552b(c)(6), Title 5 U.S.C.,              at 09:00 a.m. The meeting date remains                invasion of personal privacy.
                                               as amended. The grant applications and                  the same. The meeting is closed to the                  Name of Committee: National Institute of
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                                               the discussions could disclose                          public.                                               Diabetes and Digestive and Kidney Diseases
                                               confidential trade secrets or commercial                                                                      Special Emphasis Panel; Consortium for the
                                                                                                         Dated: March 11, 2020.                              Study of Chronic Pancreatitis, Diabetes, and
                                               property such as patentable material,                   Miguelina Perez,                                      Pancreatic Cancer Clinical Centers Special
                                               and personal information concerning                                                                           Emphasis Panel.
                                               individuals associated with the grant                   Program Analyst, Office of Federal Advisory
                                                                                                       Committee Policy.                                       Date: April 2, 2020.
                                               applications, the disclosure of which                                                                           Time: 10:00 a.m. to 6:00 p.m.
                                               would constitute a clearly unwarranted                  [FR Doc. 2020–05417 Filed 3–16–20; 8:45 am]
                                                                                                                                                               Agenda: To review and evaluate grant
                                               invasion of personal privacy.                           BILLING CODE 4140–01–P                                applications.



                                          VerDate Sep<11>2014   17:32 Mar 16, 2020   Jkt 250001   PO 00000   Frm 00095   Fmt 4703   Sfmt 4703   E:\FR\FM\17MRN1.SGM   17MRN1
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                              EXHIBIT 5
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                                            document entitled, ‘‘Agency                                          DEPARTMENT OF HEALTH AND                                      information collection should be sent
                                            Information Collection Activities:                                   HUMAN SERVICES                                                directly to the following: Office of
                                            Proposed Collection; Comment                                                                                                       Management and Budget, Paperwork
                                            Request’’. That notice invited public                                Administration for Children and                               Reduction Project, Email: OIRA_
                                            comments on five separate information                                Families                                                      SUBMISSION@OMB.EOP.GOV, Attn:
                                            collection requests, under Document                                                                                                Desk Officer for the Administration for
                                                                                                                 Submission for OMB Review;                                    Children and Families.
                                            Identifiers: CMS–10468, CMS–10418,                                   Intergovernmental Reference Guide
                                            CMS–10488, CMS–R–290, and CMS–                                       (IRG) OMB #0970–0209                                            Copies of the proposed collection may
                                            10525. Through the publication of this                                                                                             be obtained by emailing infocollection@
                                            document, we are withdrawing the                                     AGENCY:  Office of Child Support                              acf.hhs.gov. Alternatively, copies can
                                            portion of the notice requesting public                              Enforcement; Administration for                               also be obtained by writing to the
                                            comment on the information collection                                Children and Families; HHS                                    Administration for Children and
                                            request titled, ‘‘PACE Quality Data                                  ACTION: Request for public comment.                           Families, Office of Planning, Research
                                            Monitoring and Reporting.’’ Form                                                                                                   and Evaluation, 330 C Street SW,
                                                                                                                 SUMMARY:   The Intergovernmental                              Washington, DC 20201, Attn: ACF
                                            number: CMS–10525 (OMB control                                       Reference Guide (IRG) is a centralized
                                            number: 0938–1264).                                                                                                                Reports Clearance Officer. All requests,
                                                                                                                 and automated repository of state and                         emailed or written, should be identified
                                            DATES: The original comment period for                               tribal profiles that contains high-level                      by the title of the information collection.
                                            the document that published on March                                 descriptions of each state and tribal
                                                                                                                 child support enforcement (CSE)                               SUPPLEMENTARY INFORMATION:
                                            24, 2020, remains in effect and ends
                                            May 26, 2020.                                                        program. These profiles provide state,                           Description: The Office of Child
                                                                                                                 tribal, and foreign country CSE agencies                      Support Enforcement (OCSE) is
                                            SUPPLEMENTARY INFORMATION:  In FR                                    with an effective and efficient method                        proposing to add a new section (Section
                                            document, 2020–06077, published on                                   for updating and accessing information                        O) with six questions pertaining to
                                            March 24, 2020 (85 FR 16631), we are                                 needed to process intergovernmental                           family violence in the state profile. This
                                            withdrawing item 6 ‘‘PACE Quality Data                               child support cases.                                          will help process intergovernmental
                                            Monitoring and Reporting’’ which                                     DATES: Comments due within 30 days of                         cases with family violence and will help
                                            begins on page 16633.                                                publication. The Office of Management                         ensure the safety of children and
                                                                                                                 and Budget (OMB) is required to make                          families. OCSE is also proposing to
                                               Dated: April 9, 2020.
                                                                                                                 a decision concerning the collection of                       delete Sections A–L (140 questions)
                                            William N. Parham, III,                                              information between 30 and 60 days                            from the tribal profile and create new
                                            Director, Paperwork Reduction Staff, Office                          after publication of this document in the                     sections (Sections A–D) with 11
                                            of Strategic Operations and Regulatory                               Federal Register. Therefore, a comment                        questions regarding case processing.
                                            Affairs.                                                             is best assured of having its full effect                     This will assist in the efficient
                                            [FR Doc. 2020–07886 Filed 4–14–20; 8:45 am]                          if OMB receives it within 30 days of                          processing of paternity and support
                                            BILLING CODE 4120–01–P                                               publication.                                                  obligations.
                                                                                                                 ADDRESSES: Written comments and                                  Respondents: State and tribal CSE
                                                                                                                 recommendations for the proposed                              agencies.

                                                                                                                          ANNUAL BURDEN ESTIMATES
                                                                                                                                                                   Total         Number of        Average        Annual
                                                                            Information collection instrument                                                    number of     responses per    burden hour      burden
                                                                                                                                                                respondents      respondent     per response      hours

                                            IRG: State Profile Guide (states and territories) .................................................                           54               18             0.3         292
                                            IRG: Tribal Profile Guide .....................................................................................               62               18             0.3         335



                                              Estimated Total Annual Burden                                      to include intergovernmental                                  SUMMARY:   The Secretary is issuing this
                                            Hours: 627.                                                          procedures in its tribal IV–D plan.                           amendment pursuant to section 319F–3
                                              Authority for the IRG information                                  Mary B. Jones,
                                                                                                                                                                               of the Public Health Service Act to
                                            collection activities is: (1) 42 U.S.C.                                                                                            extend liability immunity for activities
                                                                                                                 ACF/OPRE Certifying Officer.
                                            652(a)(7), which requires the federal                                                                                              related to medical countermeasures
                                                                                                                 [FR Doc. 2020–07885 Filed 4–14–20; 8:45 am]
                                            OCSE to provide technical assistance to                                                                                            against COVID–19 authorized under the
                                                                                                                 BILLING CODE 4184–41–P
                                            state child support enforcement                                                                                                    Coronavirus Aid, Relief, and Economic
                                            agencies to help them establish effective                                                                                          Security Act.
                                            systems for collecting child and spousal                             DEPARTMENT OF HEALTH AND                                      DATES: The amendment to the
                                            support; (2) 42 U.S.C. 666(f), which                                 HUMAN SERVICES                                                Declaration published on March 17,
                                            requires states to enact the Uniform                                                                                               2020 (85 FR 15198) was effective as of
                                            Interstate Family Support Act; (3) 45                                Office of the Secretary
                                                                                                                                                                               March 27, 2020.
                                            CFR. 301.1, which defines an
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                                            intergovernmental case to include cases                              Amendment to Declaration Under the                            FOR FURTHER INFORMATION CONTACT:
                                                                                                                 Public Readiness and Emergency                                Robert P. Kadlec, MD, MTM&H, MS,
                                            between states and tribes; (4) 45 CFR.
                                                                                                                 Preparedness Act for Medical                                  Assistant Secretary for Preparedness
                                            303.7, which requires state CSE agencies
                                                                                                                 Countermeasures Against COVID–19                              and Response, Office of the Secretary,
                                            to provide services in intergovernmental
                                            cases; and (5) 45 CFR. 309.120, which                                                                                              Department of Health and Human
                                                                                                                 ACTION:      Notice of amendment.                             Services, 200 Independence Avenue
                                            requires a tribal child support program


                                       VerDate Sep<11>2014       18:22 Apr 14, 2020       Jkt 250001     PO 00000      Frm 00039      Fmt 4703      Sfmt 4703    E:\FR\FM\15APN1.SGM   15APN1
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                                            SW, Washington, DC 20201; Telephone:                    to amend a PREP Act declaration at any                for emergency use in accordance with
                                            202–205–2882.                                           time.                                                 sections 564, 564A, or 564B of the
                                            SUPPLEMENTARY INFORMATION: The                                                                                Federal Food, Drug, and Cosmetic
                                                                                                    Description of This Amendment by
                                            Public Readiness and Emergency                                                                                (FD&C) Act, or a respiratory protective
                                                                                                    Section
                                            Preparedness Act (PREP Act) authorizes                                                                        device approved by NIOSH under 42
                                            the Secretary of Health and Human                       Section I. Determination of Public                    CFR part 84, or any successor
                                            Services (the Secretary) to issue a                     Health Emergency or Credible Risk of                  regulations, that the Secretary
                                            Declaration to provide liability                        Future Public Health Emergency                        determines to be a priority for use
                                            immunity to certain individuals and                        Before issuing a Declaration under the             during a public health emergency
                                            entities (Covered Persons) against any                                                                        declared under section 319 of the PHS
                                                                                                    PREP Act, the Secretary is required to
                                            claim of loss caused by, arising out of,                                                                      Act. Accordingly, in Section VI of the
                                                                                                    determine that a disease or other health
                                            relating to, or resulting from the                                                                            Declaration, the Secretary is amending
                                                                                                    condition or threat to health constitutes
                                            manufacture, distribution,                                                                                    the list of medical countermeasures
                                                                                                    a public health emergency or that there
                                            administration, or use of medical                                                                             against COVID–19 that are covered
                                                                                                    is a credible risk that the disease,
                                            countermeasures (Covered                                                                                      countermeasures under the declaration
                                                                                                    condition, or threat may constitute such
                                            Countermeasures), except for claims                                                                           to include covered countermeasures
                                                                                                    an emergency. This determination is
                                            involving ‘‘willful misconduct’’ as                                                                           authorized by the CARES Act, namely
                                                                                                    separate and apart from the Declaration
                                            defined in the PREP Act. Under the                                                                            respiratory protective devices approved
                                                                                                    issued by the Secretary on January 31,
                                            PREP Act, a Declaration may be                                                                                by NIOSH under 42 CFR part 84, or any
                                                                                                    2020 under section 319 of the PHS Act
                                            amended as circumstances warrant.                                                                             successor regulations, that the Secretary
                                                                                                    that a disease or disorder presents a
                                               The PREP Act was enacted on                                                                                determines to be a priority for use
                                                                                                    public health emergency or that a public
                                            December 30, 2005, as Public Law 109–                                                                         during a public health emergency
                                                                                                    health emergency, including significant
                                            148, Division C, Section 2. It amended                                                                        declared under section 319 of the PHS
                                                                                                    outbreaks of infectious diseases or
                                            the Public Health Service (PHS) Act,                                                                          Act.
                                                                                                    bioterrorist attacks, otherwise exists, or
                                            adding Section 319F–3, which                            other Declarations or determinations                  Section XII. Effective Time Period
                                            addresses liability immunity, and                       made under other authorities of the                      The Secretary must identify, for each
                                            Section 319F–4, which creates a                         Secretary. As amended by the CARES                    Covered Countermeasure, the period or
                                            compensation program. These sections                    Act, to extend the Declaration to                     periods during which liability immunity
                                            are codified at 42 U.S.C. 247d–6d and                   respiratory protective devices approved               is in effect, designated by dates,
                                            42 U.S.C. 247d–6e, respectively. The                    by NIOSH, the Secretary must also                     milestones, or other description of
                                            Coronavirus Aid, Relief, and Economic                   determine that a respiratory protective               events, including factors specified in the
                                            Security (CARES) Act, Public Law 116–                   device approved by NIOSH under 42                     PREP Act. Accordingly, the Secretary is
                                            136 was enacted on March 27, 2020.                      CFR part 84, or any successor                         amending Section XII of the Declaration
                                            The CARES Act amended section 319F–                     regulations, is a priority for use during             to specify the effective time period for
                                            3(i)(1)(D) of the PHS Act, first added by               the public health emergency declared by               covered countermeasures authorized by
                                            the Families First Coronavirus Response                 the Secretary under section 319 of the                the CARES Act.
                                            Act, Public Law 116–127 on March 18,                    PHS Act.
                                            2020. These amendments created a new                       Accordingly, in Section I of the                   Amendments to Declaration
                                            category of covered countermeasures                     Declaration, the Secretary is amending                  Amended Declaration for Public
                                            eligible for liability immunity under the               his determination that the spread of                  Readiness and Emergency Preparedness
                                            PREP Act, namely, respiratory                           SARS–CoV–2 or a virus mutating                        Act Coverage for medical
                                            protective devices approved by the                      therefrom and the resulting disease,                  countermeasures against COVID–19.
                                            National Institute for Occupational                     COVID–19, constitutes a public health                   Sections I, VI and XII of the March 10,
                                            Safety and Health (NIOSH) under 42                      emergency for purposes of this                        2020, Declaration under the PREP Act
                                            CFR part 84, or any successor                           Declaration under the PREP Act to                     for medical countermeasures against
                                            regulations, that the Secretary                         include the determination that the use                COVID–19 are amended pursuant to
                                            determines to be a priority for use                     of any respiratory protective devices                 section 319F–3(b)(4) of the PHS Act as
                                            during a public health emergency                        approved by NIOSH under 42 CFR part                   described below. All other Sections of
                                            declared under section 319 of the PHS                   84, or any successor regulations, is a                the Declaration remain in effect as
                                            Act.                                                    priority for use during the public health             published at 85 FR 15198 (March 17,
                                               On January 31, 2020, the Secretary                   emergency declared by the Secretary on                2020).
                                            declared a public health emergency,                     January 31, 2020 under section 319 of                   1. Determination of Public Health
                                            pursuant to section 319 of the PHS Act,                 the PHS Act for the entire United States              Emergency, Section I: Delete in full and
                                            42 U.S.C. 247d, for the entire United                   to aid in the nation’s health care                    replace with:
                                            States to aid in the response of the                    community response to the COVID–19                    I. Determination of Public Health
                                            nation’s health care community to the                   outbreak.                                             Emergency
                                            COVID–19 outbreak. On March 10,
                                            2020, the Secretary issued a Declaration                Section VI. Covered Countermeasures                   42 U.S.C. 247d–6d(b)(1)
                                            under the PREP Act for medical                             Section VI of the Declaration                         I have determined that the spread of
                                            countermeasures against COVID–19 (85                    identifies the Covered Countermeasures                SARS–CoV–2 or a virus mutating
                                            FR 15198 (March 17, 2020)). The                         for which the Secretary has                           therefrom and the resulting disease
                                            Secretary is amending the March 10,                     recommended such activities. As                       COVID–19 constitutes a public health
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                                            2020 Declaration under the PREP Act to                  amended by the CARES Act, the PREP                    emergency. I further determine that use
                                            extend liability immunity to covered                    Act states that a ‘‘Covered                           of any respiratory protective device
                                            countermeasures authorized under the                    Countermeasure’’ must be a ‘‘qualified                approved by NIOSH under 42 CFR part
                                            CARES Act. This amendment is made in                    pandemic or epidemic product,’’ a                     84, or any successor regulations, is a
                                            accordance with section 319F–3 of the                   ‘‘security countermeasure,’’ a drug,                  priority for use during the public health
                                            PHS Act, which authorizes the Secretary                 biological product, or device authorized              emergency that I declared on January


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                                            31, 2020 under section 319 of the PHS                     Authority: 42 U.S.C. 247d–6d.                         Dated: April 9, 2020.
                                            Act for the entire United States to aid in                Dated: April 10, 2020.                              Tyeshia M. Roberson,
                                            the response of the nation’s health care                                                                      Program Analyst, Office of Federal Advisory
                                                                                                    Alex M. Azar II,
                                            community to the COVID–19 outbreak.                                                                           Committee Policy.
                                              2. Covered Countermeasures, Section                   Secretary of Health and Human Services.
                                                                                                                                                          [FR Doc. 2020–07917 Filed 4–14–20; 8:45 am]
                                            VI, delete in full and replace with:                    [FR Doc. 2020–08040 Filed 4–13–20; 4:15 pm]
                                                                                                                                                          BILLING CODE 4140–01–P
                                                                                                    BILLING CODE 4150–28–P
                                            VI. Covered Countermeasures
                                            42 U.S.C. 247d–6b(c)(1)(B), 42 U.S.C.                                                                         DEPARTMENT OF HEALTH AND
                                               247d–6d(i)(1) and (7)                                DEPARTMENT OF HEALTH AND                              HUMAN SERVICES
                                               Covered Countermeasures are any                      HUMAN SERVICES
                                            antiviral, any other drug, any biologic,                                                                      National Institutes of Health
                                            any diagnostic, any other device, any                   National Institutes of Health
                                            respiratory protective device, or any                                                                         Center for Scientific Review; Notice of
                                            vaccine, used to treat, diagnose, cure,                 National Institute of Environmental                   Closed Meetings
                                            prevent, or mitigate COVID–19, or the                   Health Sciences; Notice of Closed
                                                                                                    Meeting                                                 Pursuant to section 10(d) of the
                                            transmission of SARS–CoV–2 or a virus
                                            mutating therefrom, or any device used                                                                        Federal Advisory Committee Act, as
                                            in the administration of any such                         Pursuant to section 10(d) of the                    amended, notice is hereby given of the
                                            product, and all components and                         Federal Advisory Committee Act, as                    following meetings.
                                            constituent materials of any such                       amended, notice is hereby given of the                  The meetings will be closed to the
                                            product.                                                following meeting.                                    public in accordance with the
                                               Covered Countermeasures must be                                                                            provisions set forth in sections
                                                                                                      The meeting will be closed to the
                                            ‘‘qualified pandemic or epidemic                                                                              552b(c)(4) and 552b(c)(6), Title 5 U.S.C.,
                                                                                                    public in accordance with the
                                            products,’’ or ‘‘security                                                                                     as amended. The grant applications and
                                                                                                    provisions set forth in sections
                                            countermeasures,’’ or drugs, biological                                                                       the discussions could disclose
                                                                                                    552b(c)(4) and 552b(c)(6), Title 5 U.S.C.,
                                            products, or devices authorized for                                                                           confidential trade secrets or commercial
                                                                                                    as amended. The grant applications and
                                            investigational or emergency use, as                                                                          property such as patentable material,
                                                                                                    the discussions could disclose
                                            those terms are defined in the PREP Act,                                                                      and personal information concerning
                                                                                                    confidential trade secrets or commercial
                                            the FD&C Act, and the Public Health                                                                           individuals associated with the grant
                                                                                                    property such as patentable material,
                                            Service Act, or any respiratory                                                                               applications, the disclosure of which
                                                                                                    and personal information concerning
                                            protective device approved by NIOSH                                                                           would constitute a clearly unwarranted
                                                                                                    individuals associated with the grant
                                            under 42 CFR part 84, or any successor                                                                        invasion of personal privacy.
                                                                                                    applications, the disclosure of which
                                            regulations.                                            would constitute a clearly unwarranted                  Name of Committee: Center for Scientific
                                               3. Effective Time Period, Section XII,               invasion of personal privacy.                         Review Special Emphasis Panel RFA–RM–
                                            delete in full and replace with:                                                                              20–006: 4DN Organization and Function in
                                                                                                      Name of Committee: National Institute of            Human Health and Disease, New
                                            XII. Effective Time Period                              Environmental Health Sciences Special                 Investigators (U01).
                                            42 U.S.C. 247d–6d(b)(2)(B)                              Emphasis Panel: Mechanism for Time                      Date: May 14, 2020.
                                              Liability immunity for any respiratory                Sensitive Research Opportunities in                     Time: 9:00 a.m. to 3:00 p.m.
                                                                                                    Environmental Health Sciences.                          Agenda: To review and evaluate grant
                                            protective device approved by NIOSH                                                                           applications.
                                            under 42 CFR part 84, or any successor                    Date: April 30, 2020.
                                                                                                      Time: 11:00 a.m. to 1:30 p.m.                         Place: National Institutes of Health,
                                            regulations, through means of                                                                                 Rockledge II, 6701 Rockledge Drive,
                                                                                                      Agenda: To review and evaluate grant
                                            distribution, as identified in Section                                                                        Bethesda, MD 20892, (Virtual Meeting).
                                                                                                    applications.
                                            VII(a) of this Declaration, other than in                                                                       Contact Person: Jessica Smith, Ph.D.,
                                                                                                      Place: National Institute of Environmental
                                            accordance with the public health and                                                                         Scientific Review Officer, Center for
                                                                                                    Health Sciences, National Institutes of               Scientific Review, National Institutes of
                                            medical response of the Authority                       Health, Keystone Building, 530 Davis Drive,
                                            Having Jurisdiction, begins on March                                                                          Health, 6701 Rockledge Drive, Bethesda, MD
                                                                                                    Research Triangle Park, NC 27709 (Virtual             20892, (301) 402–3717, jessica.smith6@
                                            27, 2020 and extends through October 1,                 Meeting).                                             nih.gov.
                                            2024.                                                     Contact Person: Janice B Allen, Ph.D.,
                                              Liability immunity for all other                                                                              Name of Committee: Center for Scientific
                                                                                                    Scientific Review Officer, Scientific Review          Review Special Emphasis Panel RFA–RM–
                                            Covered Countermeasures identified in                   Branch, Division of Extramural Research and           20–005: 4DN Organization and Function in
                                            Section VI of this Declaration, through                 Training, Nat. Institute of Environmental             Human Health and Disease (U01).
                                            means of distribution, as identified in                 Health Science, P. O. Box 12233, MD EC–30/              Date: May 14–15, 2020.
                                            Section VII(a) of this Declaration, other               Room 3170 B, Research Triangle Park, NC                 Time: 1:00 p.m. to 6:00 p.m.
                                            than in accordance with the public                      27709 919–541–7556.                                     Agenda: To review and evaluate grant
                                            health and medical response of the                      (Catalogue of Federal Domestic Assistance             applications.
                                            Authority Having Jurisdiction, begins                                                                           Place: National Institutes of Health,
                                                                                                    Program Nos. 93.115, Biometry and Risk
                                            February 4, 2020 and extends through                                                                          Rockledge II, 6701 Rockledge Drive,
                                                                                                    Estimation—Health Risks from
                                            October 1, 2024.                                                                                              Bethesda, MD 20892, (Virtual Meeting).
                                                                                                    Environmental Exposures; 93.142, NIEHS                  Contact Person: Jessica Smith, Ph.D.,
                                              Liability immunity for all Covered                    Hazardous Waste Worker Health and Safety
                                            Countermeasures administered and                                                                              Scientific Review Officer, Center for
                                                                                                    Training; 93.143, NIEHS Superfund                     Scientific Review, National Institutes of
                                            used in accordance with the public                      Hazardous Substances—Basic Research and
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                                                                                                                                                          Health, 6701 Rockledge Drive, Bethesda, MD
                                            health and medical response of the                      Education; 93.894, Resources and Manpower             20892, (301) 402–3717, jessica.smith6@
                                            Authority Having Jurisdiction begins                    Development in the Environmental Health               nih.gov.
                                            with an emergency declaration and lasts                 Sciences; 93.113, Biological Response to              (Catalogue of Federal Domestic Assistance
                                            through (1) the final day the emergency                 Environmental Health Hazards; 93.114,                 Program Nos. 93.306, Comparative Medicine;
                                            Declaration is in effect, or (2) October 1,             Applied Toxicological Research and Testing,           93.333, Clinical Research, 93.306, 93.333,
                                            2024, whichever occurs first.                           National Institutes of Health, HHS)                   93.337, 93.393–93.396, 93.837–93.844,



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 1     Emma Martin, Elizabeth Gagliano and Kathryn Sessinghaus, individually and as heirs of Vincent
         Paul Martin v. Serrano Post Acute, LLC dba Hollywood Premier Healthcare Center, et. al.
 2                      United States District Court, Central District of California
                                                 Case No.
 3                                                 ***
                                          PROOF OF SERVICE
 4
            I am employed in San Diego County. I am over the age of 18 and not a party to this action. My
 5   business address is 12555 High Bluff Drive, Suite 270, San Diego, California 92130.
 6
            On July 1, 2020, I served the foregoing documents, described in this action as:
 7
     SERRANO POST ACUTE, LLC dba HOLLYWOOD PREMIER HEALTHCARE
 8   CENTER and BENJAMIN LANDA’S NOTICE OF REMOVAL OF ACTION
 9   UNDER 28 U.S.C. §§ 1331, 1441, 1442(a)(1) and 1446

10
     As follows:
11
                                        SEE ATTACHED SERVICE LIST
12
     [X]     BY E-MAIL or ELECTRONIC TRANSMISSION                         I caused based on a court order or an
13
     agreement of the parties to accept service by e-mail or electronic transmission, the documents to be sent
14   to the persons at the e-mail addresses. I did not receive, within a reasonable time after the transmission,
     any electronic message or other indication that the transmission was unsuccessful.
15

16   [X]     By CM/ECF ELECTRONIC DELIVERY:                       In accordance with the registered case
     participants and in accordance with the procedures set forth at the Court’s website
17   www.ecf.cacd.uscourts.gov.
18

19   [X]     I declare that I am employed in the office of a member of the bar of this court at whose direction
     the service was made. I declare under penalty of perjury under the laws of the State of California that
20   the above is true and correct.
21   Executed on July 1, 2020 at San Diego, California.
22
                                                                  _____________________________
23                                                                Tonya Jamois
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                                                PROOF OF SERVICE
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